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                                                                          Case No. 23-cv-;




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                                                                                  r.
                             UNITED STATES DISTRICT COURT                               I

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                                                                                 K'cn
                         FOR THE DISTRICT OF NEW HAMPSHIRE                       n     o
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                                                                                 f-'
                                                                                         I

                                    William Soler Justice
                                                                                  c^:x


                                              V.


                                      Aaron Belanger

                                        Eric Barbaro

                    OBJECTION TO REPORT AND RECOMMENDATION




I would like to assert all my due process claims and do not believe that the hardship of
being retaliated against for asking a guard the name of his sister warranted 2 weeks of 23
hour a day solitary confinement. I was not provided with a disciplinary hearing or even an
explanation of the reason for moving me to solitary confinement. I was not provided what
convicted prisoners receive with a right to a hearing, I believe this is disability
discrimination.


I am including with this objection exhibits and materials I have found that support my
position.




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Civilly committed patients have certain rights, including the right to treatment in the least
restrictive environment appropriate to their needs. This principle is rooted in the idea that
patients should not be subjected to more restrictive conditions than necessary for their
treatment and safety.

Regarding solitary confinement, it is generally considered inappropriate for civilly
committed patients unless absolutely necessary for safety reasons. The use of solitary
confinement can be highly detrimental to mental health, and there are legal and ethical
standards aimed at minimizing its use.

Casey V. Lewis, 834 F. Supp. 1477,1548 (D. Ariz. 1993) (noting that “both the plaintiffs’ and
defendants’ experts agreed that it was inappropriate to house acutely psychotic inmates in
[isolation] for more than three days”

New Hampshire RSA 151:21

   ●    VI. The patient shall be encouraged and assisted throughout the patient's stay to
        exercise the patient's rights as a patient and citizen. The patient may voice
        grievances and recommend changes in policies and services to facility staff or
        outside representatives free from restraint, interference, coercion, discrimination,
        or reprisal.
   ●    VIII. The patient shall be free from emotional, psychological, sexual and physical
        abuse and from exploitation, neglect, corporal punishment and involuntary
        seclusion.

   ●    IX. The patient shall be free from chemical and physical restraints except when they
        are authorized in writing by a physician for a specific and limited time necessary to
        protect the patient or others from injury. In an emergency, restraints may be
        authorized by the designated professional staff member in order to protect the
        patient or others from injury. The staff must promptly report such action to the
        physician and document same in the medical records.

Exhibit A


New Hampshire RSA 642:9. According to this statute, an “inmate” is defined as:

   ●    A person committed by law to the custody of the commissioner of the Department
        of Corrections.


   ●    A person in pretrial confinement.

   ●    Any person incarcerated in a local detention facility operated by a county
        department of corrections.




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Classifying a mentally ill person who is civilly committed as an inmate without a conviction
raises significant constitutional concerns. The U.S. Supreme Court has recognized that
civilly committed individuals have certain substantive liberty rights under the Due Process
Clause of the Fourteenth Amendment. These rights include:

Therefore, classifying a civilly committed individual as an inmate without a conviction
could violate their due process rights, especially if the conditions of their confinement are
similar to convicted inmates and do not account for their specific needs and rights as
civilly committed individuals.

Sending a civilly committed patient to solitary confinement without a hearing or evidence
of dangerous behavior can violate the Constitution in several ways:
   1.     Substantive Due Process: The Fourteenth Amendment’s Due Process Clause
          protects individuals from arbitrary and unreasonable government actions. Civilly
          com mitted patients have a rightto conditions of reasonable care and safety, and

          confinement must be reasonably nonrestrictive. Solitary confinement, especially
          without a hearing or evidence of dangerous behavior, can be seen as an
          unreasonable and excessive measure that does not align with these protections.

   2.     Procedural Due Process: Procedural due process requires that individuals be given
          notice and an opportunity to be heard before being deprived of significant liberty
          interests. Placing a civilly committed patient in solitary confinement without a
          hearing denies them this fundamental right, making the action constitutionally
          suspect.

    3.    Cruel and Unusual Punishment: Although the Eighth Amendment’s prohibition
          against cruel and unusual punishment primarily applies to convicted prisoners,
          courts have extended similar protections to civilly committed individuals underthe
          Fourteenth Amendment. Solitary confinement can have severe psychological
          effects and using it without justification or procedural safeguards can be considered
          cruel and unusual treatment.

    4.    Equal Protection: The Equal Protection Clause of the Fourteenth Amendment
          requires that individuals in similar situations be treated equally underthe law.
          Arbitrarily placing civilly committed patients in solitary confinement without due
          process could be seen as discriminatory, especially if other patients are not
          subjected to the same treatment without cause.

          The U.S. Supreme Court has indeed recognized that civilly committed individuals
          have substantive liberty rights underthe Due Process Clause of the Fourteenth
          Amendment.
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       Addington v. Texas (1979): The Court held that civil commitment for mental illness
       requires a standard of “clear and convincing evidence” to meet due process
       requirements. Ihjs.case.emphaslzedJhe.neeiLfQ,L.a..highei_stand. ard,p_tp.rQOf to
       protect individuals:,liberty interests.

       Youngberg V. Romeo (1982): This landmark case established that involuntarily
       committed individuals have substantive rights to adequate food, shelter, clothing,
       medical care, and safe conditions. The Court ruled that these rights are protected
       underthe Due Process Clause.


       O’Connor V. Donaldson (1975): The Court ruled that a state cannot constitutionally
       confine a non-dangerous individual who is capable of surviving safely in freedom by
       themselves or with the help of willing and responsible family or friends. This case
       highlighted the substantive liberty interest in freedom from unnecessary
       confinement.

       These cases collectively underscore the Court’s recognition of the substantive
       Liberty rights of civilly committed individuals, ensuring their protection underthe
       Due Process Clause.




In New Hampshire, the right of incarcerated prisoners to a hearing on disciplinary issues is
outlined in RSA651-A:22. This statute ensures that prisoners are afforded due process,
including the right to a hearing where they can present their case, call witnesses, and
provide evidence in their defense. I asked for a hearing but was not provided one.

Exhibit B




July 8, 2014: Pittsburgh, PA-A lawsuit filed in federal court in the Western District of
Pennsylvania claims that Pennsylvania Department of Corrections (DOC) Secretary John
Wetzel and other officials in charge of the State Correctional Institution (SCI) Cresson
“created and sustained conditions of solitary confinement that subjected Brandon
Palakovicto torture, causing him to take his own Life on July 17, 2012, at the age of 23.

The case sheds light on the life-and-death consequences of solitary confinement, seeking
accountability for illegal conditions of confinement that are increasingly recognized as
torture.


Exhibit C
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SCI Cresson was under investigation by the DOJ at the time of Brandon’s suicide for holding
prisoners with mental illness and intellectual disabilities in solitary confinement and
depriving them of mental health treatment. The DOJ found that SCI Cresson’s use of
solitary confinement on the mentally ill and intellectually disabled constituted cruel and
unusual punishment and unlawful discrimination under the Americans with Disabilities
Act.


Exhibit D The DOJ report

Exhibit E Harvard Law review Article




Exhibit F Congressional Report



I believe many of New Hampshire’s laws surroundingthe placement of mentally ill civilly
committed patients, within the New Hampshire State prison for men (NHSP) - Concord;
under the control of the New Hampshire Department of Corrections (DOC), are at best un
ethical and worst unconstitutional. I therefore seekto challenge these practices and

policies in a federal court as state laws are considered constitutional until deemed
unconstitutional by a court of law. i believe I have been deprived of many rights guaranteed
to me by New Hampshire state Law, New Hampshire and US Constitutions.



Under color of any law, statute, ordinance, regulation, or custom, willfully subjects any
person in any State, Territory, Commonwealth, Possession, or District to the deprivation of
any rights, privileges, or immunities secured or protected by the Constitution or laws of the
United States is guilty of violating 18 U.S.C. §242. Deprivation of rights under color of
law.




William Justice, prose

51 Storrs St. Apt 310

Concord. NH 03301

603-931-6357


gentlegiant03301 @yahoo.com
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                                               TITLE XI
                      HOSPITALS AND SANITARIA

                                             CHAPTER 151
     RESIDENTIAL CARE AND HEALTH FACILITY LICENSING

                                        Patients' Bill of Rights
                                                 Section 151:21


  151:21 Patients* Bill of Rights. -
The policy describing the rights and responsibilities of each patient admitted to a facility, except those admitted
by a home health care provider, shall include, as a minimum, the following:
I. The patient shall be treated with consideration, respect, and full recognition of the patient's dignity and
individuality, including privacy in treatment and personal care and including being informed of the name,
licensure status, and staff position of all those with whom the patient has contact, pursuant to RS A 151:3-b.
II. The patient shall be fully informed of a patient's rights and responsibilities and of all procedures governing
patient conduct and responsibilities. This information must be provided orally and in writing before or at
admission, except for emergency admissions. Receipt of the information must be acknowledged by the patient in
writing. When a patient lacks the capacity to make informed judgments the signing must be by the person legally
responsible for the patient.
III. The patient shall be fully informed in writing in language that the patient can understand, before or at the
time of admission and as necessary during the patient's stay, of the facility's basic per diem rate and of those
services included and not included in the basic per diem rate. A statement of services that are not normally
covered by medicare or medicaid shall also be included in tliis disclosure.
IV. The patient shall be fully informed by a health care provider of his or her medical condition, health care
needs, and diagnostic test results, including the manner by which such results vAW be provided and the expected
time interval between testing and receiving results, unless medically inadvisable and so documented in the
medical record, and shall be given the opportunity to participate in the planning of his or her total care and
medical treatment, to refuse treatment, and to be involved in experimental research upon the patient's written
consent only. For the purposes of this paragraph "health care provider" means any person, corporation, facility,
or institution either licensed by this state or otherwise lawfully providing health care services, including, but not
limited to, a physician, hospital or other health care facility, dentist, nurse, optometrist, podiatrist, physical
therapist, or psychologist, and any officer, employee, or agent of such provider acting in the course and scope of
employment or agency related to or supportive of health care services.
V. The patient shall be transferred or discharged after appropriate discharge planning only for medical reasons,
for the patient's welfare or that of other patients, if the facility ceases to operate, or for nonpayment for the
patient's stay, except as prohibited by Title XVIII or XIX of the Social Security Act. No patient shall be
involuntarily discharged from a facility because the patient becomes eligible for medicaid as a source of
payment.
VI. The patient shall be encouraged and assisted throughout the patient's stay to exercise the patient's rights as a
patient and citizen. The patient may voice grievances and recommend changes in policies and services to facility
staff or outside representatives free from restraint, interference, coercion, discrimination, or reprisal.
VII. The patient shall be permitted to manage the patient's personal financial affairs. If the patient authorizes the
facility in writing to assist in this management and the facility so consents, the assistance shall be carried out in
accordance with the patient’s rights under this subdivision and in conformance with state law and rules.
VIII. The patient shall be free from emotional, psychological, sexual and physical abuse and from exploitation,
neglect, corporal punishment and involuntary seclusion.
IX. The patient shall be free from chemical and physical restraints except when they are authorized in writing by
        Exhibit A                                          1
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a physician for a specific and limited time nec^^iyt8^o®fM?^pati ent or others from injury. In an emergency,
restraints may be authorized by the designated professional staff member in order to protect the patient or others
from injury. The staff member must promptly report such action to the physician and document same in the
medical records.
X. The patient shall be ensured confidential treatment of all infonnation contained in the patient's personal and
clinical record, including that stored in an automatic data bank, and the patient's written consent shall be required
for the release of information to anyone not otherwise authorized by law to receive it. Medical information
contained in the medical records at any facility licensed under this chapter shall be deemed to be the property of
the patient. The patient shall be entitled to a copy of such records upon request. The charge for the copying of a
patient's medical records shall not exceed $15 for the first 30 pages or $.50 per page, whichever is greater;
provided, that copies of filmed records such as radiograms, x-rays, and sonograms shall be copied at a
reasonable cost.
XI. The patient shall not be required to perform services for the facility. Where appropriate for therapeutic or
diversional purposes and agreed to by the patient, such services may be included in a plan of care and treatment.
XII. The patient shall be free to communicate with, associate with, and meet privately with anyone, including
family and resident groups, unless to do so would infringe upon the rights of other patients. The patient may
send and receive unopened personal mail. The patient has the irght to have regular access to the unmonitored use
of a telephone.
XIII. The patient shall be free to participate in activities of any social, religious, and community groups, unless
to do so would infringe upon the rights of other patients.
XIV. The patient shall be free to retain and use personal clothing and possessions as space permits, provided it
does not infringe on the rights of other patients.
XV. The patient shall be entitled to privacy for visits and, if married, to share a room with his or her spouse if
both are patients in the same facility and where both patients consent, unless it is medically contraindicated and
SO documented by a physician. The patient has the right to reside and receive services in the facility with

reasonable accommodation of individual needs and preferences, including choice of room and roommate, except
when the health and safety of the individual or other patients would be endangered.
XVI. The patient shall not be denied appropriate care on the basis of age, sex, gender identity, sexual orientation,
race, color, marital status, familial status, disability, religion, national origin, source of income, source of
payment, or profession.
XVII. The patient shall be entitled to be treated by the patient's physician of choice, subject to reasonable rules
and regulations of the facility regarding the facility's credentialing process.
XVIII. The patient shall be entitled to have the patient’s parents, if a minor, or spouse, or next of km, unmarried
partner, or a personal representative chosen by the patient, if an adult, visit the facility, without restriction, if the
patient is considered terminally ill by the physician responsible for the patient's care.
XIX. The patient shall be entitled to receive representatives of approved organizations as provided in RSA
151:28.
XX. The patient shall not be denied admission to the facility based on medicaid as a source of payment when
there is an available space in the facility.
XXI. Subject to the terms and conditions of the patient's insurance plan, the patient shall have access to any
provider in his or her insurance plan network and referral to a provider or facility within such network shall not
be unreasonably withheld pursuant to RSA 420-J:8, XIV.
XXII. The patient shall not be denied admission, care, or services based solely on the patient's vaccination status.
XXIII. (a) In addition to the rights specified in paragraph XVIII, the patient shall be entitled to designate a
spouse, family member, or caregiver who may visit the facility while the patient is receiving care. A patient who
is a minor may have a parent, guardian, or person standing in loco parentis visit the facility while the minor
patient is receiving care.
(b)(1) Notwithstanding subparagraph (a), a health care facility may establish visitation policies that limit or
restrict visitation when:
(A) The presence of visitors would be medically or therapeutically contraindicated in the best clinical judgment
of health care professionals;
(B) The presence of visitors would interfere with the care of or rights of any patient;
(C) Visitors are engaging in disruptive, tlireatening, or violent behavior toward any staff member, patient, or
another visitor; or
          Exhibit A                                          2
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(D) Visitors are noncompliant with written
(2) Upon request, the patient or patient's representative, if the patient is incapacitated, shall be provided the
reason for denial or revocation of visitation rights under this paragraph,
(c) A health care facility may require visitors to wear personal protective equipment provided by the facility, or
provided by the visitor and approved by the facility. A health care facility may require visitors to comply with
reasonable safety protocols and rules of conduct. The health care facility may revoke visitation rights for failure
to comply with this subparagraph,
(d) Nothing in this paragraph shall be construed to require a health care facility to allow a visitor to enter an
operating room, isolation room, isolation unit, behavioral health setting or other typically restricted area or to
remain present during the administration of emergency care in critical situations. Nothing in this paragraph shall
be construed to require a health care facility to allow a visitor access beyond the rooms, units, or wards in which
the patient is receiving care or beyond general common areas in the health care facility,
(e) The rights specified in this paragraph shall not be terminated, suspended, or waived by the health care
facility, the department of health and human services, or any governmental entity, notwithstanding declarations
of emergency declared by the governor or the legislature. No health care facility licensed pursuant to RSA 151:2
shall require a patient to waive the rights specified in this paragraph,
(f) Each health care facility licensed pursuant to RSA 151:2 shall post on its website:
(1) Informational materials explaining the rights specified in this paragraph;
(2) The patients' bill of rights which applies to the facility on its website; and
(3) Hospital visitation policy detailing the rights and responsibilities specified in this paragraph, and the
limitations placed upon those rights by written hospital policy on its website,
(g) Unless expressly required by federal law or regulation, the department or any other state agency shall not
take any action arising out of this paragraph against a health care facility for:
(1) Giving a visitor individual access to a property or location controlled by the health care facility;
(2) Failing to protect or otherwise ensure the safety or comfort of a visitor given access to a property or location
controlled by the health care facility;
(3) The acts or omissions of any visitor who is given access to a property or location controlled by the health
care facility.

Source. 1981.453:1. 1989, 43:1. 1990, 18:1-6; 140:2, XI. 1991,365:10. 1992, 78:1. 1997, 108:6; 331:3-8. 1998,
199:2; 388:5,6. 2001, 85:1, eff. Aug. 18,2001. 2009, 252:1, eff. Sept. 14, 2009. 2013, 265:3, eff. Jan. 1,2014.
2019, 332:6, eff. Oct. 15, 2019. 2020, 39:61, 62, eff. Jan. 1. 2021. 2022, 52:1, eff. May 20, 2022; 304:2, eff. July
1,2022.




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                                             TITLE LXII
                                    CRIMINAL CODE

                                             CHAPTER 651-A
                                   PAROLE OF PRISONERS

                                                  Section 651-A:2

  651“A:2 Definitions. -
As used in this chapter:
I. "Prisoner" means any adult person who has been committed to the custody of the commissioner of corrections.
II. "Parole" means a conditional release from the state prison which allows a prisoner to serve the remainder of
his term outside the prison, contingent upon compliance with the terms and conditions of parole as established
by the parole board.
III. "Board" means the adult parole board.
IV. "Commissioner" means the commissioner of corrections.
V. "Department" means the department of corrections.
VI. "Violent crime" shall include those defined as violent crimes in RSA 651:5, XIII and the following:
(a) RSA 173-B:9, violation of protective order,
(b) RSA 631:2, second degree assault,
(c) RSA 631:3, felony reckless conduct,
(d) RSA 631:4, criminal threatening involving the use of a deadly weapon,
(e) RSA633:3-a, stalking,
(f) RSA 63 5:1, burglary,
(g) RSA 641:5, tampering with witnesses and informants,
(h) RSA 650-A: 1, felonious use of firearms.
VII. "Intermediate sanction program" means a community-based day or residential program that is designed for
use as a swift and certain sanction for a parole violation, in lieu of parole revocation.



Source. 1983, 461:16. 2010, 247:5, eff. July 1, 2010. 2021,48:3, eff. May 25, 2021.




        Exhibit B                                          1
      Case Case  3:05-mc-02025 Document
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IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF
                          PENNSYLANIA

RENEE AND DARIAN PALAKOVIC as
Administrators of the Estate of BRANDON
PALAKOVIC,

            Plaintiffs,

                   V.                                          Case No.


JOHN WETZEL, KENNETH CAMERON,
JAMIE BOYLES, JAMEY LUTHER, JAMES
HARRINGTON, DR. RATHORE,
MICHELLE HOUSER, MORRIS
HOUSER, FRANCIS PIROZZOLA, JOHN
DOE #1, #2, JOHN DOES #3-6, MHM, Inc.,
                                                               ELECTRONICALLY FILED
            Defendants.




                                                               JURY TRIAL DEMANDED




                                               Complaint

            Plaintiffs Renee and Darian Palakovic, administrators of die Estate of Brandon Palakovic, by

and through their undersigned counsel, file die following Complaint.

                                       Jurisdiction and Venue

            1.     Tliis is an action for monetary relief for violations of die Eighth and Fourtccndi

Amendments of the United States Constitution, 42 U.S.C. § 1983; Title II of the Americans witli

Disabilities Act, 42 U.S.C. §§ 12131-12134; and also brought pursuant to 42 Pa.C.S.A. §§ 8301 and

8302.




                                                      1
Exhibit C                                             1
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            2.     This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331, 1343(a)(3) and (4). The

Plaintiff further invokes the supplemental jurisdiction of tliis Court under 28 U.S.C. Section 1367(a)

to hear and adjudicate state law claims.

            3.     Plaintiffs, as Administrators of the Estate of Decedent Brandon Palako\tic, and as liis

suntiving Parents, are entitled to bring this action under tlie Pennsylvania Wrongful Death Act, 42

Pa.C.S.A. § 8301.

            4.     Plaintiffs are entitled to bring this action on behalf of die Decedent, Brandon

Palako\tic, under the Survival Act, 42 Pa.C.S.A. § 8302.

            5.     Tliis Court is die appropriate venue pursuant to 28 U.S.C. § 1391(b)(2) because die

events and omissions giving rise to the claims occurred in the Western District of Pennsylvania,

principally at die State Correctional Institution at Cresson in Cambria County.
                                                   Parties


            6.     Plaintiffs Renee and Daiian Palakovic are citizens and residents of Spring Hill,


Tennessee. Mr. and Mrs. Palakovic are the natural parents of Decedent, Brandon Palakoitic. On July

7, 2014, the Register of Wills of Perry County, Pennsylvania granted Letters of Administration on
die Estate of Brandon Palakovic to Mr. and Mrs. Palakovic. Mr. and Mrs. Palakovic bring diis action


in dieir capacity as Administrators of die Estate of Brandon Palkakovic.
            7.     Defendant John Wetzel is and at all relevant itmes hereto was Secretary of the

Pennsylvania Department of Corrections (PADOC). Defendant Wetzel is sued in his individual and

official capacity.

            8.     Defendant Kenneth Cameron was Superintendent at the State Correctional

Institution Cresson (“SCI Cresson””) at all relevant times hereto. Defendant Cameron is sued in liis

individual and official capacity.




                                                       2
Exhibit C
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            9.    Defendant Jamie Boyles was Deputy Superintendent for Facilities Management at

SCI Cresson at all relevant itmes hereto. Defendant Boyles is sued in Ms individual and official


capacity.

            10.
                  Defendant Jamey Luther was Deputy Superintendent for Centralized Services at SCI

Cresson at all relevant itmes hereto. Defendant Luther is sued in her individual and official capacity.

            11.
                  Defendant Dr. James Harrington was CMef Psychologist at SCI Cresson at all

relevant itmes hereto, and currentiy is a regional psychologist overseeing mental healtli services at

seven prisons operated by die PADOC. Defendant Harrington is sued in Ms individual and official

capacity.

            12.   Defendant Dr. Radiore was the head of psycMatric care at SCI Cresson at all

relevant times hereto. He was employed by MHM, Inc. for purposes of mental healdi management

of prisoners in custody of die PADOC. Defendant Radiore is sued in Ms indi\tidual and official

capacity.

            13.
                  Defendant Michelle Houser was a UMt Manager in SCI Cresson’s Secure Special

Needs Umt (SSNU) and Special Needs UMt (SNU^) at all relevant itmes hereto. Defendant Houser is

sued in her individual and official capacity.

            14.
                  Defendant Morris Houser was a manager of the Mental Health Umt (MHU) at SCI

Cresson at aU relevant itmes hereto. Defendant Houser is sued in his individual and official capacity.

            15.
                  Defendant Francis Pirozzola was Security Captain at SCI Cresson at aU relevant
times hereto. Defendant Pirozzola is sued in Ms individual and official capacity.

            16.   Defendant Shawn Kephart is Director of die Treatment Services Bureau of the

PADOC, and at all relevant itmes was responsible directing, moMtoring, and assisting SCI Cresson

in the delivery of prisoner treatment programs, including mental healdi care programs. Defendant

Kephart is sued in Ms individual and official capacity.



                                                   3
Exhibit C                                          3
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             17.   Defendant John Doe #1 was upon information and belief a Correctional Officer at

SCI Cresson who issued Brandon Palakovic the misconduct report prior to liis deatli. Defendant


John Doe #1 is sued in his individual and official capacity.
             18.    Defendant John Doe #2 was upon information and belief a Hearing Examiner at

SCI Cresson who sentenced Brandon Palakovic to solitary confinement in the RHU prior to his

death in disregard of Brandon’s mental health and die minor namre of die offense. Defendant Doe

#2 is sued in liis individual and official capacity.

             19.    Defendants John Does #3-6 were Correctional Officers employed in die RHU at

SCI Cresson at all relevant times hereto who participated in creating hostile living conditions

characterized by verbal and physical abuse, punitive behavior modification policies and practices,

and deliberate refusal to aid prisoners in obtaiciing needed mental healtii care. Defendant John Does

are   sued in dieir individual and official capacities.

             20.    Defendant MHM, Inc. is under contract with the PADOC to provide mental liealdi

care services to    prisoners throughout the system, including at SCI Cresson at all relevant times
hereto. Defendant MHM, Inc. is sued in its individual and official capacity

                                           Statement of Facts

                                      Death ofBrandon Palakovic

             21.    Brandon Palakovic (“Brandon” or Palakovic”) was convicted of burglarizing an

occupied structure in Perry County, Pennsylvania and sentenced to 16-48 months of imprisonment.
Brandon was sent to SCI Cresson, located in Cambria County, in June 2011.

             22.    For 13 mondis, Brandon was repeatedly subjected to solitary confinement via

placement in die prison’s Restricted Housmg Unit (RHU),1 characterized by extreme deprivations of

 1 The terms “so     litary confinement,” “isolation,” and “Restricted Housing Unit (RHU) are used
             interchangeably in this complaint and refer to die same conditions of confinement.

                                                          4
 Exhibit C                                                4
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social interaction and environmental stimulation, abusive staff, and inadequate to non-existent

mental healtii care.


            23.      PADOC Secretary John Wetzel and subordinate officials and personnel were aware

that such conditions cause severe psychological harm, exacerbate pre-existing mental health

problems, and generated the majority of suicides, suicide attempts, and acts of self-harm at SCI

Cresson and duroughout the entire PADOC.

            24.
                     Defendants created and sustained conditions of solitar}' confinement in the RHU

tliat subjected Brandon Palakovic to torture, causing him to take liis own life on July 17, 2012, at die

age of 23. Defendants transformed a 16-48 month term of imprisonment into a deadi sentence.

            25.      Brandon had a history of mental healdi issues as a cliild. He had been

institutionalized for mental health reasons on four occasions since age 11. He had been given the


following diagnoses during his childhood: Depressive Disorder; Oppositional Defiant Disorder;

Attention-Deficit HyperactiHty Disorder; Parent-Cliild Relational Problems; Disruptive Behavior

Disorder; Mood Disorder; Bi-Polar Disorder. Brandon also had a learning disability.

            26.      While incarcerated at SCI Cresson, Brandon was on the mental health roster,

indicating that he had a need for mental health care.
            27.
                     Brandon was prescribed the anti-depressant Celexa wliile at SCI Cresson.
            28.
                    According to clinical studies, suicidal thoughts and impulses are some of Celexa’s
side effects.


            29.
                    Brandon spent multiple 30-day stints in solitary confinement in the RHU during his
incarceration at SCI Cresson.


            30.
                    Upon information and belief, Brandon was repeatedly placed in solitary confinement

without any objective assessment of whether he posed a security risk to other prisoners or staff.




                                                       5
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            31.     Prisoners with mental healtli needs such as Brandon were routinely placed in solitary


confinement for non-\dolent, less serious rule violations.

            32.     Mentally ill, psychologically vulnerable prisoners were routinely placed in solitary

confinement without any objective assessment of tlieir actual security risk.

            33.     In the RHU, where Brandon was confined leading up to and at die itme of his deadi,

prisoners were held in solitary confinement in small cement cells for approximately 23-24 hours

each day. Solitar)’^ confinement cells at Cresson were less than 100 square feet in size, with a steel
door diat contained a slot in die middle diat food and odicr items were passed through. There are

small slit-windows in die middle of the doors, allowing minimal visibility onto die ceUblock.

            34.     Prisoners in die RHU for disciplinary reasons are not permitted phone calls.

Property is limited to one record-center box.
            35.     Social interaction and environmental stimulation are severely reduced in die RHU.

            36.     RHU prisoners are permitted one hour of exercise itme       in an   outdoor cage slighdy

larger than their cell five days a week.
            37.     Although Brandon had        history of self-harm and suicide attempts, he continued to

be placed in isolation, eventually leading to his death.” See SCI Cresson Findings Letter at 13, U.S.

Dept, of Justice, May 31, 2013 (hereafter “DO/ Cresson ReporC).
            38.     Brandon experienced decompenation during liis itmes in solitary confinement, as he
was
      unable to cope with the conditions in the RHU due to lus mental health needs, causing

psychological deterioration.

            39.      Less dian two weeks before his death, Brandon requested one-on-one counseling

with a psycliiatrist. The psychiatrist ignored Brandon’s request and did not provide Brandon with

any treatment. Id. at 13




                                                         6
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            40.   Psychology staff \dsited Brandon in December of 2011 and May of 2012. He was

ordered for a June psychiatric visit, but this visit did not occur until 11 days before Iris suicide on

July 16. Id.

            41.   Brandon also expressed concern tliat his medications were not working. Id.

            42.
                  The level of mental health care provided to Brandon was grossly deficient,

manifesting a deliberate indifference to his serious medical need for mental health care. Interviews in

climcally appropriate settings were inadequate or non-existent.
            43.
                  Mental healdi staff only pro\ided Brandon widi medication for his mental healdi

needs, refusing odier forms of necessary treatment.
            44.
                  Prisoners reported diat Brandon had started talking to non-existent people and that

other prisoners had given him die nickname “Suicide.”

            45.
                  Four days before his deadi, Brandon was again placed in solitary confinement for a

minor rules violation that was eligible for informal resolution instead of disciplinary itme.
            46.
                  Defendants John Does 1 and 2 were responsible for sentencing Brandon to the

RHU prior to his suicide despite his having a mental healdi condition that placed him at heightened

risk of harm when held in solitary confinement.
            47.
                  These Defendants placed him in solitary confinement although Brandon did not

pose a threat to the safety or security of staff or prisoners.
            48.   Defendants John Does 1 and 2 failed to take into account the extent that Brandon’s

behavior was die consequence of serious mental illness.
            49.
                  Placing Brandon in the RHU deprived him of access to services, program

opportunities, and odier activities accorded to general population prisoners.




                                                     7
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            50.     Defendants John Doe #1 and #2 failed to make a reasonable accommodation of

Brandon’s serious mental illness, such as allowing for consideration of a prisoner’s mental health

status in prison disciplinary proceedings.

            51.     Defendants Wetzel, Cameron, Boyles, Luther, and Harrington all upheld policies and

practices of sentencing prisoners to solitary confinement based on behavior that was caused by

mental illness and intellectual disability.

            52.     These Defendants discriminated against the mentally ill and intellectually disabled by

depri\’ing diem of access to services, programs, and other activities accorded to general population

prisoners.

            53.     Defendants’ policies and practices failed to make a reasonable accommodation for

prisoners with serious mental illness and intellectual disability, such as allowing for consideration of

a prisoner’s mental health status in prison disciplinary proceedings.
            54.     On July 16, 2012, Brandon Palakovic committed suicide in the RHU at SCI Cresson

by hanging. He was pronounced dead on July 17, 2012 at Altoona Regional Hospital in Blair

County.

              United States Department of Justice Investigation of SCI Cresson - Systemic

  Constitutional Violations of the Rights of the Mentally 111 in Solitary Confinement

            55.     On December 1, 2011, die United States Department of Justice (DOJ) announced

diat it was opening an investigation into “allegations diat SCI Cresson provided inadequate mental

health care to prisoners who have mental illness, failed to adequately protect such prisoners from

harm, and subjected diem to excessively prolonged periods of isolation, in violation of die Eighdi




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Amendment to the U.S. Constitution.”2 Brandon Palakovic was confined at SCI Cresson when tlie


DOJ launched its investigation, and he would die before it was completed.

            56.   The DOj investigation was carried out by tlie Special Litigation Secdon of die Civil

Rights Division pursuant to its authority under die Civil Rights of insdtutionalized Persons Act

(CRIPA). The investigation put each Defendant on notice of die serious harm inflicted on mentally

iU prisoners at SCI Cresson.

            57.   PADOC officials were told at die outset diat the focus of die investigation   was on




whedier Cresson engages in a pattern or practice of subjecting prisoners widi serious mental iHness

to unnecessarily long periods of isolation, failing to prevent suicide and other self-harm, and failing

to provide prisoners widi adequate mental healdi treatment.” DOJ Report at 4.

            58.   The DOJ conducted a site visit from March 19-22, 2012, interviewing administrative

staff, security staff, medical and mental health staff, and prisoners. They reviewed copious

documentation pertaining to die subject of die investigation. DOJ met with PADOC leadersliip and

Defendant Cameron on October 10, 2012 to report dieir concerns. Id. at 4-5

            59.   Defendants had received notice after notice of unconstitutional conditions at SCI


Cresson, yet even by October 2012 the PADOC had failed to address the DOJ’s “central concerns.

Id.


            60.   Brandon, who had a serious mental illness and was repeatedly subjected to solitary

confinement, committed suicide more dian 7 months after Defendants were placed under

investigation for precisely the type of treatment that caused Brandon’s death.

            61.   This was not the first suicide in SCI Cresson’s RHLb Fourteen months earlier, on


May 6, 2011, a prisoner who had been diagnosed by the PADOC with “delusional disorder and


2 Department of Justice Office of Public Affaks, “Justice Department Opens Investigation into
Two Western Pennsylvania State Correctional Institutions,” December 1, 2011.


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personality disorder widi paranoid and narcissistic features” committed suicide in SCI Cresson s

RHU after being warehoused for approximately nine consecutive months in solitary confinement in

two PADOC prisons.

            62.   One month prior, on April 6, 2011, this prisoner had threatened self harm and

suicide. Nevertheless, “he received virtually no out-of-cell rime.” Although a psychiatrist described

him as “still paranoid delusional” during a cell-side visit, he     was
                                                                          not provided any treatment. Ten

days after the cell-side visit, he committed suicide. Id. at 9-10.
            63.   In addition to the May 2011 suicide, Defendants were further put on notice of the

obvious nature of the harms inflicted on mentally iU prisoners when placed in solitary confinement

and denied mental healtli treatment. In 2011, 14 of the 17 documented suicide attempts at SCI

Cresson occurred in the solitary confinement units. Further, “[SCI] Cresson s records show that in

2011, there were dozens of incidents involving prisoners on the mental health roster engaging
                                                                                                        in




self-harm in the isolation units, wliile just two such incidents occurred in the general population.” Id.

at 9.


            64.   The DOJ investigation discovered a wide array of policies and practices that were

responsible for systemic deficiencies in SCI Cresson’s treatment of mentally ill and intellectually

disabled prisoners. These policies and practices include:
                      a.   Serious mental iUness was “punished rather tiian treated” at SCI Cresson.
                           Staff working in tire solitary confinement units were “encouraged to use
                           punitive behavior modification plans to address behaviors tliat are derivative
                           of prisoners’ serious mental illness.” Id. at 15.
                      b.   Deprivations of basic human needs        were   frequently employed by staff as
                           response to behaviors caused by mental illness, including deprivations of
                           mattresses, warm food, reading materials, out-of-cell time, showers, phone
                           calls and visits. Id. at 16.

                      c.   A culture of abuse flourished in the soUtary confinement units, as “officers
                           and staff [were] frequently hostile and cruel toward prisoners, even while
                           knowing that these prisoners are more vulnerable because of their serious


                                                          10
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                           mental illnesses or intellectual disabilities.” This cruelty includes SCI Cresson

                           officials “countenanc[ing] tlie frequent, unnecessary, and excessive use of
                           force on prisoners with serious mental lUness housed in die isolation units.”
                           Id.


                      d.
                           There was “a system-wide failure of security staff to consider mental healdi
                           issues appropriately and a marginalization of the concerns of die mental
                           health staff” This was a contributing causal factor to the “unconstitutional
                           use of prolonged and extreme isolation on prisoners with serious mental
                           illness.” Id. at 20.


                      c.
                           The mental health care program was “fragmented and ineffective.” There
                           was “a deardi of mental healdi treatment for prisoners diroughout [SCI
                           Cresson]; the absence of a secure residential treatment unit for prisoners who
                           require such placement; and inadequate coordination among mental healdi
                           care providers.” Id. at 23.
                      f
                           The prison was insufficiendy staffed with enough mental health professionals
                           to meet the mental health care needs of the prisoner population. Id.

                      g-   SCI Cresson suffered from “[pjoor screening and diagnostic procedures”
                           that contributed to “system-wide inadequacies.” Mental health needs of
                           prisoners on die mental healdi roster were “routinely understated” and
                           “under-classified” in such a manner as to diminish or deny the seriousness of
                           dieir condition. Id. at 24.

                      h.
                           Psychiatric and psychology staff were not integrated, utilized different and
                           overlapping records, held duplicative meetings, and failed to transcribe or
                           memorialize meetings and decisions made dierein, thus contributing to a
                           dysfunctional system diat undermined continuity of care. Id. at 25.

                           Deficient oversight mechanisms, including die failure to collect necessary
                           information on critical incidents, such as acts of self-harm, impaired SCI
                           Cresson’s ability to remedy patterns of harm. “The severity of die harm and
                           its concentration in die isolation units should have prompted the Prison to
                           track tliis information.” Id. at 26.



            65.
                  These systemic deficiencies were responsible for SCI Cresson’s failure to adhere to

die minimal components of a constitutional prison mental healdi        care
                                                                              system. SCI Cresson did not

have:



                     a. A systematic program for screening and evaluating prisoners to identify diose
                           in need of mental health care;



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                     b. A treatment program tliat involves more than segregation and close
                         supervision of mentally ill prisoners;
                     c. Employment of a sufficient number of trained mental health professionals;
                     d. Maintenance of accurate, complete and confidential mental health treatment
                         records;
                     e. Administration of psychotropic medication only with appropriate supervision
                         and periodic evaluation; and
                     f. A basic program to identify, treat, and supervise prisoners at risk for suicide.

            66.   All Defendants were aware of the risks presented and harms inflicted by an

inadequate system of mental health care based on die record of self-harm, suicide attempts, and

suicides in the solitary confinement units at SCI Cresson, along with the obvious nature of the risks

and harms of depri\ong seriously mentally ill and intellectually disabled prisoners of social

interaction, environmental stimulation, and mental health care.

            67.   The PADOC’s Access to Mental Health Care Policy explicidy states diat “placement

in   RHU/SMU/LTSU [i.e. solitary confinement]” could increase the potential for suicide due to die

inlierent stress of such confinement. Access to Mental Health Care, Policy 13.8.1, § 2.H(l)(c)(8).

            68.   Despite this awareness, Defendants failed to take remedial measures, instead

displaying a deliberate indifference and engaging in willful misconduct.
            69.   SCI Cresson’s lack of a systematic program for screening and evaluating prisoners in

need of mental health care caused officials to understate, delay, and ignore Brandon Palakovic s need

for mental health care during his confinement at SCI Cresson.

            70.   SCI Cresson substituted solitary confinement for treatment by repeatedly placing

Brandon Palakovic in solitary confinement in the RHU on account of his serious mental illness.

            71.   SCI Cresson failed to employ sufficient numbers of mental health professionals to

provide mental hcaldi treatment to prisoners in need. As a consequence, Brandon Palakovic was

deprived of needed treatment.




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            72.   For mondis at a time Brandon was denied any meaningful or clinically appropriate

interaction with mental health staff. The occasions that he did engage in an interview with mental


health staff were rendered meaningless by the lack of subsequent, sustained treatment.

            73.   SCI Cresson failed to keep appropriate records of tlie mental health needs of

prisoners, including Brandon Palakovic. Records were dispersed, duplicative, and not shared witli all

necessary staff members. The failure to properly maintain an integrated system of records available

to critical mental health and security staff was a contributing cause in Brandon Palakovic being

placed in solitary confinement on account of liis mental healtli status.

            74.
                  SCI Cresson failed to administer medication under appropriate supervision and

periodic evaluation. Brandon Palakovic was provided medication witliout periodic evaluation.

Altliough Brandon Palakovic told staff tliat he did not think his medication was working, this report

was ignored.

            75.   SCI Cresson did not hav’-e a basic program to identify, treat, and supervise prisoners

at risk for suicide. Brandon Palakovic had a history of self-harm and suicide attempts and he was not

provided treatment or supervision. The lack of a suicide prev^ention program was a contributing
cause in the death of Brandon Palakovic.


                                Discrimination on the Basis ofDisability

            76.   SCI Cresson denied prisoners with serious mental illnesses and mtellectual disabilities

the opportunity to participate in and benefit from a variety of prison services and activities, such as

classification, security, housing, and mental health services. These same prisoners were also

unnecessarily provided with unequal, ineffective, and different or separate opportunities to benefit

from classification, security, housing, and mental health services. Id. at 31.




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            77.   Brandon Palako\nc was denied access to prison services and activities, including

classitication, security, housing, and mental health services on account of his serious mental illness

and intellectual disability.

            78.   SCI Cresson unlawfully isolated and warehoused prisoners with serious mental

illness and/or intellectual disabilities in solitary confinement units, failing to individually assess such

prisoners concerning the risk they actually and objectively pose to others. Id. at 31.
            79.   Brandon Palakovic was repeatedly warehoused in solitary confinement witliout any

indi\tidual assessment as to whether he posed an actual and objective risk to otliers.

            80.   SCI Cresson failed to reasonably modify its policies, practices, and procedures in

order to avoid discriminating against prisoners on the basis of disability. Id. at 31.

            81.   Brandon Palakovic was discriminated against on the basis of liis disabilities.

                               Role ofDefendants in Unconstitutional Conduct
            82.   Defendant John Wetzel is the Secretary of PADOC. Defendant Wetzel           was




responsible for autliorization, implementation, and oversight of the policies and practices governing

die PADOC, including those policies and practices pertaining to solitary confinement and tlie RHU,

disciplinar)' proceedings and punisliment, medical and mental health care, staffing, and suicide

prevention.

            83.    Defendant Wetzel was aware of die psychologically painfiil conditions in SCI

Cresson’s solitary confinement units, the liigh rate at wliich prisoners widi mental illness were placed

there, the liigh rate of self-harm, suicide attempts and suicides, and the lack of adequate if any
mental healdi treatment.


            84.   Defendant Wetzel was aware and approved of the widespread policy and practice

throughout the PADOC, including SCI Cresson, of warehousing prisoners in solitary confinement
in the RPIU on account of their mental illness and/or intellectual disability.


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            85.   Despite liis knowledge of the risks and harms posed by tliese policies, practices, and

conditions, Defendant Wetzel deliberately failed to take necessary corrective action.

            86.   Defendant Kennetli Cameron was Superintendent at the State Correctional

Institution (SCI) Cresson. Defendant Cameron was responsible for autliorization, implementation,

and oversight of the policies and practices governing SCI Cresson, including those policies and

practices pertaining to solitary confinement and die RHU, disciplinary proceedings and punishment,

medical and mental health care, staffing, and suicide prevention.

            87.   Defendant Cameron was aware of die psychologically painful conditions in SCI

Cresson’s solitary confinement units, die liigh rate at which prisoners with mental illness were placed

there, die liigh rate of self-harm, suicide attempts and suicides, and the lack of adequate if any

mental healdi treatment.


            88.   Defendant Cameron was aware and approved of the policy and practice at SCI

Cresson of warehousing prisoners in solitary confinement on account of their mental illness and/or

intellectual disability.

            89.   Despite his knowledge of the risks and harms posed by these policies, practices, and

conditions, Defendant Cameron deliberately failed to take necessary corrective action.

            90.   Defendant Jamie Boyles was Deputy Superintendent for Facilities Management at

SCI Cresson. Defendant Boyles was responsible for implementation and oversight of the policies

and practices governing SCI Cresson, including those policies and practices pertaining to solitary

confinement and the l^JdU, disciplinary proceedings and punishment, medical and mental health

care, staffing, and suicide prevention.

            91.   Defendant Boyles was a member of the Program Review Committee (PRC), which

was responsible for oversight of the RFIU, including review of the appropriateness of placement in

the RJdU for individual prisoners.



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            92.   Defendant Boyles was aware of die psychologically painfhl conditions in SCI

Cresson’s solitary confinement units, the liigh rate at wliich prisoners widi mental illness were placed

there, die high rate of self-harm, suicide attempts and suicides, and the lack of adequate if any

mental health treatment.


            93.   Defendant Boyles was aware and approved of the policy and practice at SCI Cresson

of warehousing prisoners in solitary confinement on account of their mental Ulness and/or

intellectual disability.

            94.   Despite his knowledge of die risks and harms posed by diese policies, praedees, and

conditions, Defendant Boyles deliberately failed to take necessary corrective action.

            95.   Defendant Jamey Luther was Deputy Superintendent for Centralized Services at SCI

Cresson. Defendant Ludier was responsible for implementation and oversight of die policies and

practices governing SCI Cresson, including diose policies and practices pertaining to solitary

confinement and die RHU, disciplinary proceedings and punishment, medical and mental liealdi

care, staffing, and suicide prevention.

            96.   Defendant Luther was a member of the Program Review Committee (PRC), wliich

was
      responsible for oversight of die RHU, including review of the appropriateness of placement in

the RHU for individual prisoners.

            97.   Defendant Luther was aware of the psychologically painful conditions in SCI

Cresson’s soUtaty' confinement units, the high rate at which prisoners with mental illness were placed

there, die high rate of self-harm, suicide attempts and suicides, and the lack of adequate if any

mental liealdi treatment.


            98.   Defendant Luther was aware and approved of the policy and practice at SCI Cresson

of warehousing prisoners in solitary confinement on account of their mental illness and/or

intellectual disability.



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            99.
                     Despite her Imowledge of the risks and harms posed by diese policies, practices, and

conditions. Defendant Luther deliberately failed to take necessary corrective action.

            100.
                     Defendant Dr. James Harrington was Chief Psychologist at SCI Cresson. As Chief

Psychologist, Defendant Harrington was responsible for policies and practices of psychological

services throughout the entire prison, including in the RHU.
            101.
                     Defendant Harrington authorized and enforced policies and practices of

warehousing mentally ill and/or intellectually disabled prisoners in solitary confinement, depri\ting

them of necessary treatment, understating and under-classifying mental healtli needs, inadequate

supervision and monitoring of prisoners on die mental healdi roster, and responding to requests for

mental healdi care.


            102.     Defendant Harrington mstructed Ms subordinates to abide by such poheies and

practices, and proMbited mental healdi staff from speaking widi prisoners in solitary confinement

for more dian 1-2 minutes at a time through solid steel doors.
            103.
                     Despite Ms knowledge of the risks and harms posed by these policies, practices, and

conditions. Defendant Harrington deliberately failed to take necessary corrective action.
            104.
                     Defendant Rathore was the head of psycMatric care at SCI Cresson. He was

employed by MHM, Inc. for purposes of mental health management of prisoners in custody of the
PADOC.


            105.
                     As CMef PsycMatrist, Defendant Rathore was responsible for policies and practices

of psycMatric services diroughout the entire prison, including in the solitarj^ confinement units.
            106.
                     Defendant Radiore authorized and enforced policies and practices of warehousing

mentally iU and/or intellectually disabled prisoners in solitary conflnernent, depriving them of

necessary treatment, understating and under-classifying mental health needs, inadequate supervision




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and mnnirnring of prisoners on the mental healtli roster, and responding to requests for mental
health care.


            107.   Defendant Ratliore failed to provide mental health treatment and psychiatric care to

prisoners at SCI Cresson, instead replacing such necessary care with inadequately super\dsed

medication regimens.

            108.   Defendant Rathore conducted his job in accordance widi MHM, Inc. s policy that

limited his role to dispensing medication.

            109.   Despite his knowledge of die risks and harms posed by these policies, practices, and
conditions, Defendant Rathore deliberately failed to take necessary corrective action.

            no.    Defendant Michelle Houser was a Unit Manager in SCI Cresson’s Secure Special

Needs Unit (SSNUU) and Special Needs Unit. Defendant Houser authorized and enforced a system

of warehousing die mentally ill and/or intellectually disabled in die SSNU.
            111.   Defendant Houser enforced policies and practices diat failed to identify or respond

to   mental health needs of prisoners, failed to identify, treat, and supervise prisoners on the mental

health roster, and failed to operate a suicide prevention program.
            112.   Defendant Houser authorized and encouraged a culture of abuse wherein staff

would engage in physical and verbal abuse of prisoners, subject them to deprivations of basic human

needs, and deprive them of necessary mental health          care.




            113.   By overseeing dysfunctional and non-therapeutic units that were purportedly

treatment units. Defendant Houser played a contributing causal role in the unavailability of mental

healdi treatment at SCI Cresson, wliich harmed prisoners such as Brandon Palakovic.

            114.   Despite her knowledge of the risks and harms posed by these policies, practices, and
conditions. Defendant Houser deliberately failed to take necessary corrective action.




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            115.
                   Defendant Morris Houser was a manager of die Mental Health Unit at SCI Cresson.

 Defendant Houser was responsible for policies and practices pertaining to the identification,

 tracking, treatment, and supervision of prisoners on the mental health roster at SCI Cresson.
            116.
                   Defendant Houser authorized and enforced policies and practices of warehousing

mentally ill and/or intellectually disabled prisoners in solitary confinement, depriving them of

necessary treatment, understating and under-classifying mental health needs, inadequate supervision

and monitoring of prisoners on the mental healtli roster, and responding to requests for mental

healtli care.


            117.
                   Despite his knowledge of the risks and harms posed by these policies, practices, and

conditions. Defendant Houser deliberately failed to take necessary corrective action.
            118.
                   Defendant Francis Pirozzola was Security Captain at SCI Cresson. Defendant

Pirozzola authorized and enforced policies and practices of warehousing mentally ill and/       or




intellectually disabled prisoners in sohtary confinement.
            119.
                   As head of Security, Defendant Pirozzola played a substantial role in implementing

and shaping the prison’s RHU policies and practices. Defendant Pirozzola enforced a punitive

approach to the mentally iU and intellectually disabled that subjected them to isolation on the basis

of iticir disability.

            120.
                   As head of Security, Defendant Pirozzola did not permit mental health concerns to

influence classification practices, resulting in psychologically \mkierable prisoners being subjected to

23-24 hour per day solitary confinement.

            121.
                   Defendant Pirozzola participated in the culture of abuse that thrived in itie solitary

confinement units at SCI Cresson, autiioiizing and permitting excessive use of force, deprivation of

basic human needs, and deprivation of mental health care for prisoners in solitary confinement.




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            122.   Despite his knowledge of the risks and harms posed by these policies, practices, and

conditions, Defendant Pirozzola deliberately failed to take necessary corrective action.

            123.   Defendant Shawn Kephart is Director of the Treatment Ser^nces Bureau of the

PADOC, and at all relevant times was responsible for directing, monitoring, and assisting SCI

Cresson in the delivery of prisoner treatment programs, including mental health care programs.
            124.   Defendant Kephart was responsible for policies and practices of mental health care

throughout the entire PADOC, including in the solitary confinement units.
            125.   Defendant Kephart authorized and enforced policies and practices of warehousing
men
      tally ill and/or intellectually disabled prisoners in solitar}' confinement in the RHU, depriving

them of necessary treatment, understating and under-classifying mental health needs, inadequate

supervision and monitoring of prisoners on die mental health roster, inadequate response to

requests for mental healdi care, and an inadequate suicide prevendon program.
            126.   Despite his knowledge of die risks and harms posed by these policies, practices, and

conditions, Defendant Kephart deliberately failed to take necessary corrective action.

            127.   Defendant John Doe #1 was upon information and belief a Correctional Officer at
SCI Cresson who issued Brandon Palakovic die misconduct report prior to his death.

            128.   Defendant John Doe #1 issued the misconduct that sent Brandon to die RHU

without raking into consideration Brandon’s mental lUness, or whether Brandon presented
                                                                                                an




objective threat to odiers.

            129.   Despite his knowledge of the risks and harms posed to mentally ill prisoners in

solitary- confinement, John Doe #1 failed to take necessary corrective action.
            130.   Defendant John Doe #2 was upon information and belief a Hearing Examiner at
SCI Cresson who sentenced Brandon Palakovic to solitary confinement in the RHU prior to his

death in disregard of Brandon’s mental healdi and the minor nature of die offense.


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            131.
                   Despite his knowledge of tlie risks and harms posed to mentally ill prisoners in

solitary confinement, John Doe #2 failed to take necessary corrective action.

            132.   Defendants John Does #3-6 were Correctional Officers employed in tlie RHU at

SCI Cresson at all relevant irmes hereto who participated in creating hostile living conditions

characterized by verbal and physical abuse, punitive beha\rior modification policies and practices,

and deliberate refusal to aid prisoners in obtaining needed mental health care.

            133.   Despite their knowledge of the risks and harms posed to prisoners subjected to such

hostile living conditions, John Does #3-6 failed to take necessary corrective action.

            134.   Defendant MHM, Inc. is under contract with die PADOC to proiride mental health

management services to prisoners diroughout die system, including at SCI Cresson at all relevant

times hereto.


            135.
                   Defendant MHM, Inc. was responsible for policies and practices of psycliiatric care

throughout die entire PADOC, including in the solitary confinement units.
            136.
                   Defendant MHM, Inc. authorized and enforced policies and practices of

warehousing mentally ill and/or intellectually disabled prisoners in solitary confinement, depriving

diem of necessary treatment, understating and under-classifying mental health needs, inadequate

supervision and monitoring of prisoners on die mental liealdi roster, inadequate response to

requests for mental health care, and an inadequate suicide prevention program.
            137.
                   Defendant MHM, Inc. authorized and enforced policies that failed to proHde mental

healdi treatment to prisoners. Instead of treatment or psychiatric care, MHM, Inc. merely dispensed

medication, fading to supervise prisoners, performing perfunctory and clinically inappropriate

interviews, and ignoring the obvious risks of harm such policies and pracrices entail.

            138.   Defendant MHM, Inc. authorized and enforced policies that enabled and permitted

prisoners to be discriminated against on tlie basis of disability, denying them mental health services



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and subjecting them to solitary confinement in lieu of treatment. Despite its knowledge of the risks

and harms posed by these policies, practices, and conditions, Defendant IVIHM, Inc. deliberately

failed to take necessary correcdve action.

                                            Causes of Action

        COUNT I - Deliberate Indifference to the Deprivation of Basic Human Needs

            139.   Plaintiffs re-allege paragraphs 1-138 as if fully stated herein.
            140.   All Defendants violated Brandon Palakovic’s right to be free from cruel and unusual

punishment under the Kightli and Fourteentli amendments of the U.S. Constitution by placing liim
in   conditions of solitary confinement that are known to cause harm to psychologically ^Inerable

individuals like Brandon. On account of liis mental healtli vulnerabilities, Brandon’s solitary

confinement deprived him of tlie basic human needs of environmental stimulation, social

interaction, mental health, and physical health. All Defendants were deliberately indifferent to tliese

deprivations.

                      COUNT II - Deliberate Indifference to Serious Medical Needs

            141.   Plaintiffs re-allege paragraphs 1-138 as if fully stated herein.
            142.   All Defendants violated Brandon Palakovic’s right to be free from cruel and unusual

punislunent under die Eighth and Fourteendi amendments of the U.S. Constitution through dieir
deliberate indifference to his serious medical need for mental healdi care.

                       COUNT III - Discrimination on the Basis of Disability

            143.   Plaintiffs re-aUege paragraphs 1-138 as if fully stated herein.
            144.   All Defendants violated Brandon Palakovic’s rights under the Americans widi

Disabilities Act by denying him access to services, programs, and activities available at SCI Cresson

on account of his serious mental illness.




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            145.   All Defendants violated Brandon Palakovic’s rights under the Americans with

Disabilities Act by refusing to make a reasonable accommodation tliat would enable Brandon to

have access to services, programs, and activities available to prisoners witliout serious mental iLLness.

                                         COUNT IV - Wrongful Death

            146.   Plaintiffs re-allege paragraphs 1-138 as if fully stated herein.

            147.
                   The following indi\nduals are eligible to recover damages as a result of Brandon

Palakovic’s death pursuant to 42 Pa. C.S.A. § 8301: Renee and Darian Palakovic.

            148.   During his lifetime, Brandon Palakovic did not commence any action for tlie injuries

that caused his deatli and no otlier action has been tiled to recover damages for the wrongful deadi

of decedent.


            149.   At aU relevant itmes, aU Defendants committed acts of willful misconduct and acted

widi reckless indifference, carelessness, and negUgence in regard to die rights of Brandon Palakovic.
            150.   As die dkect and proximate result of die acts and omissions of aU Defendants,

Plaintiffs have suffered the following damages:
                       a.
                            Expenses of admimstration related to Brandon Palakovic’s deadi; and

                       b. AU other damages permissible in a wrongful death action.
            151.   As a direct and proximate result of Defendants’ acts and omissions described in this

complaint. Plaintiffs seek punitive damages.

                                                 COUNT V - Survival Action

            152.
                   Plaintiffs re-aUege paragraphs 1-138 as if fiilly stated herein.
            153.   Plaintiffs brings this survival action pursuant to 20 Pa. C.S.x\. § 3373 and 42 Pa.

C.S.A. § 8302.

            154.   As a direct and proximate result of Defendants’ acts and omissions, aU Defendants

are liable for the following damages:


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                    a.   Brandon Palako\dc’s pain and suffering during liis confinement in tlie

                         PADOC, including prior to and at the time of his deatli;
                    b.   Brandon Palakovic’s total estimated future earning power;

                    c.   Brandon Palakovic’s loss of retirement and Social Security income;

                    d.   Brandon Palakovic’s other financial losses suffered as a result of his death;

                    e.   Brandon Palakovic’s loss of tlie enjoyment of life.

                                           Prayer for Relief

WHEREFORE, Plaintiffs request that the Court grant the following relief:

            A.   Award compensatory damages;

            B.   Award punitive damages;

            C.   Grant attorneys’ fees and costs;

            D.   Such other relief as the Court deems just and proper.

                                          Jury Trial Demand

                          Plaintiffs demand dial by jury in all claims so triable.


                                                  Respectfully submitted,


                                                  /s/Bret D. Grote
                                                  Bret D. Grote
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                                                  Dustin McDaniel
                                                  PAI.D. No. 314618
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                                                  Telephone: (412) 654-9070
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                                          Healey and Homack:


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                                          Attorneys for Plaintiffs

Dated: July 8, 2014




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                                                             U.S. Department of Justice




                                                             Washinglon, DC 20530




                                                                                       MAY 31 2013

  The Honorable Tom Corbett
  Governor’s Office
  225 Main Capitol Building
  Harrisburg, PA 17120

             Re:    Investigation of the State Correctional Instimtion at Cresson and Notice of
                    Expanded Investigation

  Dear Governor Corbett;

         The Civil Rights Division has completed its investigation into the conditions of
  confinement at Pennsylvania State Correctional Institution at Cresson (“Cresson”), conducted
  pursuant to the Civil ^ghts of Institutionalized Persons Act (“CRIP A”), 42 U.S.C.               1997.

  CRIPA authorizes the Department of Justice to seek equitable relief where prison conditions
  violate the constitutional rights of prisoners in state correctional facilities. Consistent with the
  statutory requirements of CRIPA, we write to inform you of our findings.
          After carefully reviewing the evidence, we conclude that the manner in which Cresson
  uses isolation on prisoners with serious mental illness violates the Eighth Amendment of the U.S.
  Constitution. We also conclude that Cresson uses isolation in a way that violates the irghts of
  pnsoners with serious mental illness, as well as prisoners with intellectual disabilities, under
   Title II of the Americans with Disabilities Act (“ADA”), 42 U.S.C. §§ 12131-12134.

             The manner in which Cresson uses prolonged isolation on prisoners with serious mental
   illness subjects them to a risk of serious harm.‘ Cresson routinely locks prisoners with serious
   mental illness in their cells for roughly 23 hours per day for months, even years, at a time. At
   Cresson, the prolonged isolation is all the harder for many prisoners with serious mental illness
   to endure because it involves harsh and punitive living conditions and, often, unnecessary staff-
   on-prisoner uses offeree. Cresson often places prisoners with serious mental tliness in isolation
   automatically because of their mental illness, and it fails to ensure that such placements are
   reviewed by mental health staff. Once in these units, prisoners often receive inadequate mental
   health care, with some receiving no therapy at all, and are often unreasonably denied access to
   other services and programs. The combination of these conditions and deprivations subjects

   ^ Cresson is a medium-security facility that uses isolation on prisoners witli mental illness in the
   Restricted Housing Unit, the Secure Special Needs Unit, and the Psychiatric Observation Cells. In
   Section IV.C. of this letter, we discuss the harsh conditions in each of Cresson’s isolation units in greater
   detail.



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these prisoners with serious mental illness to unnecessary and excessive risks, and many
prisoners at Cresson in these conditions have suffered physical and psychological harms, such as
psychosis, trauma, severe depression, serious self-injury, or suicide.

        Neither the interests of the Pennsylvania Department of Corrections (“PDOC”) nor those
of the Commonwealth of Pennsylvania are well served when one of its prisons subjects prisoners
to conditions that deny prisoners with psychiatric disabilities the benefit of mental health
treatment and exacerbate their mental illnesses. When the mental health of prisoners
deteriorates, when their episodes of paranoia and psychosis intensify, and when they engage in
behaviors more dangerous to themselves and others, taking care of them becomes more difficult
and more dangerous for correctional officers and more expensive for the Commonwealth.
Moreover, those living outside the prison’s walls feel the negative impact of the prison’s
mistreatment of prisoners with serious mental illness when these prisoners return to the
community.

        We recently learned that PDOC may close Cresson later this year. Even if Cresson does
close, we remain concerned about the PDOC policies and practices that allowed the violations of
federal law to occur there. These same policies and practices may lead to similar problems at
other facilities. Indeed, in the course of our investigation, we reviewed information suggesting
that other PDOC facilities may inappropriately use prolonged isolation, under conditions similar
to Cresson’s, on prisoners with serious mental illness and intellectual disabilities. Therefore, in
addition to informing you of our findings, this letter serves as notice of our intent to expand our
investigation into the use of prolonged isolation on prisoners with serious mental illness and
intellectual disabilities at PDOC’s other facilities. We describe the scope of our investigation
and our plan for conducting it efficiently and expeditiously at the conclusion of this letter.

        Secretary John Wetzel, Superintendent Kenneth Cameron, and other PDOC officials have
fully cooperated with our investigation. They have displayed a genuine interest in working
constructively with us, and we look forward to working with them in the coming months.
                                   I.      SUMMARY OF FINDINGS

            We have made the following determinations regarding the manner in which Cresson uses
isolation:


     ●      Cresson’s use of prolonged isolation on prisoners with serious mental illness has
            caused serious and obvious harm in many cases: Over a hundred prisoners on the
            Facility’s own mental health roster have spent several months at a time in isolation, while
            roughly two dozen have spent years in isolation. The manner in which Cresson uses
            prolonged isolation on prisoners with serious mental illness places them at risk of, and
            destabilizes their condition and leads to, various serious psychological and physiological
            harms. Though less than 10 percent of the Prison’s total population is housed in one of
            the isolation units, in the last year and-a-half, 2 of tlie Prison’s 3 suicides and 14 of 17
            suicide attempts occurred there.

     ●      Cresson’s use of prolonged isolation on prisoners with serious mental illness results
            in inadequate mental health treatment: Cresson’s use of prolonged isolation prevents
            prisoners with serious mental illness from obtaining the mental health treatment they
            need. This denial of adequate mental health care has led to serious harms, including
            trauma, decompensation, psychosis, physical injuries, and death.



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    ●       Cresson subjects prisoners with serious mental illness to excessive force and other
            harsh conditions, resulting in an extreme form of isolation; Cresson’s isolation units
            are unnecessarily harsh punitive environments where prisoners with serious mental

            illness suffer under chaotic conditions and are frequently subjected to excessive uses of
            force.

    ●       Cresson’s use of isolation discriminates against prisoners with serious mental
            illness: Cresson unnecessarily and inappropriately places prisoners in solitary
            confinement because they have serious mental illness. Isolating prisoners on the basis of
            their mental illness constitutes impermissible discrimination where it unjustifiably denies
            those prisoners access to services and programs provided to most other prisoners.
    ●       Cresson’s use of isolation also violates the rights of prisoners with intellectual
            disabilities: Many of Cresson’s prisoners with serious mental illness also have
            intellectual disabilities. There are also some prisoners who have intellectual disabilities,
            but no diagnoses of serious mental illness. Cresson has failed to make reasonable
            modifications to its policies, procedures, and practices to meet the needs of prisoners with
            intellectual disabilities in the general population, resulting in Cresson essentially
            warehousing them in one of the isolation units. Indeed, in the last two years, Cresson has
            subjected almost half of the prisoners it has identified as having intellectual disabilities to
            three or more continuous months of solitary confinement where they are denied
            meaningful services or activity.

    ●       Numerous systemic deficiencies contribute to the extensive use of isolation on
            prisoners with serious mental illness: Cresson resorts to placing prisoners with serious
            mental illness in prolonged isolation in unnecessarily restrictive conditions primarily
            because of system-wide deficiencies that interfere with its ability to provide adequate
            mental health treatment. Too often, instead of providing appropriate mental health care,
            Cresson’s response to mental illness is to confine vulnerable prisoners in its isolation
            units without meaningful services or activity. This approach has resulted in Cresson
            disproportionately placing prisoners with serious mental illness in inappropriate and
            unnecessarily restrictive environments. At the time of our investigation, prisoners with
            mental illness comprised less than 30 percent of the Facility’s overall prisoner population
            but represented more than 60 percent of those housed in the isolation units. Thus, the
            prisoners at Cresson who suffer the most in isolation and are the most ill-suited to it are
            precisely the ones subjected to isolation most often.
            The systemic deficiencies that lead the Facility to resort to isolating those with serious
            mental illness include:

            o   A system-wide failure of security staff to consider mental health issues appropriately
                and a marginalization of the concerns of the mental health staff;
            o   A mental health treatment program that fails to identify prisoners requiring treatment,
                lacks adequate staffing, functions in a disjointed and fragmented manner, has little in
                the way of treatment programming, and lacks a functioning secure residential
                treatment unit; and




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            o   Oversight mechanisms that fail to monitor or address whether harm may result from
                Cresson’s isolation practices and lack of treatment for prisoners with serious mental
                illness.


            These factual findings give us reason to conclude that Cresson’s practices violate the
Eighth Amendment’s prohibition against “cruel and unusual punishments.” “Prisoners retain the
essence of human dignity inherent in all persons.” Brown v. Plata, 131 S. Ct. 1910, 1928 (2011).
The Eighth Amendment requires prisons to provide humane conditions of confinement, and
prison officials cannot be deliberately indifferent to serious medical and mental health needs.
Estelle V. Gamble, 429 U.S. 97, 104 (1978). Embodying “broad and idealistic concepts of
dignity, civilized standards, humanity, and decency,” id. at 102, the Amendment prohibits
officials from disregarding conditions of confinement that subject prisoners to an excessive risk
of harm. Farmer v. Brennan, 511 U.S. 825, 843 (1970).
        The practices described in this letter also violate the ADA’s requirement that qualified
individuals with disabilities, including prisoners, not be excluded from participation in or be
denied the benefits of the services, programs, or activities of a public entity, or be subjected to
discrimination by any public entity. 42 U.S.C. § 12132; 28 C.F.R. § 35.130(a). Further, among
others, the ADA’s Title II regulations require correctional entities to administer services,
programs, and activities in the most integrated setting appropriate to the needs of qualified
prisoners with disabilities and to make reasonable modifications to policies, practices, and
procedures when necessary to avoid discrimination on the basis of disability. See 28 C.F.R.
§§ 35.130(b)(7), (d) (1991); Pa. Dep't of Corr. v. Yeskey, 524 U.S. 206, 210 (1998); Chisolm v.
McManimon, 275 F.3d 315, 324-25 (3d Cir. 2001). Cresson’s practices identified in this letter
violate these provisions.
                                       II.      INVESTIGATION


            On December 1, 2011, we notified you that we were opening an investigation into the
conditions of confinement at Cresson. The focus of our investigation was on whether Cresson
engages in a pattern or practice of subjecting prisoners with serious mental illness to
unnecessarily long periods of isolation, failing to prevent suicide and other self-harm, and failing
to provide prisoners with adequate mental health treatment. In the course of the investigation,
other issues of concern came to our attention, including unnecessary uses of force by staff on
prisoners with serious mental illness and the use of isolation on prisoners with intellectual
disabilities.


        On March 19-22, 2012, we conducted an on-site inspection of Cresson with an expert
consultant in mental health treatment and suicide prevention and an expert consultant in
corrections security. We interviewed administrative staff, security staff, medical and mental
health staff, and prisoners. We reviewed an extensive number of documents, including policies
and procedures, medical and mental health records, cell histories, incident reports, investigative
reports, disciplinary reports, administrative audit reports, prisoner grievances, unit logs,
orientation materials, and training materials. We observed prisoners in various settings
throughout the Facility. Consistent with our commitment to provide technical assistance and
conduct a transparent investigation, we conducted exit conferences upon the conclusion of our
visit.




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            We met with PDOC leadership and Superintendent Cameron on October 10, 2012, to
share our consultants’ concerns about information we received during our investigation and to
receive an update on PDOC’s and Cresson’s response to the deficiencies outlined at the end of
our March visit. PDOC and Cresson provided us with information regarding new initiatives to
improve the mental health and suicide prevention programs at Cresson and throughout the PDOC
system. While we commend PDOC and Cresson for considering these initiatives, most are still
in the early planning stage, and our central concerns have not yet been addressed.
                                         III.      BACKGROUND

            Cresson, which formerly served as a center for prisoners with serious mental illness,
opened in 1987 as a medium-security male correctional institution. At the time of our
investigation, Cresson housed approximately 1,600 prisoners. Of those, approximately 250 were
housed in specialized housing units.
            Three of the specialized housing units operate as isolation units. For purposes of this
document, the terms “isolation” or “solitary confinement” mean the state of being confined
to one’s cell for approximately 22 hours per day or more, alone or with other prisoners,
that limits contact with others. Compare Wilkinson v. Austin, 545 U.S. 209, 214, 224 (2005)
(describing solitary confinement as limiting human contact for 23 hours per day); Tillery v.
Ow>ens, 907 F.2d 418, 422 (3d Cir. 1990) (21 to 22 hours per day). An isolation unit means a
unit where either all or most of those housed in the unit are subjected to isolation.

            Cresson’s three isolation units are:

    ●       The Restricted Housing Unit (“RHU”): Prisoners are housed in the RIfU for violating
            prison rules (disciplinary segregation) or threatening the security of others (administrative
            segregation), or to protect them from significant threats to their own safety (protective
            custody). Regardless of why they find themselves in the RHU, prisoners housed there are
            subjected to conditions that, taken together, have a punitive effect. For approximately 23
            hours per day, they are locked down in small cement cells (usually they are on their own,
            but sometimes, because of overcrowding, two prisoners must share the same RHU cell).
            Severe restrictions are placed on their ability to engage in even basic activities, such as
            reading, and to have contact, even by phone, with loved ones and friends. Prisoners are
            also exposed to intensive security measures, such as routine cell searches. When we
            toured the Facility, 95 prisoners were housed in Cresson’s RFIU.

     ●      The Secure Special Needs Unit (“SSNU”): Cresson officials only house prisoners in
            the SSNU if they have serious mental illness, have had a number of placements in the
            RHU, and would otherwise be housed in the RHU. Although the SSNU is supposed to be
            a therapeutic unit designed to address the serious mental health needs of prisoners who
            also require a more secure environment, very little mental health treatment is provided
            there. Roughly two-thirds of the prisoners at the SSNU are confined to their individual
            cells for approximately 22 to 23 hours per day. Generally, housing and living conditions
            in the SSNU are even more austere than in the RHU. The SSNU housed 20 prisoners
            during our visit to the Facility. At the time of our investigation, Cresson’s SSNU was the
            second largest of the seven SSNUs in the PDOC system.




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     ●      The Psychiatric Observation Cells (“POC”): Cresson houses prisoners who are
            mentally decompensating to the point of being considered a danger to themselves, other
            prisoners, and/or property in one of several POC cells. Prisoners are confined to these
            cells for nearly 24 hours per day.

            In the RHU and SSNU, cells are all less than 100 square feet in size. Each cell contains a
steel sink, a steel toilet, a steel desk, and a steel bed frame with a mattress. The POC cells are
similar to those in the RHU and SSNU but have no desks or sinks. All of the isolation cells have
solid metal doors with narrow slots at shoulder level, wide enough for food trays to pass through,
and small plastic windows facing into the housing unit’s common area. At the RHU and POC,
the cells have small exterior windows, but at the SSNU, there are no such windows, and cells
have no natural light.^
        The remaining two specialized housing units, both of which are not isolation units, are
the following;

     ●      The Mental Health Unit (“MHU”): The MHU is for prisoners needing short-term
            inpatient mental health care. Certified by the Pennsylvania Department of Public
            Welfare, the MHU receives admissions via the Pennsylvania civil commitment process
            and serves prisoners from other prisons in the region in addition to Cresson prisoners.
            The MHU housed eight prisoners during our visit. Several other MHUs exist throughout
            the PDOC system.

     ●      The Special Needs Unit (“SNU”): The SNU is for prisoners who, as a result of their
            mental illness or other disability, are vulnerable and require additional support and/or
            protection. Two-thirds of the prisoners housed there are double-celled; the other third are
            single-celled. The SNU is considered general population housing in terms of security
            operations, permissible property, and out-of-cell time. The SNU housed 130 prisoners
            during our visit.

            Finally, a few additional terms used throughout this letter are defined as follows:

     ●      Serious Mental Illness: In the context of this letter, we rely on PDOC’s own definition
            of what constitutes serious mental illness. PDOC currently defines serious mental illness
            as “a substantial disorder of thought or mood that significantly impairs judgment,
            behavior, [or] capacity to recognize reality or cope with the ordinary demands of life.”
            Pennsylvania Department of Corrections, Policy 13.8.1., Section 2, Delivery of Mental
            Health Services § A.l.a.(2) (2010).

     ●      Intellectual Disability is a disability characterized by a significant impairment in
            cognitive functioning and deficits in adaptive behaviors, such as communication, social
            skills, personal independence, and school or work functioning.

     ●      Intellectual Deficit refers to preliminary indications of a potential intellectual disability,
            often on the basis of a low IQ, a review of documents, and/or observations of the
            prisoner.


^ In Section IV.C. of this letter, we discuss the harsh conditions in each of Cresson’s isolation units in
greater detail.




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 IV.  THE MANNER IN WHICH CRESSON USES ISOLATION ON VULNERABLE
PRISONERS VIOLATES THE EIGHTH AMENDMENT TO THE U.S. CONSTITUTION

        Cresson uses isolation on prisoners with serious mental illness in a manner that violates
their rights under the Eighth Amendment. The Eighth Amendment prohibits prison officials
from acting with deliberate indifference to conditions of confinement presenting a substantial
risk of serious harm to prisoners. Farmer, 511 U.S. at 828. Deliberate indifference can be
inferred where the risk of serious harm is obvious. Id. at 842; see also Hope v. Pelzer, 536 U.S.
730, 738, 745 (2002) (finding officials deliberately indifferent where handcuffing prisoners to
hitching posts for long hours resulted in an obvious and substantial risk of harm to prisoners);
Conn V. City ofReno, 572 F.3d 1047, 1062 (9th Cir. 2009) (holding that officers may be liable
for prisoner’s suicide under deliberate indifference standard). Our understanding of what
constitutes serious harm is not static, and the Amendment therefore requires us to consider the
evolving standards of decency that mark the progress of a maturing society.” Rhodes v.
Chapman, 452 U.S. 337, 346 (1981);           also Davenportv. De Robertis, 844 F.2d 1310, 1314-15
(7th Cir.) (1988), cert, denied, 488 U.S. 908.
        Cresson has ignored obvious and serious risks in its approach to the use of isolation on
prisoners with serious mental illness. It has done so by: (A) unnecessarily placing them into
isolation for prolonged periods of time despite clear evidence in numerous cases that such
conditions pose risks; (B) denying them adequate mental health care while they languish in
prolonged isolation; and (C) combining prolonged isolation with other extreme conditions and
unnecessary uses of force. These practices violate the Eighth Amendment.
    A. Cresson’s Use of Prolonged Isolation Subjects Prisoners with Serious Mental Illness
            to a Risk of Serious Harm


       Cresson’s practice of subjecting prisoners with serious mental illness to prolonged
periods of isolation under the conditions described in this letter has resulted in harm, including
trauma, bouts of hysteria and extreme paranoia, severe depression, psychosis, serious self-injury
and mutilation, and suicide. Though Cresson is aware of numerous serious harms suffered by
prisoners with serious mental illness in its isolation units, it nonetheless continues to use the
same dangerous isolation units for these same vulnerable prisoners for months, sometimes years.

at a time.

            Solitary confinement and other forms of isolation are increasingly being practiced across
the nation. The forms of isolation, the conditions in which prisoners are held, the availability of
mental stimulus, physical activity, and access to treatment and social interaction vary greatly.
Prison authorities run afoul of the Eighth Amendment when they are “deliberately indifferent to
the serious risks posed by subjecting [prisoners with serious mental illness] to confinement in
[isolation] for extended periods of time.” Ruiz v. Johnson, 37 F. Supp. 2d 855, 915 (S.D. Tex.
1999), rev’d on other grounds, 243 F.3d 941 (5th Cir. 2001), adhered to on remand, 154 F.
Supp. 2d 975 (S.D. Tex. 2001).

       While the potentially harmful effects of subjecting prisoners to certain forms of solitary
confinement have long been recognized, see, e.g. In re Medley, 134 U.S. 160, 168 (1890)
(Supreme Court discussing prisoners who were held in extreme forms of solitary confinement
without access to other human beings and noting that, “[a] considerable number of prisoners fell,
after even a short confinement [in isolation], into a semi-fatuous condition, from which it was
next to impossible to arouse them, and others became violently insane; others still, committed


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suicide”),^ more recently, courts have noted that special risks may exist when those placed in
prolonged isolation have certain serious mental illnesses that make them especially vulnerable to
such conditions. Madrid v. Gomez, 889 F. Supp. 1146, 1265-66 (N.D. Cal. 1995) (discussing
particular conditions of isolation, and holding that some prisoners had mental health conditions
that made them especially vulnerable to prolonged isolation, such that subjecting them “to
conditions that are ‘very likely’ to render them psychotic or otherwise inflict a serious mental
illness or seriously exacerbate an existing mental illness cannot be squared with evolving
standards of humanity or decency”). As one court has put it, using prolonged isolation on
prisoners who are, because of their serious mental illness, “at a particularly high risk for
suffering very serious or severe injury to their mental health” can be “the mental equivalent of
putting an asthmatic in a place with little air to breathe.” ^ Id. Mental health experts, opining in
the profession’s standards of practice, have recognized that “[pjrolonged segregation of adult
inmates with serious mental illness, with rare exceptions, should be avoided due to the potential
for harm to such inmates.” American Psychiatric Association, Position Statement on
Segregation ofPrisoners with Mental Illness (2012); see also American Bar Association,
Standards for CriminalJustice Standards: Treatment of Prisoners (“ABA Standards”) §§ 23-
l.O(o), 23-2.8(a) (2011) (stating that prisoners diagnosed with serious mental illness should not
be placed in isolation for more than 30 days because of its damaging effects); Casey v. Lewis,
834 F. Supp. 1477, 1548 (D. Ariz. 1993) (noting that “both the plaintiffs’ and defendants’
experts agreed that it was inappropriate to house acutely psychotic inmates in [isolation] for
more than three days”).

         Moreover, long-term segregation of prisoners with mental illness may often be
counterproductive to prison security or public safety. A commission chaired by former United
States Attorney General Nicholas Katzenbach and Third Circuit Judge John J. Gibbons
concluded: “The increasing use of high-security segregation is counter-productive, often causing
violence inside facilities and contributing to recidivism after release.”^ Instead, General
Katzenbach and Judge Gibbons recommended: “Caring for those who cannot be housed in the
general prisoner population requires investing in secure therapeutic units inside prisons and jails
staffed by mental health professionals who can handle troubled individuals without locking them
in their cells all day.” Id. at 61.

       Notwithstanding the serious risks that may result from subjecting prisoners with serious
mental illness to prolonged isolation, Cresson’s staff routinely subject prisoners they have

^ More recently, the Third Circuit has also recognized that that “prison authorities may [not] turn a blind
eye to the mental and emotional state of prisoners” housed in isolation. Peterkin v. Jejfes, 855 F.2d 1021,
 1030 (3d Cir. 1988) (nevertheless finding that conditions were not unconstitutional); see also Jones ‘El v.
Berge, 164 F. Supp. 2d 1096, 1117 (W.D. Wis. 2001) (“Prisoners in [isolation] who have no history of
serious mental illness and who are not prone to psychiatric decompensation (breakdown) often develop ..
. diagnoses such as paranoid delusional disorder, dissociative disorder, schizophrenia and panic
disorder.”); Ruiz, 37 F. Supp. 2d at 907 (“[Isolation] units are virtual incubators of psychoses-seeding
illness in otherwise healthy inmates .. . .”).

** See also Jules Lobel, Prolonged Solitary Conifnement and the Constitution, 11 U. PA. J. CONST. L. 115
(2009).

^ John J. Gibbons and Nicholas de B. Katzenbach, Confronting Conifnement, A Report of the
Commission on Safety and Abuse in America’s Prisons, 14 (2006),
httD://wwvv.vera.org/sites/default/files/resources/downloads/Con fronting ConFineinent.pdf




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already identified as having serious mental illness to months, even years of solitary confinement.
From January 2010 to March 2012, 125 prisoners on Cresson’s active mental health roster spent
90 days or more in isolation,^ and 27 of those spent one year or more in isolation. At the SSNU,
a unit specifically designed to house prisoners with serious mental illness, each of the 28
prisoners who exited the SSNU in the two years preceding our review (2010-2012) spent an
average of more than 656 days in isolation.^
            Not only is the isolation often objectively long, but for prisoners at Cresson’s SSNU, the
isolation feels like it will never end. These prisoners are surrounded by others like them who
almost never make it out of isolation (since 2010, only 5 of the 48 prisoners in Cresson’s SSNU
program have “graduated” out of isolation). According to our mental health consultant,
prisoners “are provided no information about what is specifically expected of them to advance
[out of isolation] and often remain ‘stuck’ .. . Our consultant went on to opine that
advancement “appears to be based upon the subjective assessment of staff’ with no “objective
criteria . . . such as completion of a particular course of treatment or a specific time period
without rule infractions.” As one of the prisoners we spoke to told us, confinement at the SSNU
“feel[s] like it will last for the rest of [your] life.” A grossly disproportionate amount of the self-
harm at Cresson occurs in its isolation units. Although Cresson houses most of its prisoners with
serious mental illness in one of the non-isolation units, most of the self-harm involving prisoners
with serious mental illness occurs in the isolation units. For instance, in 2011, 14 of the Prison’s
17 documented suicide attempts occurred in the isolation units. In the last two years, two of the
three prisoners who committed suicide were housed in one of the isolation units when they took
their lives. Moreover, Cresson’s records show that in 2011, there were dozens of incidents
involving prisoners on the mental health roster engaging in self-harm in the isolation units, while
just two such incidents occurred in the general population.
       Below are examples of prisoners at Cresson who have suffered serious harm after
prolonged periods of solitary confinement and inadequate treatment:
     ●      On May 6,2011, prisoner AA,* diagnosed by PDOC with delusional disorder and
            personality disorder with paranoid and narcissistic features, committed suicide after
^ Based on a review of documents that include records of diagnoses, we and our expert consultant in
mental health are confident that most of these prisoners have serious mental illness. Cresson separates its
active mental health roster into two categories: (1) those prisoners designated as having “the most serious
need for mental health services;” and (2) those designated as having a “present mental health need, Our
expert consultant was clear that not only may prisoners in both of these categories have serious mental
illness, but that Cresson far under-designates those having the most serious need for mental health
services. The vast majority of the prisoners on the mental health roster who spent extended periods of
time in isolation have a serious mental illness, and the proportion increases as the duration in isolation
increases, further demonstrating the use of isolation in response to challenging behaviors associated with
mental illness.

^ For most of those with serious mental illness at Cresson who have spent more than 30 days in solitary
confinement, their time in isolation is spent entirely in Cresson’s isolation units. However, for a minority,
the time in isolation consists of periods of confinement in both Cresson’s isolation units and the isolation
units of other PDOC facilities. The average indicated for those in the SSNU does not include time spent
in the isolation units of other PDOC facilities. For some of prisoners, their time in Cresson’s SSNU
followed lengthy periods of isolation at other facilities.

* To protect the identity of prisoners, we use coded initials throughout this letter.


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            spending roughly nine months in isolation, consisting of three months at Cresson’s RHU
            and six months at the RHU of another PDOC prison. After reviewing his records, our
            consultant told us that, following an April 6, 2011, POC placement for threatening
            suicide and self-harm, he received virtually no out-of-cell time. During a cell-side visit
            by a psychiatrist, he was described as “still paranoid delusional” but, despite the
            prisoner’s active psychosis, the plan was merely to “re-check in 1 month.” Ten days
            later, while still in isolation in the RJ-IU, he committed suicide.

    ●       In October 2010, prisoner BB, diagnosed by PDOC with schizoaffective disorder and
            major depressive disorder with psychotic features, tore open his scrotum with his
            fingernail while housed at the RHU after experiencing isolation and a lack of adequate
            treatment there for three months. In the three days preceding this incident, BB cut his
            arm with a staple, smeared feces on himself while complaining of hearing voices, and
            tore off a fingernail. After the incident involving BB injuring his scrotum, he told staff
            that “mental health won’t listen to me so Tm pulling my nuts out.” Instead of responding
            to this incident and the other instances of self-harm by providing him with the long-term
            treatment he needed, Cresson returned him to isolation after less than a month of
            treatment. Ten days later, he cut his wrists with a razor.

    ●       Prisoner CC has been diagnosed by PDOC with schizophrenia and has a past diagnosis of
            an intellectual disability, a history of psychiatric hospitalization starting at age eight, and
            an IQ of 55. In July 2011, after spending nearly a year and-a-half in isolation, he had
            decompensated to the point of becoming an immediate threat to himself or others and was
            transferred to the inpatient treatment unit at the MHU (his third admission to the MHU in
            that year and-a-half). Nonetheless, ignoring CC’s history of decompensation while in
            isolation, after three weeks at the MHU, Cresson officials returned him to isolation at the
            SSNU. There, his condition deteriorated again. He ingested objects such as sandwich
            bags and spoons. He cut his wrists. He tied a sheet around his neck. Cresson staff
            inappropriately minimized these serious acts of self-injury as “behavioral issue[s].”
            Then, when he swallowed a nurse’s lancet (a plastic device containing a spring loaded
            needle), he had to be hospitalized and undergo surgery for the serious injuries he
            sustained. Again ignoring CC’s extensive history of self-harm and decompensation while
            in isolation, after one month at the infirmary, staff again returned CC to isolation at the
            SSNU and failed to provide him with adequate treatment. CC remained desperate to get
            out of isolation, telling one of the staff psychologists, “I’m sick in the head, I’m psycho..
            . . I’m just sitting in a dark cell with nothing to do.”

     ●      In December 2011, prisoner DD, who has an IQ of 70 and was diagnosed by PDOC with
            multiple mental illnesses, attempted to cut his throat with a razor after nearly five
            consecutive months in isolation at the RHU. DD had made several other suicide attempts
            and engaged in other instances of self-harm before this incident, including an August
            2010 hanging attempt in an SSNU strip cage and an April 2010 hanging attempt at the
            SNU. Despite DD’s suicide attempts and self-harm while in isolation and his multiple
            diagnoses, after placing him in the inpatient treatment unit at the MHU for a month,
            Cresson officials ignored these repeated warning signs regarding the risk of harm to the
            prisoner and returned him to an isolation cell at the RHU, where he remained at tlie time
            of our tour. At the SSNU, DD told us, “Here [in isolation] there’s a lot of emptiness
            filled by other people’s noises. The others prey on us - the [prisoners with serious




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            mental illness], the weak.” There is “nothing to occupy your mind, just inmates and
            [corrections officers] taunting you.”
      ●     PDOC has diagnosed prisoner EE as having a schizoaffective disorder and an intellectual
            disability. When we toured in March 2012, EE was on his fifteenth month of isolafton at
            Cresson. He had threatened or attempted self-harm or suicide at least 15 times during
            that period. In July 2011, after EE was in isolation for seven months, staff reported
            instances of him banging his head on the cell wall, smearing feces all over the cell,
            tearing the dressing off a hip wound, and digging his fingers into it to get it to bleed.
            Despite the prisoner’s repeated self-harm while in isolation and his diagnoses, authorities
            held him in isolation for another eight months. Altogether, EE has spent roughly 7 of the
            last 12 years in isolation in PDOC facilities. EE told us that “isolation makes me want to
            rip my face off.”

By not taking reasonable steps to address the risks described above, prison officials at Cresson
have been deliberately indifferent.
      B. Prisoners Subjected to Prolonged Isolation at Cresson Are Denied Adequate Ment^
            Health Treatment


        By subjecting prisoners with serious mental illness to prolonged periods of isolation,
Cresson routinely prevents them from receiving adequate mental health treatment. Cresson
officials cannot ignore conditions of confinement that have the obvious effect of preventing
prisoners with serious mental illness from obtaining the mental health care they need. See
Estelle, 429 U.S. at 103-05; Inmates of Allegheny County Jail v. Pierce, 612 F.2d 754, 763 (3d
Cir. 1979). At Cresson, prisoners with serious mental illness cannot receive adequate mental
health care while in solitary confinement for extended periods of time. Coleman v. Wilson, 912
F. Supp. 1282, 1320-21 (E.D. Cal. 1995) (adopting the magistrate judge’s conclusion that
“inmates are denied access to necessary mental health care while they are housed in [isolation] );
see also Plata, 131 S. Ct. at 1933 (acknowledging the concern that prolonged isolation results in
inappropriate delays of mental health care); Griffin v. Vaughn, 112 F.3d 703, 709 (3d Cir. 1997)
(noting availability of mental health treatment as a critical factor for assessing constitutionality
of prolonged isolation but finding no violation where prisoner did not have mental illness).
            According to our consultant on mental health and corrections, isolating prisoners with
serious mental illness for prolonged periods often prevents them from receiving the therapeutic
treatment they need at Cresson. Specifically, providing adequate mental health care to prisoners
with serious mental illness requires meaningful out-of-cell activities, such as individual and
group therapy, peer and other counseling, or skills building, as well as unstructured activities,
such as showers, recreation, or eating out-of-cell.
            The severe form of isolation used at Cresson — which often involves isolating the prisoner
for 23 hours per day or more and depriving them of mental health care and other human
interaction - prevents prisoners with serious mental illness from receiving even a fraction of the
out-of-cell activities they need. At Cresson’s RHU, prisoners identified by Cresson as having
serious mental illness are offered zero hours of structured out-of-cell therapeutic activity and at
most five hours of unstructured out-of-cell activity per week. Our consultant told us that the




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prisoners with serious mental illness she observed at the RHU were “provided no treatment
                                                                          «9
whatsoever except psychotropic medications (if they agreed to take them).

        Prisoners placed into Cresson’s POC, ostensibly to monitor them for suicidality or self-
injurious behavior, often arrive there from and quickly return to another isolation unit.
Conditions in the POC simply make placement there a part of prisoners’ longer period of
isolation. Many prisoners who experience this cycling through the POC are identified by Cresson
as having serious mental illness and continue to be offered zero out-of-cell hours, despite their
obvious need for treatment and other activities. Our consultant concluded that Cresson provides
grossly inadequate mental health treatment at the POC and makes no effort to truly stabilize the
prisoner before returning him to another isolation unit, where he will continue to deteriorate.
She explained that, in the POC, “[tjhere is little [therapeutic] intervention provided to inmates
other than a psychiatric assessment within 72-hours of admission, monitoring by nursing staff
and observation by correctional officers.”

        Even though all of the prisoners in Cresson’s SSNU program have serious mental illness,
prisoners there typically receive fewer than two hours of structured therapy per week, though
many receive none. For unstructured out-of-cell activity, roughly half receive fewer than four
hours per week.*^ Former mental health staff told us that SSNU management actively prevented
them from providing meaningful treatment, instructing them to shorten the number and length of
therapy sessions and to conduct “drive-bys.”

         Notably, one of Cresson’s own psychiatrists explained to us the effect isolation has on his
ability to provide adequate treatment. He told us that isolation can create “animal-like”
characteristics in prisoners. He also admitted that at least some of the therapy the prisoners
needed could not be provided to them while they remained in solitary confinement. According
to this psychiatrist, individuals he treats at a nearby forensic hospital fare much better than his
patients at Cresson because the hospital’s patients are not in solitary confinement and can more
readily access mental health care.

         Staff are also inhibited in their ability to identify prisoners who are decompensating or at
risk for suicide. See Coleman, 912 F. Supp. at 1298 n.lO (noting that identifying prisoners at risk
of suicide is one of the six basic components of a minimally adequate prison mental health care
delivery system); see also Madrid, 889 F. Supp. at 1259 (emphasizing the need for “adequate
monitoring ... on far more than just isolated occasions, particularly in the [isolation units]”). At
Cresson, the practice of routinely leaving prisoners with serious mental illness locked away in
cells behind solid doors with small cell-front windows interferes with mental health staffs
ability to adequately identify and monitor those with acute symptoms in need of intervention.



^ Much of the mental health therapy prisoners with serious mental illness at Cresson receive is provided
during cell-side visits. These visits in no way make up for the absence of meaningful out-of-cell
therapeutic activity. Cell-side visits at Cresson involve mental health staff standing outside prisoner cells
attempting to speak to the prisoners through cracks in door frames or food tray slots, amid the commotion
on the unit. Such visits typically last for only a few minutes at a time, lack confidentiality, and cannot, on
their own, be equated with structured, out-of-cell activity.
10
   The data about oiit-of-cell hours in this paragraph remains true nearly seven months after our expert
consultant provided Cresson staff with her assessment of their mental health program following our tour.




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            The following examples illustrate how prisoners in prolonged isolation at Cresson often
were    unable to obtain the mental health treatment they need:

    ●       On July 16, 2012, prisoner FF committed suicide at the RUU where he had been placed a
            few days earlier for minor infractions, Since his admission to Cresson in June 2011, he
            had spent multiple 30-day stays in isolation and, despite a history of self-harm and
            suicide attempts, he continued to be placed in isolation, eventually leading to his death.
            Less than two weeks before the suicide, a psychiatry note recorded that FF had requested
            and felt he could benefit from “one to one counseling.” Ignoring both this request and
            FF’s destabilized condition, the psychiatrist neither ordered the counseling nor referred
            him to Psychology. Psychology staff visited him in December 2011 but did not see him
            again until May 2012. His recommended June 2012 psychiatric visit did not occur until
            July 5, 2012, 11 days before his suicide.
    ●       Between June 2011 and September 2012, prisoner GG, identified by PDOC as having an
            intellectual disability and impulse control disorder, attempted suicide four times and
            threatened self-harm six times while in isolation for all but one and-a-half months of that
            period. After reviewing his records, our consultant told us that GG was provided no
            continuity of mental health care, that staff simply react crisis by crisis, and that after a
            crisis he is returned to isolation where he receives inadequate follow-up care.

            As a specific example, on June 21, 2011, after attempting suicide by hanging in which his
            face turned blue in asphyxiation at the RHU, he was placed in the POC for a week and
            then returned to isolation at the RlfCJ. Over the next month, he received no oufof-cell
            therapeutic activity and psychology staff conducted only three brief cell-side visits. After
            the last of these visits, a psychology staff member noted that GG was hearing voices. On
            July 27, 2011, he again was placed in the POC after attempting self-harm and threatening
            suicide. Nevertheless, he was then returned to isolation at the RHU on July 29, 2011,
            where he again received no mental health therapy and grossly inadequate follow-up
            psychiatric care. Four months later, still in isolation, GG again attempted to hang
            himself, this time by tying a sheet around his neck and anchoring it to a rail.
    ●       PDOC has diagnosed prisoner HH with paranoid schizophrenia. For most of his time at
            Cresson, staff have housed him in an isolation unit instead of providing him the mental
            health care he needs. While isolated for extended periods of time, HH has experienced
            episodes of profound decompensation. For instance, in November 2011, after three
            months in isolation at Cresson’s SSNU, staff found HH lying in the fetal position in his
            cell, mumbling incoherently to himself Though staff responded by briefly moving HH
            to the MHU, where he received improved mental health treatment, in this instance (as
            with other instances like it), staff returned HH to isolation at the SSNU without
            stabilizing his condition and despite his history of decompensating in isolation.




“ FF received a misconduct for “refusing to obey an order” and for “presence in an unauthorized area”
after an officer ordered him to return to his cell and he refused.    According to PDOC policy, both of these
constitute less serious misconducts and are even eligible for an informal resolution rather than
disciplinary time.




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       These examples illustrate how Cresson’s practice of subjecting prisoners with serious
mental illness to prolonged isolation routinely prevents them from receiving the treatment they
need.

     C. Cresson Combines Prolonged Isolation With Other Harsh Conditions,Resultingin
        an Extreme Form of Isolation, Especially Harmful to Prisoners with Serious Mental
            Illness


            Cresson combines prolonged isolation with other harsh conditions. Those conditions
include forced idleness through the stripping away of stimuli, punitive behavior modification
plans, and excessive uses of force by staff. The combining of these conditions leads to an
extreme form of isolation that is especially harmful to the psyche of prisoners with serious
mental illness.


        A condition of confinement such as isolation may combine with other harsh conditions to
produce a single, identifiable unconstitutional threat to a prisoner’s mental health. See Wilson v.
Setter, 501 U.S. 294, 304 (1991) (holding that when conditions of confinement combine to “have
a mutually enforcing effect that produces the deprivation of a single, identifiable human need”
they violate the Eighth Amendment). In other words, a combination of dehumanizing conditions
may lead to an extreme form of isolation manifestly at odds with the Eighth Amendment’s
“evolving standards of decency.” See Young v. Quinlan, 960 F.2d 351, 363-65 (3d Cir. 1992)
(citing Hutto v. Finney, 437 U.S. 678, 685-87 (1978)) (holding that, under the totality of the
circumstances, staff violated the Eighth Amendment when they placed a prisoner in isolation for
four days, deprived him of running water, taunted him, and threatened to restrain him to a steel
slab).

         At Cresson, prisoners with serious mental illness are often subjected to a toxic
combination of conditions that include: prolonged isolation, harsh housing conditions, punitive
behavior modification plans, and excessive uses of force. These conditions, intended to control
these prisoners’ behavior, serve only to exacerbate their mental illness. Frequently, these
conditions combine to do serious harm in the following way: a prisoner with serious mental
illness is placed in isolation with inadequate mental health care, causing him to decompensate
and behave negatively; staff respond by subjecting the prisoner to harsher living conditions,
denying him stimuli, and/or using excessive force against him; the prisoner’s mental health
continues to deteriorate, and he begins to engage in self-injurious conduct (e.g., banging his head
hard and repeatedly against a concrete wall, ingesting objects, or hurling himself against the
metal furnishings of his room) or attempts to kill himself; staff eventually respond by placing
him in the MHU - a unit where a limited amount of treatment is provided; as soon as the
prisoner begins to stabilize, he is returned to isolation, and the prisoner’s mental health again
spirals downward.

            Below we review the conditions that, in combination, make isolation at Cresson extreme:

            Baseline housing conditions in the isolation units are harsh. The prison cell itself
defines the contours of the prisoner’s life. In the RHU and SSNU, cells are all less than 100
square feet in size. Each of the cells is barely large enough to contain its furnishings, consisting
of a steel sink, a steel toilet, a steel desk, and a steel bed frame with a mattress. The POC cells
are similar to those in the RHU and SSNU but have no desks or sinks. All of the isolation cells
have solid metal doors with narrow slots at shoulder level wide enough for food trays to pass
through, and small plastic windows, facing into the housing unit’s common area. At the RHU


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and POC, the cells have small exterior windows, but at the SSNU, there are no such windows,
and cells have no natural light. While in their cells, prisoners hear other prisoners in the unit
who are actively psychotic banging on doors or yelling. The banging and yelling they hear is
frequent, loud, cacophonous, and stress-inducing.^^ The units also often reek of urine and feces,
particularly in the SSNU.
        In the isolation units, the out-of-cell conditions are also harsh. In the RHU and SSNU,
staff allow most prisoners to have limited access to small, individualized, and caged exercise
pens (the ones we observed in the SSNU were roughly 28 by 8 feet in size). In the isolation
units, when a prisoner with serious mental illness receives out-of-cell therapy, the therapy is
generally provided to the prisoner while he sits in a small cage roughly the size of a telephone
booth. When moving between their cells and these out-of-cell facilities, prisoners are at all times
escorted by officers and have their arms and legs shackled together.
            Typically, staff prevent those in isolation, including those with serious mental illness,
from having access to anything that could distract them from their idleness. None have access to
television, most have no access to radio, and severe restrictions are placed on the amount of
reading material a prisoner can have at any given time. One of the prisoners we spoke to in the
SSNU - a prisoner who has attempted suicide on multiple occasions while in solitary
confinement - told us he suffers in isolation, in large part, because he has absolutely nothing to
do. He explained that while staff give him access to books, they are of no use to him because his
intellectual disability prevents him from being able to read. For this prisoner, and others with
serious mental illness, being left in a small cement cell, entirely alone with their thoughts, for
months at a time, is mentally torturous and routinely leads to psychosis and a serious worsening
of their mental health.

        Most of the prisoners housed in the isolation units experience little in the way of human
interaction. The typical prisoner rarely speaks to or sees others, except for when an officer peers
through the prisoner’s cell window during rounds, or the occasional mental health staff member
asks about how he is doing. Facility staff severely limit the opportunities prisoners have to speak
to friends or loved ones by telephone or during non-contact visits. The only human touch
prisoners usually experience is when they are placed in handcuffs or restraints.
            Punitive approach to symptoms makes conditions in the isolation units even worse.
At Cresson, staff working in the isolation units are encouraged to use punitive behavior
modification plans to address behaviors that are derivative of prisoners’ serious mental illness.
Our consultant severely criticized the Prison for over-relying on aversives, explaining that
Cresson staff “have a misunderstanding that all behavior, even that which flows from untreated
or under-treated serious mental illness is intentional misbehavior that must be punished rather
than treated.”




   Further contributing to the chaotic conditions at the SSNU is the placement there of some RHU
overflow prisoners” without mental illness because of a lack of space in the RHU. This blending of
populations is harmful to both groups of prisoners. The RHU prisoners without mental illness yell at and
abuse the SSNU prisoners with mental illness, while the RFIU overflow prisoners are exposed to the
unpleasant conditions that pervade the SSNU, especially the noise, odors, and frenzy that result from
prisoners with serious mental illness becoming acutely symptomatic in the absence of mental health
treatment.




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         Witnesses we spoke to, including members of the Facility’s mental health staff, told us
that aversives staff have used in response to behaviors mostly or entirely derivative of mental
illness include: forcing the prisoner to sleep on cement slabs without a mattress; denying the
prisoner access to warm food and instead giving him nothing but “food loaf’ to eat;^^ denying
access to reading materials; denying the prisoner access to the caged, exercise pens; denying the
prisoner access to showers; and restricting or eliminating the prisoner’s already limited ability to
make phone calls or engage in non-contact visits with loved ones or friends.

       Also, by policy and practice, SSNU staff routinely respond to the prisoner engaging in
behaviors associated with serious mental illness (such as shouting, throwing feces, or banging his
head against a wall) by further restricting or even eliminating whatever minimal amounts of
therapeutic unstructured and structured out-of-cell time a prisoner has. This practice punishes
the sickest of prisoners by depriving them of adequate treatment and other out-of-cell
opportunities when they need it most. In the words of our consultant, “[t]he SSNU ... system
actually withholds treatment from the most ill inmates     On its face, this mental health
program is set up backwards: sicker inmates should get the most intensive treatment.”
        Staff hostility toward vulnerable prisoners with serious mental illness aggravates
conditions in the isolation units. The punitive approach to prisoners in the isolation units has
risen to a level where officers and staff are frequently hostile and cruel toward prisoners, even
while knowing that these prisoners are more vulnerable because of their serious mental illnesses
or intellectual disabilities. For instance, three of Cresson’s psychology staff told us that they had
witnessed a senior member of the staff telling SSNU prisoners with intellectual disabilities that
they had to sing, “I’m a little teapof’ if they wanted to improve their living conditions and obtain
more mental health treatment. When we asked one of the alleged victims about being required to
sing in this way, the victim looked embarrassed and sad, and explained, “I just couldn’t
remember the song.” Witnesses also told us that certain officers working in the SSNU withheld
toilet paper from the prisoners, and that officers there tell prisoners to “go ahead and hang it up,”
encouraging them to commit suicide. One prisoner told us that he had seen officers make fun of
another prisoner by demanding he tell them a certain number before giving him his food. “It was
like they were testing his IQ, but in a mean way.” Another prisoner said he is routinely called a
“retard” by officers. Finally, many prisoners we interviewed volunteered that officers would
routinely withhold their food, spit in their food, or throw their food on the fioor simply to taunt
or provoke them. This hostility adds yet another layer of extremeness to the prolonged isolation
prisoners with serious mental illness at Cresson are forced to endure.

         In the isolation units, staffs frequent use of unnecessary force on prisoners with
serious mental illness also aggravates the harmful effects of solitary confinement. Cresson
officials have countenanced the frequent, unnecessary, and excessive use of force on prisoners
with serious mental illness housed in the isolation units. C.f Hope, 536 U.S. at 738-45 (holding
that Alabama prison officials violated the Eighth Amendment and acted with deliberate
indifference to a prisoner’s health or safety when, despite the absence of an emergency, they
knowingly subjected the prisoner to a substantial risk of physical harm and to unnecessary risk of
physical pain by handcuffing his hands above shoulder height to a metal restraining post or
“hitching posf’ for a seven-hour period, depriving him of bathroom breaks, exposing him to the
heat of the sun, and taunting him). Many of the applications of force on prisoners with serious


   Food loaf is a bland mixture of vegetables, meat, and grains baked into a solid loaf




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mental illness at Cresson could be avoided entirely if the prisoners currently housed in isolation
units were instead housed in therapeutic units providing adequate mental health treatment.
           Among the unnecessary uses of force occurring in Cresson’s isolation units are the
excessive use of restraints and other practices involving prison officials acting with deliberate
indifference toward prisoner safety. C.f Caldwell v. Luzerne Cnty. Corr. Facility                         F.
Supp. 2d 458, 471 (M.D. Pa. 2010) (involving placement of prisoners in five-point restraints for
many hours). Full-body restraints that bind the prisoner’s arms and legs to a stationary object,
such as a bed or chair, are of particular concern because, under the best of conditions, they risk
subjecting the prisoner to pain and mental stress, and when misapplied can easily result in
cardiac difficulties, aspiration (breathing in of vomit), and positional asphyxia (death by
respiratory obstruction).
       Because of the dangers associated with using fulFbody restraints, professional standards
have been developed to delineate the scope of their use.^^ These standards require staff to only
use full-body restraints in exigent circumstances, and only for the briefest time necessary to
ensure the safety of the subject prisoner or those around him. As with all uses offeree, staff
have an obligation to explore alternatives to the use of full-body restraints as a means for
controlling a prisoner’s behaviors. Those alternatives include engaging in de-escalation
techniques, giving the prisoner medicine, and/or providing additional mental health treatment.
Under current norms for using full-body restraints, their use should be closely and directly
supervised and monitored by medical/mental health professionals, especially when they are used
on prisoners with serious mental illness and for lengthy periods of time.
       Departing from the well-established standards and alternatives noted above, correctional
officers working in Cresson’s isolation units use full-body restraints on the prisoners with serious
mental illness not only to prevent imminent harm, but also to discipline or punish prisoners by
using the restraints to cause discomfort or pain. We have good reason to believe full-body
restraints are being misused in this way for a number of reasons.
             First, at Cresson, the average length of time that staff subject prisoners with serious
mental illness to restraint chairs or four-point restraints is excessive. Our review of existing
records concerning the use of full-body restraints in 2011 in Cresson’s specialized units reveals
   Am. Psychiatric Ass’n, Use ofRestraint and Seclusion in Correctional Mental Health Care (Dec.
 2006).

   See ABA Standards {citing Joint Comm 'n on Accreditation ofHealthcare Orgs., Preventing Restraint
 Deaths (Nov 18, 1998)), http://www.ioi11tcommission.0rg/assets/l /l8/SEA 8.pdf; Gen. Accounting
 Office, Mental Health: Improper Restraint or Seclusion Use Places People at Risk, GAO/HEH-99-176
 (1999).

    ABA Standards.

    At Cresson, two different restraint procedures may be used: security restraints and psychiatric
 restraints. While a shift commander authorizes security restraints, a psychiatrist must order psychiatric
 restraints. By policy, psychiatric restraints require face-to-face contact by a psychiatrist within 2 hours
 constant monitoring by security staff, assessments by nursing staff every 15 minutes, and authorization by
 a psychiatrist to extend beyond 4 hours. Security restraints entail far less medical supervision and can be
 used for longer periods. Our mental health consultant found that at Cresson security restraints are often
 inappropriately substituted for psychiatric restraints for prisoners with serious mental illness.


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that numerous prisoners with serious mental illness were placed in restraints for an average of
10.5 hours at a time, and on at least two occasions prisoners were held in restraint chairs for
closer to 20 hours. When restrained, the prisoners typically were held in one fixed position in a
windowless cement cell, were sometimes required to urinate while still in restraints, and wore
only light smocks that left most of their bodies bare and exposed to the cold.

         Second, at Cresson, restraints are oftentimes used when a prisoner with serious mental
illness is already under control or not in a position to do further harm to himself or others. In
2011, staff video-recorded the initial application of restraints on a number of prisoners with
serious mental illness, and we have reviewed a sampling of these recordings. Some of the
recordings show that the prisoner involved was calm and compliant during the time period
immediately preceding his placement in the full-body restraint. In other instances, documents
indicate that the prisoner involved was in no condition to cause harm, having already seriously
injured himself or just barely survived an attempted suicide. In such instances, the appropriate
response is to take the prisoner to the clinic where he can receive medical and/or mental health
treatment, not to place the prisoner in a restraint chair.

        Third, we identified instances of officers applying additional force to prisoners with
serious mental illness already in full-body restraints. These prisoners were clearly in no position
to harm themselves or others. The willingness of officers to use additional force on immobilized
prisoners by, for example, tasering them, suggests that the restraints and the other force tools
used on the prisoners were employed to punish and cause pain, not to prevent imminent harm.
        Finally, Cresson departs significantly from established protocols by routinely failing to
have mental health professionals supervise or direct the use of full-body restraints on prisoners
with serious mental illness. Mental health professionals are the only ones who have the ability to
assess the effect of continued use of a full-body restraint on a prisoner with serious mental illness
and whether another intervention, such as medication or additional mental health treatment at the
MHU, would be more appropriate. Nonetheless, at Cresson, at most, mental health professionals
are merely consulted when restraints are first applied on a prisoner with serious mental illness
and are routinely left out of the decision to use restraints altogether. For example, we found that
in 2011, 52 percent of the time that restraints were used, a mental health professional was not
even at the Facility when full-body restraints were used on a prisoner with serious mental illness.

            Below are examples of uses of full-body restraints that were excessive and unnecessary:

     ●      Staff responded with force to numerous instances of self-harm involving prisoner JJ, who
            has depressive disorder and an extensive history of self-harm, between January and
            February 2011. This force included the use of unsupervised restraints in response to an
            attempted suicide by hanging while in the MHU, even after he vomited and gasped for
            air, and restraints lasting more than eight hours in response to cutting while in the POC.
            In response to self-harm on another occasion in an RHU overflow cell in the SSNU,
            officers placed JJ into four-point medical restraints. When JJ requested a mattress for the
            bed before being placed in restraints, officers took this as a sign of non-compliance and
            forcibly placed him onto the bed, deploying a handheld electronic body immobilization
            device (“EBID’*), or tasing device, on JJ’s back. JJ continued to struggle and harm
            himself, and he coughed repeatedly, but this did not prompt medical attention. On the
            video of the restraint, an officer obser\dng JJ bang his head against the metal bed can be




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            heard saying that he is going to “place a fucking helmet on his flicking head.” JJ
            remained in four-point restraints for nearly 15 hours.

     ●      On July 21, 2010, prisoner KK, who has an extensive history of self-injury and was
            diagnosed with a depressive disorder, ran headfirst into his cell door in the POC.
            Officers found KK unresponsive and lying on his back. After a brief medical evaluation,
            officers placed him into a restraint chair and deploying an EBID twice during the
            placement. While restraining him in the restraint chair, officers “exercised” KK - a
            process during which one limb at a time is removed from restraints. When KK’s left leg
            was exercised, he began kicking. Officers responded by twice applying a handheld
            EBID. Later, during another exercise, a handheld EBID was applied again when he had
            only one limb removed. A third time, during exercise, officers applied a handheld EBID
            four times and deployed pepper spray on his face twice while he had only one limb
            removed. It appears KK’s total time in the restraint chair neared 24 straight hours.

     ●      CC (see above) has told staff that being “locked down” causes him to engage in self-
            injurious behavior, but staff have largely dismissed his behaviors as “malingering” and
            often respond to self-harm by using force. On July 4, 2011, he was placed into a restraint
            chair for more than 19 hours after banging his head against the wall in POC and
            threatening self-harm. On five previous occasions between February and March 2011, he
            was placed in the restraint chair for periods lasting between 7 and 15 hours.
            The uses of force described above and others like them are cruel and unnecessary.
Instead of increasing compliance with prison rules, Cresson’s use of excessive force on prisoners
with serious mental illness without any meaningful mental health supervision or intervention has
the effect of further traumatizing the prisoners, intensifying their psychotic episodes, and
exacerbating their mental illness. Subjecting prisoners with mental illness to ever harsher
treatment in response to behaviors derivative of their illness does nothing but accelerate their
mental deterioration and intensify their mental torment and anguish.

        The experience of prisoner LL while he was housed at the SSNU shows how mutually
reinforcing conditions at Cresson combine to subject prisoners with serious mental illness to an
extreme form of isolation. Prisoner LL, who has an IQ of 70 and was diagnosed by PDOC with
schizoaffective disorder, spent two and-a-half years in isolation at Cresson’s SSNU, beginning in
January 2009. In December 2009, LL told psychology staff that officers were taunting him for
days in a row by opening his tray slot but not delivering his evening meal. He alleged that taking
his medications on an empty stomach was causing him to vomit. Soon after, an officer then
allegedly dropped his food on purpose, causing it to spray all over his cell. LL told a staff
member that he did “go off’ and break his tray because he “could not take it anymore, how they
were messing with my meals.” The officers responded by placing him in an SSNU concrete
observation cell, though officers claimed they placed him there because he was threatening to
harm himself.

            He was placed in this cell for roughly a week with no mattress or pillow and only a
suicide smock and blanket. Instead of regular meals, he was given food loaf According to the
psychology records, he was also denied out-of-cell visits by psychology staff One psychology
staff member told us that he had asked officers to permit him to speak with LL outside of the cell
on at least four occasions, but each time his request was denied.




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        Even after LL returned to a regular SSNU isolation cell, security staff denied a
psychology staff request to counsel LL out-of-cell, allegedly because LL had been kicking his
cell door earlier in the day. When a psychology staff member spoke to LL, LL explained that he
had kicked the door only because he desperately wanted toilet paper to avoid having to use his
hand to clean himself after defecating.

       A staff member told us that in February 2010, after LL left a treatment meeting with
mental health and security staff, the chief psychologist allegedly mocked LL, saying to the unit
manager, “Oh, please don’t mess up my 43 IQ.”

        Between March and July 2011, Cresson management formally implemented a behavioral
modification plan severely restricting LL’s access to stimuli and making his housing conditions
harsher. The plan noted that LL’s “acting out behavior” was a “result of significant
psychosocial, emotional and cognitive deficits,” but nonetheless required that he be stripped of
everything but a suicide smock and that he receive food loaf “to safely alter his behavior.” Then
the plan outlined that over time if he acts “with positive adjustment,” he can be given an anti
suicide blanket, regular meal tray, a jump suit, boxers, a mattress, a pillow, socks, shoes, and bed
linen, but only in increments appropriate to alter his behavior.

         During these five months, LL fell into the downward spiral described at the beginning of
this section. Staff reported to us that at no time during that period was he offered group therapy,
one-on-one therapy, or therapeutic materials. By May 2011, he was smearing feces on the wall
of his cell. By July 2011, he was threatening self-harm. On July 2, 2011, he tied a sheet around
his neck after other prisoners told him to do so. On July 5, 2011, he was found banging his head
on his cell walls. Cresson responded by placing him in a restraint chair for 10 and-a-half hours
in the concrete observation cell. After being released from the restraint chair, Cresson kept him
in the concrete cell without a mattress wearing only a smock for six days. A mental health staff
member who was allowed to visit him at that time told us that LL’s condition had deteriorated to
the point of him having virtually no ability to lift himself up or talk. On July 13, 2011, LL
refused to wear his suicide smock, went to his treatment review meeting naked, and later
smeared feces in his cell while naked. Cresson transferred him out of its Facility three weeks
later in August 2011.

            This example shows psychological and physiological damage resulting from Cresson’s
use of extreme isolation in combination with a lack of adequate treatment.

  V. SYSTEMIC DEFICIENCIES GIVE RISE TO CRESSON’S OVERRELIANCE ON
    ISOLATION AS A MEANS OF CONTROLLING ITS PRISONERS WITH SERIOUS
                                           MENTAL ILLNESS


            The unconstitutional use of prolonged and extreme isolation on prisoners with serious
mental illness described above has come about because of systemic deficiencies relating to
Cresson’s mental health care program. Instead of having systems in place to ensure it is
providing adequate mental health care throughout the Facility, Cresson uses isolation to control
and warehouse prisoners with mental illness as they become more ill and less stable.




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         The deficiencies at Cresson include; (A) a system-wide failure of security staff to
consider mental health issues appropriately and a marginalizatio n of the concerns of the mental
health staff; (B) a fragmented and ineffective mental health care program; and (C) ineffective
mechanisms for assessing the quality of the mental health care program and the level of nsk to
prisoners with serious mental illness. These significant and obvious deficiencies have not only
led to the unconstitutional use of isolation on prisoners with serious mental illness, they also pose
a direct and serious risk of harm to the Facility’s prisoners. See Estelle, 429 U.S. at 103-05;
Inmates of Allegheny Cnty. Case, 612 F.2d at 761-63 (Eighth Amendment prohibits deliberate
indifference to prisoners’ serious mental health care needs).
    A. Cresson Creates Excessive Risk of Serious Harm by Marginalizing Mental Health
       Staff and Failing To Appropriately Account for Mental Health Consideration_s

             At Cresson, no meaningful collaboration exists between security staff and mental health
staff. Consequently, too often security staff fail to solicit or adequately consider the opinions of
mental health staff when making decisions impacting the conditions of confinement of pisoners
with serious mental illness. This marginalization occurs in a variety of contexts, including the
process for deciding: (1) whether and for how long to place prisoners with serious mental illness
in isolation at the RHU; and (2) which prisoners have to share RHU cells.
             1. Cresson fails to take mental health care considerations into account
                appropriately in the course of disciplinary hearings held to determine whether to
                 subject prisoners to isolation at the RHU
        Cresson ignores the serious risks associated with failing to consider the role mental
illness may play in causing prisoners to engage in disciplinary infractions. As a result, Cresson
ends up punishing some prisoners with serious mental illness for the uncontrollable outward
manifestations and symptoms of their mental illness by placing them in solitary confinement
instead of providing them with adequate mental health care. For instance, when prisoners with
serious mental illness cut themselves as a result of their illness, Cresson often punishes them for
doing so by placing them in prolonged or otherwise dangerous solitary confinement and
restricting their access to mental health treatment. Cf Arnold on behalf ofH.B. v. Lewis, 803 F.
Supp. 246, 256 (D. Ariz. 1992) (holding that isolating a prisoner “as punishment for the
symptoms of [his] mental illness and as an alternative to providing mental health care” violates
the Eighth Amendment).

       At Cresson, when the prisoner has been identified by the Facility as having serious
mental illness, mental health staff have no formal role in determining the appropriateness of
disciplining the prisoner with RHU time. Consequently, the hearing examiner and others
involved in placement determinations routinely decide the prisoner’s fate with an insufficient
understanding of the extent to which mental illness or disability played a role in the prisoner
committing the infraction at issue, resulting in the prisoner being punished with isolation for
conduct over which the prisoner had little or no control. Specifically, a PDOC policy statement
provides that mental health staff may “recommend that the sanction be reduced” for those on the
 mental health roster, but no guidance is provided regarding when mental health staff should
 weigh in during the disciplinary process or whether placement into isolation may pose a serious
 risk to the mental health of the prisoner. The hearing examiner told us that mental health staff
 never   participate directly in the disciplinary process, though sometimes correctional staff relay to




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 him, on an informal and inconsistent basis, information they have obtained about the mental
health of the prisoner whose conduct is under consideration.

         Even in cases in which the prisoner is found to have willftilly violated a prison rule that
justifies punishment, failing to consider mental health issues as part of the disciplinary placement
process subjects prisoners with serious mental illness to an excessive risk of serious harm. The
failure to obtain input from mental health staff means that the hearing examiner and others
involved in the placement process may routinely commit prisoners to extended periods of
isolation without fully appreciating the serious harm that will be done to the prisoners’ mental
health because of it.

            2.   Cresson fails to account for mental illness when deciding which prisoners have to
                 share RHU cells


            Special concerns are raised when double-celling in isolation prisoners whom the facility
has identified as having serious mental illness and may therefore be vulnerable. Cresson fails to
properly assess whether a prisoner faces a substantial risk of harm as a result of double-celling.
Tillery, 907 F.2d at 427 (holding that one relevant factor in determining the constitutionality of
double-celling is when “violent, delusional and predatory inmates are often placed with inmates
who are unable to protect themselves”) (internal quotations omitted); Clark v. California, 739 F.
Supp. 2d 1168, 1181 (N.D. Cal. 2010) (holding that, under the ADA, the prison must take extra
caution before double-celling where prisoner is especially vulnerable because of a disability).
Unfortunately, Cresson’s current procedures and practices compromise proper screening.
            First, when the Facility considers double-celling a prisoner on the mental health roster
with someone not on the roster, mental health staff are not explicitly asked to assess the
suitability for double-celling of the prisoner not on the roster or the potential for victimization of
the prisoner on the roster. Double-celling decisions are therefore made without fully assessing
whether the behavior associated with the prisoner’s mental illness would be viewed by the
cellmate as odd, irritating, or antagonistic, or whether the prisoner with serious mental illness is
easily manipulated, submissive, or unlikely to report threats or harm.
        Second, when mental health staff weigh in on double-celling decisions at the RHU, their
opinions are not given appropriate weight. The circumstances leading to a March 2011 incident
involving the beating, hogtying, and sodomizing of a prisoner with serious mental illness by his
RHU cellmate speak to how the Facility marginalizes mental health staff when making double-
celling placement decisions at the RHU. In that case, the records show that a member of the
psychology staff repeatedly warned against keeping the victim, prisoner II, double-celled with
prisoner QQ, who ultimately assaulted II. Prior to the assault, the psychologist emphasized the
need to transfer the threatening prisoner to his own cell. In writing, he warned prison authorities
that he believed prisoner QQ “presented as anxious & agitated,” and that “concerns exist that this
[prisoner] might actually act out in a lethal manner.” The assault occurred, in large part, because
the views of the mental health professional were ignored.
        Cresson’s marginalization ol'mental health considerations in the context of decisions to
isolate and double-cell prisoners are but two manifestations of a facility-wide problem. Mental
health staff we spoke to alleged that, at Cresson, the priorities of those working in security
routinely trump important mental health considerations. Too often decisions are made through
the prism of maintaining order in the manner most convenient to security, without adequately
considering the implications of those decisions on prisoner mental health.


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    B. System-Wide Deficiencies in the Mental Health Treatment Program Pose a Serious
       Risk of Harm to Prisoners and Cause Cresson To Resort to Using Prolonged
            Isolation on Prisoners with Serious Mental Illness

            The inadequacies of the mental health treatment program at Cresson subject prisoners to
excessive risk of serious harm and cause staff to resort to prolonged and extreme isolation in the
absence of treatment options. Resorting to what amounts to warehousing prisoners in isolation,
instead of providing them with the mental health treatment they need, results in serious harm,
and the Eighth Amendment prohibits this type of deliberate indifference to prisoners’ serious
mental health care needs. See Inmates ofAllegheny Cnty. Case, 612 F.2d at 761-63. Systemic
deficiencies in Cresson’s mental health care program include: (1) a dearth of mental health
treatment for prisoners throughout the Facility; (2) the absence of a functioning secure residential
treatment unit for prisoners who require such placement; and (3) inadequate coordination among
mental health care providers.

            1. The grossly inadequate mental health care Cresson provides to prisoners in the
               general population leads to psychiatric deterioration and placements in the
               isolation units


            Inadequate mental health treatment at Cresson has significantly compromised the mental
health of many of Cresson’s prisoners and led to a higher incidence of self-injury. In the course
of our review, we came across many cases where the absence of mental health care contributed
to decompensation, self-injury, and/or a behavior leading to a transfer to an isolation unit. For
example, in the case of prisoner RR, the absence of appropriate mental health treatment while he
was housed with the general population probably contributed to his death. RR committed

suicide in March 2012. Our consultant reviewed the suicide and concluded that his case
“illustrates the absence of any mental health care other than psychotropic medications which
were prescribed without clear diagnostic indications or objective measures of any response.
Psychiatric follow-up lacked even a modicum of continuity of care.”
            Care at Cresson is inadequate largely because there are not enough mental health
professionals to service such a large pool of prisoners with mental illness. Our consultant
concluded, and psychology staff confirmed, that the psychology staffing complement is far too
low given that over a quarter of Cresson’s 1,600 prisoners are on the mental health roster. See
Inmates ofAllegheny Ctny. Case, 612 F.2d at 63 (noting that “[t]he key factor in determining
whether a system for psychological or psychiatric care in a jail or prison is constitutionally
adequate is whether inmates with serious mental or emotional illnesses or disturbances are
provided reasonable access to medical personnel qualified to diagnose and treat such illnesses or
disturbances”). In the view of our consultant, because of staffing shortages, the Facility s mental
health professionals simply do not have enough time to provide adequate care. Cf Plata, 131 S.
Ct. at 1933 (noting that “shortfall of resources relative to demand contributes to significant
delays in treatment”). She noted that prisoners in general population, regardless of their need,
receive, at most, monthly visits by psychology staff and very little programming. When we
toured, Cresson’s leadership conceded that they had serious staffing shortages and expressed a
desire for more mental health staff contacts with prisoners.




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        At the SNU, the mental health care programming is no better than the programming
provided to those housed in the rest of general population. While there are some organized
activities for the SNU prisoners, none of them are led by mental health staff or quality as mental
health treatment.


         The institution has also unnecessarily exposed prisoners with mental illness housed in the
SNU to stigmatization and harassment by other prisoners. Specifically, the institution’s failure
to provide medications at the SNU means that SNU prisoners can only obtain their medications
by standing in line for them with prisoners from general population who routinely harass and
tease them. As a consequence, SNU prisoners often avoid getting their medications, which in
turn leads to them decompensating and cycling through various isolation units and the MHU. As
with other services, medications should be brought to the SNU if SNU prisoners cannot safely
visit other parts of the Prison to access them.

            Poor screening and diagnostic procedures also contribute to system-wide inadequacies in
mental health care. Our consultant found that Cresson routinely understated the mental health
care needs of those on its mental health roster. She is of the view that the majority of the 450
prisoners on the roster have serious mental illness but that many have had their conditions
"under-classified” in ways that significantly understate the severity of their mental illness.
Cresson’s practice of under-classifying prisoners’ mental illness leads to management
underestimating the amount of mental health care, programming, and staffing needed at the
Facility.

            2.   In the absence of a functioning secure residential treatment unit, Cresson resorts
                 to using isolation on prisoners with serious mental illness when it cannot safely
                 house them in the Prison’s general population

            Cresson, which has a large population of prisoners with serious mental illness, should
have a secure residential treatment unit for those whose condition prevents them from being
housed with the general population. Instead, Cresson punishes such prisoners with isolation
either in the SSNU or the RHU, and torments them with punitive behavior modification plans.

        Cresson’s obligation under the Eighth Amendment to provide adequate mental health
care exists irrespective of whether prisoners have serious mental illnesses that preclude them
from being housed in a less secure general population environment. See Madrid, 889 F. Supp. at
1259 (noting that mental health care must be adequately provided no matter where prisoners are
housed); see also Young, 960 F.2d at 363-65 (“The touchstone is the health of the inmate.”).
Moreover, as discussed above, Cresson must make reasonable modifications to its policies,
practices, and procedures so that these prisoners can avail themselves of the same services,
programs, and activities available to prisoners without disabilities. See Chisolm, 275 F.3d at
324-25.


         Cresson must commit the necessary resources, including: adequate therapy staff for
therapeutic group and recreational programs; psychiatric nurses, psychology staff, social
workers, psychiatrists, and unit management staff sensitive to the needs of prisoners with mental
illness; correctional officers with specialized training on how to work with prisoners with serious
mental illness and a demonstrated history of compassion, flexibility, and professionalism;
adequate private office space for treatment records; cells that afford adequate observation and




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communication; indoor and
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                          outdoor recreational facilities; and secure group program space
adjacent to prisoner cells.
            Currently, Cresson has nothing that even resembles a functioning secure residential
treatment unit. The SSNU falls far short for many reasons. First, in the absence of clear PDOC
policies concerning how long prisoners at the SSNU can be placed in solitary confinement,
Cresson management has adopted procedures that have led to prolonged periods of isolation for
most of those housed in the unit. Instead of treatment, the overwhelming majority of the
pnsoners at Cresson’s SSNU experience only extreme isolation, punitive behavior modification
plans, and unnecessary uses of force. Second, by PDOC policy, prisoners can only be placed in
the SSNU after they have had repeated placements in isolation at one or more of PDOC’s RHUs.
No meaningful treatment unit would condition treatment on months of solitary confinement.
And third, PDOC has not committed the resources required to make the SSNU a fully
functioning secure residential treatment unit.
            3. Cresson’s mental health providers fail to coordinate their efforts, resulting in
               placement in isolation and mental decompensation
            The lack of coordination among the various providers of mental health care at the Facility
leads to dangerous placements of vulnerable prisoners into isolation, disrupts treatment, and
results in a lack of continuity of care,
                a.   Mental health staff fail to coordinate their efforts

        While Cresson may have justifiable reasons for contracting for psychiatric staff while
using PDOC psychology staff, it has not integrated them well. Instead, care is provided on
parallel tracks, which undermines continuity of care. There are myriad meetings among the
various mental health staff, but they are duplicative and are not transcribed or memorialized.
Also problematic, psychiatrists are regarded as “consultants” rather than treatment team leaders.
Thus, psychiatrists’ authority is essentially limited to prescribing psychotropic medication and
initiating the MFIU commitment process.

        The disconnect between psychiatry and psychology staff has contributed toward
dangerous discharges from the MHU to the SSNU. The psychiatry administrator, who oversees
the MHU, did not know that almost all of those discharged from the MHU to the SSNU are then
placed in solitary confinement. He believed he could stabilize prisoners on the MHU and
discharge them to the SSNU to continue their treatment and out-of cell programming. His
limited understanding of the extent of the mental health care provided to prisoners at the SSNU
has resulted in discharges from the MHU to the SSNU that have caused serious harm to prisoners
with serious mental illness.

            Deficiencies in the way in which mental health staff document their work contributes to
the lack of coordination between mental health providers. Mental health staff document their
interventions and observations in different places, creating a fragmented picture of each
prisoner’s needs and program of care. For example, psychology staff document their interactions
with prisoners in the Inmate Cumulative Adjustment Record (“ICAR”). Sometimes, the identical
information is entered into the prisoner’s medical record, but other times, it is not. Contract


   Charles L. Scott, HANDBOOK OF CORRECTIONAL MENTAL HEALTH 461 (2d ed. 2010).



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psychiatry staff, on the other hand, have access to and document all of their interactions in the
medical record, not the ICAR. Certain units use other files and charts. For example, there is a
separate record for prisoners in the MHU and a separate “green file” for prisoners in the SSNU.
This disjointed approach compromises communication and treatment planning, creates
confusion, and leads to dangerous discharges from the MI-IU.
         The failure of Cresson’s mental health providers to adequately coordinate their efforts as
well as the various other system-wide deficiencies in mental health care discussed above not only
directly lead to serious harm by causing deterioration in the mental health of prisoners, they also
lead to the security staff resorting to extreme isolation as a method for maintaining order in the
Facility. This response to mental illness merely accelerates the downward spiral of psychiatric
decompensation, inevitably leading to serious injury and death.
     C. Deficient Oversight Mechanisms Prevent the Prison From Adequately Addressing
        Systemic Failures in its Mental Health Program and the Harmful Effects of Its Use
        of Isolation on Prisoners with Serious Mental Illness

         Deficient oversight mechanisms have undermined Cresson’s ability to recognize and
address the harmful effects of its use of isolation, as well as systemic problems concerning its
provision of mental health care. Cresson neither collects necessary information, including
critical incidents and information about the use of isolation, nor properly reviews and responds to
the infonnation it does have. The Prison’s response to suicides and suicide risk is especially
problematic. This flawed oversight system inhibits Cresson’s ability to identify and respond to
trends or patterns of harm.

            1. Cresson’s failure to report critical information hinders the Prison’s ability to
               identify underlying systemic problems relating to its use of isolation
            Because Cresson fails to report critical information in tracking documents, the Prison has
an incomplete understanding of the levels of harm occurring there. The severity of the harm and
its concentration in the isolation units should have prompted the Prison to track this information.
            First, threats of suicide and incidents of self-harm are not reported in the primary incident
tracking document (Extraordinary Occurrence Reports or “EORs”) and therefore not tracked to
assess potential trends, such as whether such harm is occurring in particular units. Only when
the incident rises to the level of a “suicide attempt” is it reported in the EOR. For example, we
discovered the self-castration attempt at the RHU by prisoner BB in October 2010 not by
reviewing data but because a prisoner told us about it. Other incidents not reported in the EORs
included a prisoner banging his head against the wall at the SSNU, resulting in a POC admission
and, a prisoner threatening suicide accompanied by a hunger strike resulting in 18 missed meals.
         Second, the failure to report serious incidents in the EORs also hinders the Prison’s
ability to assess the adequacy of mental health care in the non-isolation units. For example,
recent incidents in the SNU involving a prisoner with serious mental illness diving into a
concrete landing, a prisoner with serious mental illness and an intellectual disability taking 29
pills, and a prisoner with serious mental illness and intellectual deficits injuring his neck with a
pen were not tracked.




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            Third, many instances of prisoner-on-prisoner violence are likewise not reported in the
EORs and are therefore not available for the Prison to assess trends and patterns to prevent
further harm, particularly where vulnerable prisoners are involved. In one case, on June 14,
2011, prisoner SS was found bloody and unconscious in his RHU cell with cellmate TT. In
another in the SNU, on July 11, 2011, prisoner UU - who is diagnosed with schizophrenia -
poured boiling water on prisoner VV — who is diagnosed with paranoid schizophrenia and post-
traumatic stress disorder and has an IQ of 48 - causing blistering. We only learned about these
incidents by piecing together non-electronic documentation that is unlikely to be thoroughly
reviewed by Cresson officials.

        Finally, Cresson fails to accurately report lengths of stay in Cresson’s SSNU in its
tracking document, the semi-annual reports. It is often impossible to determine from the reports
whether prisoners are spending consecutive stays in isolation, or if those stays are broken up by
less restrictive periods. Similarly, information is not collected regarding the amount of time
prisoners with serious mental illness are held in the RHU. The lack of such critical information
weakens the Facility’s ability to assess areas for improvement in the mental health treatment
program serving especially vulnerable prisoners in especially harsh conditions. The supervisory
mental health staff told us that they view isolation as an appropriate practice, even when
prisoners show serious signs of decompensation. In other words, the Prison’s mental health
program does not consider periods of isolation or even signs of decompensation to be important
information the Prison should collect and assess.

            2. Cresson’s failure to properly review and respond to critical information
                prevents it from properly identifying or correcting its overreliance on isolation
                and inadequate mental health treatment
            To the extent that Cresson staff review serious incidents, their reviews often ignore or
gloss over key issues regarding the Prison’s isolation practices and mental health treatment
program. Prison officials have an obligation to “cure [their] own lack of attention and
unresponsiveness to inmate complaints and other indicators of serious problems.” Tafoya v.
Salazar, 516 F.3d 912, 917 (10th Cir. 2008) (reversing grant of summary judgment in case where
female prisoner alleged sexual assault by officer, and prison leadership failed to have an active
presence at the jail or to address known deficiencies); see also A.M. v. Luzerne Cniy. Juvenile
Det. Ctr., 372 F.3d 572, 583 (3d Cir. 2004) (concluding that evidence of the lack of policy for
reviewing and following up on incident reports supported plaintiffis deliberate indifference
claim). This flawed review process complicates PDOC and Cresson’s ability to identify trends
and correct problematic processes or policies regarding isolation, risk of harm, and mental health
treatment.


                a.   The harmful effects of Cresson’s use of isolation on prisoners with serious
                     mental illness and other systemic problems concerning Cresson’s mental
                     health program have gone undetected by Cresson, in part, because of
                     deficient reviews of suicides and suicide attempts

            The Prison’s reviews of suicides are inadequate, and suicide attempts are not reviewed at
all. Consequently, the Prison cannot accurately assess underlying systemic deficiencies,
including the excessive use of isolation and inadequate mental health treatment that place
prisoners at risk of such serious harm. Our consultant noted that the suicide prevention program
“is highly problematic in a number of areas that include unsafe POC cells, incorporation of



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placement in RHU as a component of the treatment program, failure to intensify treatment efforts
and intensity following crisis, [and] failure to provide adequate mental health care and critically
review suicides and serious suicide attempts to identify areas for improvement.” As a
preliminary matter, while we commend the Deputy Superintendent for attempting to provide
appropriate oversight, the clinical review should not be led by someone who has no clinical
background.

        We are especially concerned, however, that a general belief exists at the Prison that the
suicides that occur at the Facility are essentially inevitable and could not have been prevented.
This message is then transmitted to staff Without first understanding the contributing factors
that can lead to suicide and the realities of serious mental illness, the Prison cannot take effective
steps toward a solution. Thus, the internal reviews conclude that none of the Prison’s own
missteps could have led to the suicide, even though the evidence is clear that Cresson is doing
many things wrong. The culture regarding suicide prevention must change.

        It does not appear that the Prison has done a comprehensive assessment of suicide irsks.
Instead, its assessment occurs on a suicide-by-suicide basis. We observed suicide hazards in the
RHU and POC. In the RHU, the coat hook, which is supposed to break away under pressure,
was stuck. In the POC, poor visibility and blind spots in the cells and tie-off points on the beds
remain. Also, based on documents we reviewed, officers sometimes responded to attempted
hangings by securing prisoners with handcuffs before cutting the prisoner down. This
demonstrates a need for training.
       Each of the suicide reviews conducted since 2011 suffered from numerous serious
deficiencies:

     ●      May 2011: As our consultant noted with respect to the suicide in May 2011, “The
            institution’s suicide review was critical of correctional observation/monitoring in the
            RHU but didn’t even mention the serious problems with mental health care.” For
            example, “[t]he mental health review neglected to mention [AA’s] numerous previous
            POC admissions; the lack of follow-up after the April Cresson POC admission; tlie
            assessment of the inmate by the psychiatrist only at cell-front; the lack of any other
            mental health contacts except during rounds at cell-front; the observation that the inmate
            was not only delusional but acting on the content of his delusional belief system in his
            interactions with prison correctional staff.” The review did not consider the potential role
            of isolation in AA’s condition.


            Even the review’s treatment of correctional practices was problematic, as it minimized
            the possible link between AA’s death and the delay in officers’ response. There is no
            medical support for the review’s assumption that this delay did not contribute to the
            death. We are concerned that, while staff were disciplined, the response did not match
            the failure, as the failure was not given due weight. Specifically, the Prison identified the
            failure to immediately investigate the prisoner not responding to requests to take down a
            covering he had placed over his cell window and the decision to instead continue rounds,
            as well as the failure to bring a radio outside once staff did investigate, thus requiring the
            officer to return to the unit to call for help and delaying medical response. Security staff




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            also conducted cursory rounds, even though they knew many of the prisoners had serious
                                   19
            mental health needs.

    ●       March 2012: While the review of prisoner RR’s March 2012 suicide, which occurred in
            the general population, was somewhat more thorough with respect to mental health
            treatment, it included significant flaws. We are especially troubled by the attitude of the
            Deputy Superintendent who led the review that the Prison received no '‘red flags” and
            that the suicide could not have been prevented. It is inappropriate to send this message to
            the staff when a prison is short-staffed and when the prisoner did, in fact, communicate
            his own depression to staff

            The conclusions that no “warning signs” existed and that the prisoner “voiced no
            concerns” were simply untrue. So was the finding that RR had been seen regularly by
            clinical staff. The review also minimized the lack of continuity of care and the impact of
            deviation from policy requirements on the frequency of visits by mental health staff even
            while acknowledging that RR was twice “seen out of the 90 day rule” for prisoners on the
            mental health caseload and despite recent changes in his diagnosis, increases in his
            medication, and reports that he was having nightmares about stabbings in prison.

     ●      July 2012: The most recent suicide review - that of prisoner FF - had similar
            deficiencies. The review emphasized that there were no warning signs that FF intended
            to commit suicide, noting “the inmate was a person of average intelligence so he could
            have asked for help if he felt the need.” In fact, FF clearly did ask for help. The review
            notes that FF expressed concern that his medications were not working but makes no
            mention that he specifically requested counseling. Rather than acknowledging FF’s own
            requests, the review credits the accounts of other prisoners describing a happy and
            laughing FF the day he committed suicide. In doing so, the review fails to recognize that
            prisoners often mask their anxieties from other prisoners for fear of revealing their
            weaknesses.


            The review also emphasized an unusual event in FF’s life as the trigger for his suicide
            without acknowledging that prisoners with mental health concerns need added support so
            that they can confront these inevitable challenges. Had FF received timely and better
            continuity of care that facilitated building a meaningful clinical relationship, or had he
            received out-of-cell therapy or been diverted from isolation, he might have had the
            therapeutic resources to deal with his serious personal issue.

            The review overstates the amount and quality of treatment provided to FF and does not
            consider the potential effects of isolation. According to the review, FF “was being seen
            regularly by psychology, psychiatry and his counselor.” The review groups the staff
            together when, in fact, visits by each staffing complement were infrequent. Indeed, the
            review notes that psychiatry visited him only “sporadically.” Moreover, the review
            minimizes the untimeliness of the June psychiatric visit by stating that he was still “seen


   These failures in security and supervision practices, identified by Cresson itself, also demonstrate a
lack of training for security officers regarding proper response to warning signs by prisoners with serious
mental illness, including immediately involving mental health staff and conducting proper rounds,
particularly in units housing prisoners with serious mental illness.




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            within a 90 day period which was within policy and exceeds the standard of community
            care,
                    However, if a psychiatrist orders a 60-day visit to more closely monitor a patient,
            then the standard is that the patient should be seen as clinically indicated. Finally, the
            insufficient quality of most of the visits, including their lack of privacy, was also omitted.
        These suicide reviews are a critical tool for assessing weaknesses in the Prison’s practices
and taking appropriate corrective action to prevent further harm. Cresson’s flawed review
process significantly compromises its ability to take a full accounting of such issues and protect
its most vulnerable prisoners,

                b. Prisoner-on-prisoner abuse is not properly reviewed, leading to failures in
                   accurately assessing procedures placing prisoners in danger, especially in the
                   isolation units


       Prisoner-on-prisoner violence involving prisoners with serious mental illness may also
escape adequate review to address potential systemic deficiencies. As a result, prisoners will
continue to be subjected to a heightened risk of harm in the already-dangerous isolation units.

        In the course of reviewing the incident involving prisoner II, the RHU prisoner who had
serious mental illness and was hogtied and assaulted by his cellmate, Cresson staff identified a
number of problems with the way they determine whether a prisoner’s background precludes
him from sharing a cell. However, the review failed to identify and/or address a number of key
issues:


            The review did not identify problems with the response to the incident, including an
            admission by an officer that he had “actually turned off the camera” while recording the
            response.


            The review does not question how it was possible that staff in the RHU did not hear the
            assault, given the length of time that must have lapsed as II was attacked, punched,
            kicked, stripped, and tied up.

            The staff s handling of the investigation and of coordination with law enforcement was
            not addressed critically, even though there were clear indications that the rape kit was not
            properly administered, and dual investigations created the potential for interference with
            a criminal investigation.

            The review minimized the aggressor’s history of assaultive behavior.

            The review does not describe the psychology staffs reasons for recommending tliat the
            aggressor be placed into a single cell rather than be double-celled with another prisoner.

            The counselor expressed suspicion that the aggressor was not sincere in his threats and
            was instead manipulating staff, yet the review did not assess the legitimacy of the
            counselor’s suspicion in light of the psychology staffs assessment.

            The Prison’s policy requires that those staff who vote “no” on a recommendation against
            double-celling must explain such a vote. Yet key votes against double-celling did not
            provide justification, and this deficiency was not noted in the review.




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             While we understand that the Prison has made some changes to its policies regarding
double-celling, the review process itself is flawed and must be improved to ensure adequate
protection from similar harm to other prisoners,
                c. Use offeree is not properly reviewed, especially in the isolation units and the
                    MHU

             Cresson fails to provide proper oversight of staff s use of force, particularly in the
isolation units and the MHU. As a result, prisoners in the isolation units and the MHU are
subjected to uses of force that traumatize them, destabilize their conditions, and interfere with
their ability to return to a less restrictive housing setting.
             No early warning system exists by which the Prison could assess the relative frequency
with which different staff engage in the use of restraints or other force, and it appears that little
or no assessment is conducted to determine whether the force was appropriate. The frequency
and duration of the use of restraints alone evidence the failure to properly review the practice
from a systemic perspective. Staff failed to document efforts to deescalate situations prior to
resorting to restraints. In some instances, the use of force was not properly recorded. Even the
release from restraints was not always indicated, nor was exercising the prisoner. Security
restraints, rather than psychiatric restraints, are used extensively with far less clinical supervision
and oversight than needed and no understanding of the appropriate limitations on the duration of
their use. Without such protections in place, prisoners who are at risk of having their mental
health compromised by harsh treatment will continue to be subjected to unnecessary or excessive
placement in restraints.
 VI.          CRESSON’S PRACTICES VIOLATE THE AMERICANS WITH DISABILITIES
                                                      ACT


             The Department of Justice is charged with enforcing and implementing Title II of the
Americans with Disabilities Act, 42 U.S.C. §§ 12131-12134. The Justice Department may
conduct investigations and compliance reviews of covered public entities, enter into voluntary
compliance agreements, and enforce compliance through litigation. See 28 C.F.R. §§ 35.172-
35.174. The Justice Department is authorized to issue a Letter of Findings under Title II, which
includes findings of fact, conclusions of law, and remedies for violations found. 28 C.F.R. §
35.172(c)(lH3).

       The Department has determined that Cresson violates Title II in a variety of ways.
42 U.S.C. § 12132. Cresson denies many of its prisoners with disabilities, including those with
serious mental illness or intellectual disabilities, the opportunity to participate in and benefit
from a variety of correctional services and activities, such as classification, security, housing,
and mental health services, or unnecessarily provides prisoners with psychiatric and intellectual
disabilities unequal, ineffective, and different or separate opportunities to participate or benefit
from Cresson’s classification, security, housing, and mental health services. 28 C.F.R.
 § 35.130(b)(l)(i)-(iv). Cresson unlawfully segregates and warehouses prisoners with serious
mental illness and/or intellectual disabilities in isolation units, and fails to individually assess
such prisoners concerning the risk they actually and objectively pose to others. 28 C.F.R.
§ 35.130(d). Cresson also fails to reasonably modify its policies, practices, and procedures,
which is necessary for Cresson to avoid discrimination on the basis of disability. 28 C.F.R.
 § 35.130(b)(7).




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            Cresson Unnecessarily Segregates and Isolates Prisoners with Disabilities and Fails
            To Reasonably Modify its Policies and Practices

            Cresson denies prisoners with serious mental illness and intellectual disabilities the
 opportunity to participate in and benefit from general population housing, security, and
 classification systems, and their benefits, such as out-of-cell time and interaction with other
 prisoners, and routinely and unnecessarily segregates and isolates prisoners with serious mental
 illness and intellectual disabilities. Such unnecessary isolation constitutes unlawful
 discrimination under Title II of the ADA.

        Title II of the ADA provides that “no qualified individual with a disability shall, by
reason of such disability, be excluded from participation in or be denied the benefits of services,
programs, or activities of a public entity, or be subjected to discrimination by any such entity.”
42 U.S.C. § 12132. Title II extends to all of the prison’s services, programs, and activities,
including classification, housing, recreation, and medical and mental health treatment, among
others, for which prisoners are otherwise qualified. See Pa. Dep’t ofCorr., 524 U.S. at 209-10,
213 (finding, without exception, that Title II “unmistakably includes State prisons and prisoners
within its coverage and discussing “recreational activities” and “medical services” as covered
under Title II to find a motivational boot camp to be a covered entity); Alexander v. Choate, 469
U.S. 287, 301 (1985) (under Section 504 of the Rehabilitation Act, recipients of federal financial
assistance must ensure “meaningful access” to prison programs and activities).
            Both serious mental illness and intellectual disabilities, as defined here, qualify as
disabilities under the ADA. 42 U.S.C § 12102 (including “mental” impairments under definition
of “disability” where they substantially limit major life activities).
            The regulation implementing Title II of the ADA requires public entities to “administer
services, programs, and activities in the most integrated setting appropriate to the needs of
qualified individuals with disabilities.” 28 C.F.R. § 35.130(d); 28 C.F.R. § 35.152(b)(2)
(requiring that prisoners with disabilities be housed in the most integrated setting appropriate to
their needs under the program access obligation); see also Olmsteadv. L.C., 527 U.S. 581, 592,
597 (1999) (“Unjustified isolation, we hold, is properly regarded as discrimination on the basis
of disability.”). The Justice Department explained in the 1991 Preamble to the Title II
regulation: “Integration is fundamental to the purposes of the Americans with Disabilities Act.
Provision of segregated accommodations and services relegates persons with disabilities to
second-class status,      28 C.F.R. pt. 35, App. A. Moreover, a covered entity, such as Cresson,
may not provide unequal services to individuals with disabilities, 28 C.F.R. § 35.130(b)(l)(ii),
and may not provide different or separate services to people with disabilities unless the different
or separate services are necessary in order to afford those individuals an equal benefit. 28 C F R
§ 35.130(b)(l)(iv).

         Under the ADA, a prison must “take certain proactive measures to avoid discrimination.”
Chisolm, 275 F.3d at 324-25 (holding that facility may have violated the ADA and discriminated
against a deaf prisoner when it gave the prisoner pencil and paper instead of an American Sign
Language interpreter, and failed to provide the prisoner a device to allow him to plaee telephone
calls in private). The Title II regulation requires the Prison to reasonably modify its policies,
practices, and procedures when necessary, as here, to avoid discrimination against prisoners with
serious mental illness and intellectual disabilities.     28 C.F.R. § 35.130(b)(7).




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           Prisoners with disabilities thus eannot be automatically placed in restrictive housing for
mere convenience.  If prisoners with serious mental illness can be housed in general population
by being provided adequate care, the prison may not house such prisoners in segregated housing
without showing that it is necessary to make an exception. See also 28 C.F.R. § 35.130(b)(3)(i)-
(ii) (prohibiting the prison from utilizing “criteria or methods of administration .. . [t]hat have
the effect of subjecting qualified individuals with disabilities to discrimination on the basis of
disability; . .. [or] have the purpose or effect of defeating or substantially impairing
accomplishments of the entity’s program with respect to individuals with disabilities ). While
those identified by the Facility as having mental illness are roughly 28 percent of the Prison s
population, they represent over 60 percent of those placed in solitary confinement. Moreover,
almost all of those who have been in solitary confinement for more than six months at Cresson
have serious mental illness. The overrepresentation of prisoners with serious mental illness, as
well as the direct indicators discussed above, indicates that individuals with serious mental
illness are intentionally, and discriminatorily, being directed to solitary confinement because of
their disabilities. Moreover, the inadequacy and inappropriatene ss of the services provided in
solitary confinement for individuals with serious mental illness and the failure to adequately
consult with mental health professionals on such placement, indicate that this placement is not
necessary to accommodate individuals with serious mental illness.
             Individuals with intellectual disabilities are also overrepresented in solitary confinement.
As discussed above, in the last two years, Cresson has subjected almost half of the prisoners it
has identified as having intellectual disabilities to three or more continuous months of solitary
confinement. The overrepresentation of prisoners with intellectual disabilities m solitary
confinement for prolonged periods raises serious questions about whether this disparity has a
legitimate explanation, or if it means that the Prison is using isolation to manage these prisoners.
Instead of any meaningful attempt at assessing the needs of these prisoners and providing the
services to meet these prisoners’ needs, the Prison has resorted to placement in highly restrictive
housing. The Prison could protect prisoners with intellectual disabilities in a less restrictive
setting.

             Further compounding the mistreatment of prisoners with intellectual disabilities, the
Prison has diverted many of them to the SSNU, a unit designed for prisoners with serious mental
illness. As a result, prisoners with intellectual disabilities are exposed to the intense and chaotic
environment of the SSNU, where dozens of prisoners languish without mental health treatment
and engage in frightening and disturbing psychotic behaviors. This becomes virtually the only
human contact that prisoners on the SSNU have. Prisoners with intellectual disabilities are
forced to bear these conditions without any other meaningful opportunity for stimulation or
relationships, and without even basic modifications geared toward their disabilities. The
inadequacy and inappropriateness of solitary confinement and the services provided on the
segregated units for individuals with intellectual disabilities clearly indicate that these
placements are not intended or designed to accommodate those individuals or that such
placement is necessary to provide effective services to those individuals.
       The investigative evidence thus reflects methods of administration that have the effect of
subjecting prisoners with serious mental illness or intellectual disabilities to discrimination on
the basis of disability and of defeating or substantially impairing accomplishment of the
objectives of the Prison’s programs with respect to such individuals. See 28 C.F.R.
 § 35.130(b)(3). Cresson must modify its policies and practices so prisoners with serious mental
illness or intellectual disabilities are not automatically or categorically housed in segregation and



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instead receive the services they need. Cresson must ensure that qualified prisoners with serious
mental illness or intellectual disabilities have as equal an opportunity as other prisoners to
participate in and benefit from its housing and classification services, programs, and activities,
and the benefits that flow from them, such as out-of-cell time, interaction with other prisoners,
and movement outside of confined environments.^®

      B. Cresson Fails to Properly Assess Prisoners on an Individual Basis To Determine
         Whether Segregation is Appropriate Housing

        Cresson may impose legitimate safety requirements necessary for the safe operation of its
services, programs, or activities, including classification, housing, and mental health services.
28 C.F.R. § 35.130(h). But Cresson “must ensure that its safety requirements are based on actual
risks, not on mere speculation, stereotypes, or generalizations about individuals with
disabilities.” Id.\ see also 28 C.F.R. § 35.139 (affirmative defense of direct threat); Sch. Bd. of
Nassau Cnty. v. Arline, 480 U.S. 273, 278-88 (1987) (finding direct threat under Section 504,
which was codified at 28 C.F.R. § 35.139 for Title II, requires a showing of a “significant risk to
the health or safety of others that cannot be eliminated or reduced to an acceptable level by the
public entity’s modification of its policies, practices, or procedures”). The burden on public
entities in denying an individual with a disability the opportunity to participate in and benefit
from services, programs, and activities on the basis of direct threat is considered a “heavy
burden,” and the same would be true of legitimate safety criteria. See Lockett v. Catalina
Channel Express, Inc., 496 F.3d 1061, 1066 (9th Cir. 2007); Doe v. Deer Mt. Day Camp, Inc.,
682 F. Supp. 2d 324, 347 (S.D.N.Y. 2010); Celano v. Marriott Int’I, Inc., No. 05-4004 PJH,
2008 U.S. Dist. LEXIS 6172 at *51 (N.D. Cal. Jan. 28, 2008).

        Cresson cannot categorically deny prisoners with serious mental illness or intellectual
disability the opportunity to participate in and benefit from housing, classification, and mental
health services. Instead, Title II requires Cresson to make individualized assessments of
prisoners with serious mental illness or intellectual disabilities, and their conduct, relying on
current medical or best available objective evidence, to assess: (1) the nature, duration, and
severity of the risk; (2) the probability that the potential injury will actually occur; and
(3) whether reasonable modifications of policies, practices, or procedures will mitigate or
eliminate the risk. 56 Fed. Reg. 35,701 (1991); 75 Fed. Reg. 56,180 (2010);                480 U.S. at
287-88. The Department explained in the preamble to the original Title II regulation in 1991 that
“[s]ources for medical knowledge include guidance from public health authorities.” 56 Fed.
Reg. 35,701; see also Bragdon v. Abbott, 524 U.S. 624, 636, 650 (1998) (explaining that, while
not necessarily conclusive in all circumstances, “the views of public health authorities, such as
the U.S. Public Health Service, CDC, and National Institutes of Health, are of special weight and
authority”).

20
     The American Correctional Association Standards similarly provide:
            The institution may be required to take remedial action, when necessary, to afford
            program beneficiaries and participants with disabilities an opportunity to participate in
            and enjoy the benefit of services, programs, or activities. Remedial action may include,
            but is not limited to:... making reasonable modifications to policies, practices, or
            procedures.

ACA, Standards for Adult Correctional Institutions § 4-4429 (4th ed. 2003 and Supp. 2010).



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            Applying the Arline factors, the individualized assessment should, at minimum, include a
determination of whether the individual with a disability continues to pose a risk, whether any
risk is eliminated after mental health treatment (e.g., whether the individual was denied
medications, which resulted in the threat in the first place), and whether the segregation is
medically indicated.

            Fundamentally, the individualized assessment should consider the views of mental health
providers as to the prisoners’ mental health needs and the appropriateness of the placement. See
Scherer v. Pa. Dep’t of Corn, No. 3:2004-191 2007 WL 4111412 at *44 (W.D. Pa. Nov. 17,
2007) (finding that because the prisoner’s misconduct may have been a result of his mental
illness, “the lack of modification of its disciplinary procedures to account for . .. [his] mental
illness .. . possibly resulted in a violation of the ADA”); Purcell v. Pa. Dep t of Corr., No. 50-
18IJ 2006 WL 891449 at * 13 (W.D. Pa. Mar. 31, 2006) (finding that a genuine issue of material
fact existed as to whether a “reasonable accommodation” was denied when the DOC refused to

circulate a memo to the staff concerning a prisoner’s disability (Tourette’s Syndrome) that
explained that some of his behaviors were related to his condition, not intentional violations of
prison rules).^^
            At Cresson, even when the prisoner has been identified by the Facility as having serious
mental illness or intellectual disability, placement decisions may be automatic, and mental health
staff have no role in determining or reviewing the appropriateness of placing the prisoner in the
RFIU. The hearing examiner and others involved in placement determinations routinely decide
the prisoner’s fate with an insufficient understanding of the implications of the prisoner s mental
illness or disability. A PDOC policy statement provides that mental health staff may
“recommend that the sanction be reduced” for those on the mental health roster, but no guidance
is provided regarding when mental health staff should weigh in during the disciplinary or
placement process. The hearing examiner told us that mental health staff never participate
directly in disciplinary hearings. He noted that sometimes correctional staff relay to him
information they have obtained about the mental health of the prisoner whose conduct is under
consideration, but only on an informal and inconsistent basis. The failure to obtain input from
mental health staff before prisoners with serious mental illness or intellectual disability are
placed in solitary confinement for long periods means that the placement of the prisoner may
occur without any consideration of that prisoner’s mental health history or needs.

   See, e.g.. Position Statement on Segregation of Prisoners with Mental Illness, Am. Psychiatric
Association (Dec. 2012),
httD://www.Dsvchiatrv.org/File%20Librarv/Learn/Archives/ps2012 PrisonerSegregatiomBdf (‘'Placement
of inmates with a serious mental illness in these settings can be contraindicated because of the potential
for the psychiatric conditions to clinically deteriorate or not improve. Inmates with a serious mental
illness who are a high suicide risk or demonstrating active psychotic symptoms should not be placed in
segregation housing as previously defined and instead should be transferred to an acute psychiatric setting
for stabilization.”).

   Even before a prisoner enters the disciplinary process, at least one court has held that “[t]he ADA also
requires that prison staff try' to counsel [prisoners with intellectual disabilities], rather than subjecting
them to the disciplinary process, when they break prison rules that they do not understand.     Clark, 739 F.
Supp. 2d at 1179 (also holding that program modifications for prisoners with intellectual disabilities
should enable the prison to effectively communicate with such prisoners as part of the disciplinary
process).




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        We viewed many instances in which Cresson failed to adequately consider mental health
issues in the course of placement decisions, including the following:

     ●      Prisoner MM received disciplinary time totaling 880 days of isolation at the RHU in a
            three-and-a-half-month period in late 2011 and early 2012. Records show that the
            nursing supervisor understood that MM’s behavior was a product of untreated mental
            illness and resulted in disciplinary write-ups, but no one suggested reviewing his
            disciplinary history or advocated reducing his time in the RHU.

     ●      On June 2, 2011, prisoner NN, diagnosed by PDOC with schizoaffective disorder and
            having spent several years at the SSNU, spat on an officer. NN received a misconduct
            for the assault. He pleaded guilty to the offense but stated, “I have health problems. I
            just snapped.” The hearing officer sentenced NN to the full 90 days of disciplinary time
            in segregated housing, but the record does not reflect any input from mental health staff.

     ●      00, who has a 55 IQ and was diagnosed by PDOC with paranoid schizophrenia,
            accumulated more than 1,305 days in disciplinary time. Two-thirds of this disciplinary
            time has been for failure to obey orders or failure to stand for count, misconduct likely
            linked to his mental illness. However, 270 days of that time is for two incidents that
            occurred at Cresson’s MHU - one in which 00 reacted aggressively to a forced
            medication and one in which he spontaneously punched a staff member. Other
            information strongly suggests that OO’s behavior was the result of his acute mental
            illness. OO’s clinical record after the assault indicates that he “had little recall of the
            events.” OO did not participate in his hearing for either incident, though his condition
            would have required an advocate to act on his behalf Clinicians described him at the
            time as severely paranoid, withdrawn, unkempt, and unable to provide basic self-care.
            Records note that it took several weeks of medication after his transfer to Rockview’s
            MHU for 00 even to realize he was incarcerated. The disciplinary record does not
            reflect any input from mental health staff before his extended placement in segregated
            housing.

     ●      Staff charged PP, a prisoner who has a 71 IQ and was diagnosed by PDOC with an
            anxiety disorder and antisocial personality disorder, with two misconducts following an
            April 2011 suicide attempt: one for “Tattooing, or other forms of self-mutilation” and
            another for “[djestroying, altering, tampering with, or damaging property.” The hearing
            examiner reviewed the charges at a disciplinary hearing held three days after the suicide
            attempt. The examiner decided to punish PP with 30 days of disciplinary time in
            segregated housing at the RHU for the attempted suicide. She also charged him $24.12
            for damaging a towel in the course of trying to kill himself No member of the mental
            health staff participated in the hearing.

        To be sure, a public entity may, however, impose neutral rules or criteria that screen out,
or tend to screen out, individuals with disabilities if the criteria are necessary for the safe
operation of the program, provided that safety requirements must be based on actual risks and
not on speculation, stereotypes, or generalizations about individuals with disabilities. Cresson
has provided no evidence to make that showing here. Accordingly, Cresson must modify its
policies and practices of automatically placing prisoners with serious mental illness or
intellectual disabilities in segregation and conduct regular individualized analyses of such
prisoners. Each individualized analysis must evaluate whether the prisoner poses a health or



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safety risk to others, based on objective and medical evidence, including treating mental health
professionals, and whether modifications that do not result in automatic segregation will
eliminate or reduce the risk to an acceptable level.
    C. Even When It Is Necessary To Remove Prisoners From General Population,
       Prisoners With Disabilities Cannot Be Denied or Provided Unequal Mental Heal^
            Services or Other Participation in or Benefit From Services, Programs, or Activities

            Cresson fails to ensure that prisoners placed in segregated housing by reason of a
disability still receive adequate programs and services. We found many prisoners with serious
mental illness were not provided mental health treatment or access to other programs or services
while they were in isolation. For those prisoners with serious mental illness or intellectual
disabilities who cannot be integrated into the general population, the Facility still has an
obligation to provide the prisoners with the opportunity to participate in and benefit from mental
health services and activities, and other services, programs, and activities to which prisoners
without disabilities have access. See 28 C.F.R. § 35.130(b).

             VII.   CONCLUSION AND NOTICE OF EXPANDED INVESTIGATION

        We recognize that this letter comes as PDOC actively downsizes Cresson as part of its
plan to close the Facility by June 30, 2013. Nonetheless, our findings have implications going
forward. First, we want to ensure that, for however long Cresson remains open, steps are taken
to address the unconstitutional and otherwise unlawful conditions we identified there.
        Second, our findings compel us to expand our investigation. In the course of our
investigation into Cresson, we received information indicating that similar conditions may exist
throughout the PDOC system. Specifically, we identified system-wide policies and individual
instances that may reflect inappropriate placements of prisoners with serious mental illness into
prolonged isolation. Therefore, this letter also serves to inform you that, pursuant to our
authority under CRIPA and the ADA, we are expanding our investigation into the conditions of
confinement regarding prisoners with serious mental illness and/or intellectual disabilities
housed in the RHU and other isolation units at the other PDOC prisons. We will also focus on
the denial of adequate mental health treatment and any substantial risk of serious harm resulting
from the inappropriate use of prolonged isolation. We recognize that PDOC faces enormous
challenges at Cresson and throughout its prison system because an increasing percentage of its
prison population has mental illness. Since 1999, statewide the percentage of prisoners on
PDOC’s mental health roster increased by more than 50 percent to more than a fifth of all
prisoners. At Cresson, the percentage increased by more than a third since just 2007, to 28
percent of the prison population.
            PDOC is by no means the only state prison system confronting these sorts of challenges.
For decades, states have increasingly turned to their prison systems to take on a task they are not
naturally equipped to handle - namely, to serve as caregivers for those with serious mental
illness. Investigations conducted by the Civil Rights Division indicate that a burgeoning
population of prisoners with mental illness may be connected to a state’s failure to adequately
care for individuals with mental illness.^^ These individuals need to be cared for in our

   Recent investigations have led to findings or complaints alleging that police departments in Portland
and Seattle engaged in a pattern or practice of using unreasonable force during interactions with
individuals who have or are perceived to have mental illness; that the practices of a city, county, state, and


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communities in ways that are effective and safe, and that prevent them from unnecessarily
becoming enmeshed in the state’s criminal justice system.
        While we recognize that PDOC likely has been left with the unenviable burden of having
to take care of many individuals with mental illness who should not have ended up in the
criminal justice system to begin with, we cannot excuse the unnecessarily restrictive conditions
and lack of adequate mental health care imposed on this population as a result of their
inappropriate placement into prolonged isolation. PDOC must meet the challenges presented by
the prison population it now serves by ensuring that prisoners with serious mental health needs
receive appropriate mental health treatment and making reasonable modifications for those with
mental illness and intellectual disabilities.

        While we have gathered a substantial amount of information about policies and practices
that affect prisons across the PDOC system, we have not reached any conclusions about the
subject matter of the expanded investigation. During the course of our expanded investigation,
we will consider all relevant information, and, where appropriate, will offer recommendations on
ways to improve prison conditions. If we find no systemic constitutional or ADA violations, we
will notify you that we are closing the investigation.

        On the other hand, if we find violations, we will inform you of the findings and attempt
to work with PDOC to remedy any such violations. In addition, we will identify any financial,
technical, or other assistance the United States may be able to provide to assist PDOC in
correcting the identified deficiencies. In our many years of enforcing CRIPA, the good faith
cooperation we receive from state or local jurisdictions frequently enables us to resolve our
claims without resort to contested litigation.

        We encourage PDOC to cooperate with our investigation and can assure you that we will
seek to minimize any potential disruption our investigation may have on its operations. To be
clear, we do not anticipate touring or visiting most of the 26 prisons in the PDOC system, nor do
we anticipate conducting the kind of extensive document review conducted in the Cresson
matter. Instead, we hope to work collaboratively with PDOC to efficiently and expeditiously
collect the information we need.

        We commend Secretary Wetzel and his staff for the cooperation they have already shown
us and their receptivity to our concerns. Now that we are expanding our investigation, we look
forward to continuing to work with PDOC in a collaborative manner.

       Please note that this findings letter is a public document. It will be posted on the Civil
Rights Division’s website. The lawyers assigned to this investigation will be contacting the
PDOC attorney to discuss this matter in further detail. If you have any questions, please feel free




youth court in Mississippi combine to create a “school-to-prison pipeline” that disproportionately affects
youth who have disabilities; and that the states of Delaware, Mississippi, New Hampshire, and Georgia
have unnecessarily institutionalized, and placed at risk of unnecessary institutionalization, individuals
with mental illness. We have settled nearly every one of these cases and continue to pursue others.




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to contact Jonathan Smith, the Chief of the Special Litigation Section, at (202) 514-6255, Special
Litigation Counsel Avner Shapiro, at (202) 305-1840, or the lead attorney on the matter,
Aaron Zisser, at (202) 305-3355.

                                                 Sincerely,



                   r
Thomas E. Perez                                                    Da^d J.yHicklon
Assistant Attorney General                                         United^tates Attorney
United States Department of Justice                                United States Attorney’s Office
Civil Rights Division                                              Western District of Pennsylvania


cc:         John E. Wetzel
            Secretary
            Pennsylvania Department of Corrections
            Kenneth Cameron
            Superintendent
            State Correctional institution at Cresson

            Theron Perez
            Acting Chief Counsel
            Governor’s Office of General Counsel




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              Civil Rights — Eighth Amendment — Third Circuit
              Holds Parents of Mentally III Young Man Held in Soli
              tary Confinement Stated Claims of Cruel and Unusual
              Punishment. — Palakovic v. Wetzel, 854 F.3d 209 (3d Cir. 2017).

                  Today, tens of thousands of Americans with serious mental illness
              live in tiny concrete cells* — alone and largely forgotten.^ They have
              almost no engagement with or even sight of any other human beings,
              sometimes with the exception of muffled mental health interviews across
              sealed steel doors.^ Many have lived like this not for days, but for
              decades on end."* A practice described by the Supreme Court over a
              century ago as a “terror and peculiar mark of infamy,”^ solitary
              confinement, or segregation,^ has made a resurgence in American
              prisons since the igSos, and it has disproportionately affected people
              with serious mental illness.' Though there is virtually universal medical




                  ' See The Liman Program, Yale L.aw Sch. & Ass’n of State Cork. Adm’rs, Time-
             in-Cell: The ASCA-Liman 2014 National Survey of Administrative Segregation
             IN Prison 3 (2015), https://law.yale.edu/system/files/documents/ pdf/asca-liman_administrative_
             segregation_report_sep_2_2015.pdf [https://perma.cc/YM48-LFDZ] (estimating 80,000 to 100,000
             people were in solitary confinement in fall 2014); Keramet Reiter & Thomas Blair, Punishing Men
             tal Illness: Trans-institutionalization and Solitary Confinement in the United States, in Extreme
             Punishment 177, 181 (Keramet Reiter & Alexa Koenig eds., 2015) (noting that up to half of all
             people in solitary confinement have a serious mental illness). A serious mental illness is “a major
             mental disorder . . . usually characterized by psychotic symptoms and/or significant functional im
             pairments.” Jeffrey L. Metzner & Jamie Fellner, Solitary Confinement and Mental Illness in U.S.
             Prisons: A Challenge for Medical Ethics, 38 J. Am. ACAD. PSYCraATRY & L. 104, 104-05 (2010).
                 2 See, e.g., Davis v. Ayala, 135 S. Ct. 2187, 2209 (2015) (Kennedy, J., concurring) (“Prisoners are
             shut away — out of sight, out of mind.”).
                 5 See, e.g., Palakovic v. Wetzel, 854 F.3d 209, 216-17, 228 (3d Cir. 2017); Reassessing Solitary
             Confinement: Hearing Before the Subcomm. on the Constitution, Civil Rights & Human Rights of
             the S. Comm, on the Judiciary, 112th Cong. 75-77 (2012) [hereinafter Senate Hearing] (statement
             of Dr. Craig Haney) (describing typical conditions of solitary confinement).
                   See, e.g., Office of the Inspector Gen., U.S. Dep’t of Justice, Re\tew of the
             Feder.\l Bureau of Prisons’ Use of Restrictive Housing for Inm.\tes with Men
             tal Illness, at ii (2017), https://oig.justice.gov/reports/2017/ e1705.pdf [https://perma.cc/RVD6-
             6AFS].
                 S In re Medley, 134 U.S. 160, 170 (1890) (quoting Murder .^ct 1751, 25 Geo. 2 c. 37, § i (Eng.)).
             For a literary account from almost fifty years before In re Medley, see Ch.\RLES DiCRENS,
             Americ.AN Notes i i i (Patricia Ingham ed.. Penguin Books 2000) (1842): “[Tjhere is a depth of
             terrible endurance in it which none but the sufferers themselves can fathom, and which no man has
             a right to inflict upon his fellow creature. I hold this slow and daily tampering with the mysteries
             of the brain, to be immeasurably worse than any torture of the body . . . .”
                 ^ While terminology varies, the practice generally involves prisoners spending an average of
             twenty-three hours a day alone in “windowless or nearly windowless” small cells. Senate Hearing,
             supra note 3, at 75.
                 ^ Reiter & Blair, supra note i, at 179-81 (referring to the rise in prison populations and deinsti
             tutionalization as contributing factors).


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Exhibit E                                                      1
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            agreement® and growing judicial acknowledgment^ that solitary
            confinement’s disturbing harms are exacerbated for people with serious
            mental illness, the practice of segregating these individuals remains
            constitutional in just about every jurisdiction today,    This may be        10



            changing. Recently, in Palakovic v. Wetzel,  the Third Circuit
                                                                         11
                                                                           held that
            the parents of a seriously mentally ill young man who was repeatedly
            placed in solitary confinement sufficiently stated multiple types of
            Eighth Amendment “cruel and unusual punishment” claims.^- The
            panel articulated forceful, broadly applicable reasoning for why
            segregation was a major, if not sufficient, factor in two of these types of
            claims. Especially given the recent chorus of voices characterizing     ”13
            segregation as inconsistent with “evolving standards of decency,
            Palakovic's reasoning lays a compelling doctrinal foundation for a
            future holding that segregating individuals with serious mental illness is
            per se unconstitutional.
                The story of Palakovic begins with a twenty-two-year-old man with
            serious mental illness being convicted of burglary; it ends about a year
            laterwith that same young man — described by his parents as “funny,
            vibrant, handsome, intelligent and loving” — hanging himself with a
            bedsheet,‘® alone in his “tiny cement cell.”^^ Upon entering state prison,
            Brandon Palakovic was diagnosed with multiple serious mental ill
            nesses, including impulse control disorder, antisocial personality disor
            der, and alcohol dependence,
                                             17
                                                 During Brandon’s^® incarceration,
            guards repeatedly sent him to thirty-day stints in solitary confinement,

                ® See, e.g., Craig Haney, Mental Health Issues in Long-Term Solitary and “Supermax” Confine
            ment, 49 Crime & Delinq. 124,130-32,142 (2003).
                9 See, e.g., Madrid v. Gomez, 889 F. Supp. 1146, 1265-66 (N.D. Cal. 1995) (stating that segre
            gating people with serious mental illness is “the mental equivalent of putting an asthmatic in a place
            with little air to breathe,” id. at 1265).
               >0 See Jessica Knowles, Note, “The Shameful Wail of Exclusion”: How Solitary Confinement for
            Inmates with Mental Illness Violates the Americans with Disabilities Act, 90 WASH. L. REV. 893,
            911-14 (2015). The few exceptions stem from district court cases holding that segregating people
            with serious mental illness, or mental illness more generally, violates the Eighth Amendment. See,
            e.g., Ruiz V. Johnson, 37 F. Supp. zd 855, 915 (S.D. Tex. iggg), rev’d on other grounds and remanded
            sub nom. Ruiz v. United States, 243 F.3d 941 (5th Cir. 2001); Madrid, 889 F. Supp. at 1265-66.
               11
                  854 F.3d 209.
               *2 U.S. Const, amend. VIII; Palakovic, 854 F.3d at 234.
                  Trop V. Dulles, 356 U.S. 86, 99-ior (1958) (plurality opinion) (holding that punishments con
            travening “evolving standards of decency,” id. at loi, violate the Eighth Amendment).
                  Pa/ojfecnJtc, 854 F.3d at 215-17.
                  Statement from the Palakovic Family, ABOLITIONIST L. Ctr.                     6, 2014), http://
            abolitionistlawcenter.org/2014/07/07/statement-from-the-palakovi c-family [https://perma.cc/VYN4-
            TF6E].
                    Palakovic, 854 F.3d at 217.
                    Id. at 216.
               18
                 This piece adopts the panel's practice of referring to the late Brandon Palakovic by his first
            name and to his parents as the “Palakovics”; to wholeheartedly echo the court, this is “[f]or purposes
            of clarity, and intend[s] no disrespect.” Id. at 215 n.2.




Exhibit E                                                       2
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              allegedly in response to behaviors caused by his illness.'^ There, in a
              cement cell of less than 100 square feet with slits as windows, he was
              isolated for twenty-three to twenty-four hours a day, with only five
              hours of weekly exercise in an “outdoor cage.”-o Despite disclosing pre
              vious suicide attempts and being nicknamed “Suicide” by fellow in
              mates, Brandon received no counseling or group therapy.^i Instead, he
              received mental health interviews for one to two minutes at a time
              through the slit in his steel cell door, 22 One summer day, Brandon was
              sent to solitary confinement again for a “minor rules violation, ”23                       Four
             days later, he committed suicide.-'* In response, his parents, Renee and
             Darian Palakovic, sued the prison’s officials in district court.^s
                The Palakovics’ complaint alleged that officials violated the Eighth
             Amendment in two ways: by acting with “deliberate indifference” to the
             prison’s inhumane conditions of confinement and to its inadequate men-
             tal health care.^* The U.S. District Court for the Western District of
             Pennsylvania dismissed both types of claims.^^ It held that, because
             “the ultimate harm alleged” was suicide, the “vulnerability to suicide”
             framework applied.This framework is narrower in scope than those
             typically associated with the two types of claims brought by the
             Palakovics, as it considers only facts surrounding a person’s suicide, not
             the broader conditions the person endured while alive.The court ul
             timately found a failure to state facts sufficient to satisfy this framework
             for both types of claims.^® It further reasoned that the Palakovics were
             unable to claim inadequate mental health care because some care w'as
             provided to Brandon.-^*     The Palakovics then filed an amended com
             plaint that set forth vulnerability-to-suicide claims, as well as a related
             failure-to-train claim; after dismissals,^^ the Palakovics appealed to the
             Third Circuit.^^




                  /d. at 216—17, 225.
                  Id. at 217.
                  Id. at 216.
                  Id. at 216, 228.
               23 Palakovic v. Wetzel, No, 3:14-145, 2015 WL 3937499, at *i (W.D. Pa. June 26, 2015).
               24 Id.
               23 Id.
               2^ Id. at *1, *3.
               27 Id. at *13,
               28 Id. at *4.
               2^ See Palakovic, 854 F-3d at 224-25.
               30 Palakovic, 2015 WL 3937499, at *6-7, *8—9.
               3* /d. at *8-9.
               32 Palakovic v. Wetzel, No. 3:14-145, 2016 WL 707486, at *5-8 (W.D. Pa. Feb. 22, 2016).
               33 Palakovic, 854 F.3d at 219.




Exhibit E                                                  3
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               The Third Circuit vacated and remanded to the district court,
            Writing for a unanimous panel, Chief Judge Smith^® held that it was
            legal error to dismiss the first complaint’s inhumane conditions of con
            finement and inadequate mental health care claims as deficient under
            the vulnerability-to-suicide framework.^* The panel noted that the Pa-
            lakovics were seeking to hold officials accountable for Brandon s expe
            rience over the course of his time living in prison, not for failing to pre
            vent his death.'*' As such, the district court was wrong to require that
            the two types of claims fit the vulnerability-to-suicide framework; the
            Palakovics should not have been precluded from moving forward on
            their claims because Brandon committed suicide.^^ The court then eval
            uated the claims, applying the two-pronged “deliberate indifference” test
            in light of the plausibility standard for surviving a motion to dismiss.^^
               The panel first found that the Palakovics sufficiently stated their
            claim of inhumane conditions of confinement.'*® It concluded that the
            first, objective prong of the deliberate indifference test — the existence
            of a substantial risk of serious harm — was met, referencing the “grow
            ing consensus” regarding segregation’s potential to “cause severe and
            traumatic psychological damage.”'** Turning to the second, subjective
            prong — that prison officials had knowledge of the risk but recklessly
            disregarded it — the panel noted that officials’ diagnoses of Brandon
            indicated knowledge of his illness, and that past issues of other inmates
                                                                                It con-
            self-harm indicated knowledge of the risks of segregation,
                                                                                        42



            eluded that those facts, “in light of the increasingly obvious reality” that
            extended segregation causes serious mental health damage, were more
            than sufficient” to state a claim.
                                                       43


               The court also found that the Palakovics sufficiently stated their
            claims of inadequate mental health care,     The panel recognized that
                                                                  44



            the “substantial risk of serious harm” prong, represented by a “serious
            medical need” for inadequate care claims, was uncontested, In con-
                                                                                         45



            sidering the “reckless disregard” prong, it refuted the district court’s rea
            soning by noting that even if a prison provides some care, that care can
            be so inadequate that it amounts to recklessness.**^ The panel identified

              3“* Id. at 234.
                   Chief Judge Smith was joined by Judges Jordan and Shwartz.
              56 Palakovic, 854 F-sd at 225.
              5' Id. at 224.
              58 Id. at 224-25.
              59 Id. at 219-20.
              ●^0 Id. at 226.
                   Id. at 225.
                   Id. at 226.
              « Id.
              ** Id. at 229.
              ^5 Id. at 227 n.23.
                   Id. at 227-28.




                                                            4
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              issues with Brandon’s “minimal treatment”**^ and system-wide prob
             lems, like the substitution of punishment for treatment.'** It emphasized
             the “final, key component” of the claim “which [took] it from the realm
             of mere negligence to a potential claim of constitutional magnitude”: the
             officials allowed Brandon, in his “fragile” state, “to be repeatedly sub
             jected to the harsh and unforgiving confines of solitary confinement. ”49
             In doing so, they allegedly “affirmatively contributed” to the deteriora
             tion of his condition.^® Separately, the panel concluded that the
             Palakovics sufficiently stated their vulnerability-to-suicide and failure-
             to-train claims, citing evidence of officials ignoring suicide warning
             signs and noting the reasonable possibility that staff training could have
              prevented the death.^*
                  In Palakovic, the Third Circuit laid out a legal blueprint for estab
             lishing that solitary confinement of individuals with serious mental ill
             ness is a per se Eighth Amendment violation. Though the panel did not
             go so far as to state a per se holding, its analysis paved two potential
             avenues to such a holding and lent credence to a third. The panel’s
             reasoning that segregating people with serious mental illness creates a
             severe and “obvious” risk of harm^^ can be used to argue that the prac
             tice always meets the deliberate indifference test for inhumane condi
             tions of confinement claims. And its reasoning that the practice can be
             the “key component”^-^ in finding reckless disregard of serious medical
             needs can be used to argue that the practice always meets the deliberate
             indifference test for inadequate mental health care claims. These two
             arguments are even more potent when combined with a third rationale,
             hinted at by the panel, that segregating those with serious mental illness
             defies “evolving standards of decency.”^'* Overall, the reasoning in
             Palakovic has the force to dismantle the constitutionality of placing
             Americans with serious mental illness in solitary confinement, and to
             weaken the legal foundations of solitary confinement altogether.
                 One pathway to per se constitutional liability advanced by the Third
             Circuit is the concept that segregating people with serious mental illness
             amounts to deliberate indifference to inhumane conditions of confine
             ment. First, the panel — notably “[bjefore . . . turn[ingj to the Pala
             kovics’ particular allegations”^^ — established that there is a severe risk
             of harm inherent in segregation. In describing this risk as independent

                ■*’ Id. at 228.
                      Id. at 228-29.
                      Id. at 229.
                50 Id.
                5' Id. at 229-34,
                ^2 I.d, at 226.
                ^5 Id. at 229.
                54
                   TVop V. Dulles, 356 U.S. 86, loi (1958) (plurality opinion).
                55             854 F-3d at 225.




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            of case-specific facts, it supported the argument for per se satisfaction
            of the deliberate indifference test’s first prong — a substantial risk of
            serious harm — for conditions of confinement claims. Further, courts
            sometimes distinguish long-term segregation in their analyses,but the
            time Brandon spent in segregation — multiple thirty-day periods over
            about a year — is not considered “long-term,
                                                           ”S7
                                                               meaning the panel did
            not cabin its reasoning to this category. Second, the panel provided a
            rationale for per se satisfaction of the recklessness prong, which often
            equips officials with impermeable defenses.^^ Its key assertion was that
            the risk of harm is “increasingly obvious.      This claim — combined
            with the principle, articulated by the Supreme Court in Farmer v.
            Brennan,that knowledge can be inferred by establishing that a risk of
            harm is obvious*^ — supports a way for future plaintiffs to show reck
            lessness without having to prove facts about actual knowledge. To be
            sure, the panel did not fully embrace a per se rule; its recklessness anal-
            ysis briefly noted facts specific to Brandon’s case,      Nevertheless, its
                                                                                     62



            conclusions about the serious, obvious nature of the risk in general ad-
            vances the theory that segregating people with serious mental illness is

            itself sufficient to violate the Constitution.
                 The court also cleared a second, more inventive path to per se liabil
            ity: the theory that segregating people with serious mental illness
            amounts to deliberate indifference to serious medical needs.                                Courts
            have widely held that adequate treatment of serious mental illness is a
            serious medical need, satisfying the deliberate indifference test’s first

            prong,       Palakovic's innovation is its characterization of Brandon’s seg-
            regation, given his fragile state, as the “key component” that elevated
            officials’ care to recklessness under the second prong.^'^ Though courts


               56 See, e.g., Hutto v. Finney, 437 U.S. 678, 688 (1978) (affirming a district court order’s thirty-
            day time limit for segregation).
              57 See ABA STANDARDS FOR CFUMINAL JUSTICE: TREATMENT OF PRISONERS 23-1.0(0)
            (3d ed. 2011) (defining “long-term” as exceeding or expected to exceed thirty days).
               58 See, e.g., Wilson v. Seiter, 501 U.S. 294, 310 (i99h (White, J., concurring in the judgment)
            (predicting that a subjective intent prong “likely will prove impossible to apply in many cases
            because prison conditions are the result of “cumulative actions and inactions”); Holly Boyer, Com
            ment, Home Sweet Hell: An Analysis of the Eighth Amendment’s “Cruel and Unusual Punishment”
            Clause as Applied to Supermax Prisons, 32 Sw. U. L. Rev. 317, 332-33 (2003) (stating that it can be
            “next to impossible,” id. at 333, to satisfy the subjective prong); see also Scarver v. Litscher, 434
            F.3d 972, 975-76 (7th Cir. 2006) (finding no recklessness even though officials possessed an article
            about the harms of segregating those with serious mental illness).
               55 Palakovic, 854 F.3d at 226.
               60
                  511 U.S. 825 (1994).
                6» Id. at 842; see Beers-Capitol v. WheUel, 256 F-3d 120, 135 (jd Cir. 2001). The Palakovic
             panel cited to this concept in a footnote. 854 F.3d at 225 n.17.
               62 See Palakovic, 854 F.3d at 226.
                63 See, e.g., Wellman v. Faulkner, 715 F.2d 269, 272 (7th Cir. 1983); Inmates of Allegheny Cty.
            Jail V. Pierce, 612 F.2d 754, 763 (3d Cir. 1979): Bowring v. Godwin, 551 F.2d44,47 (4th Cir. 1977).
               64 Palakovic, 854 F-3d at 229.




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             have historically been hesitant to second-guess prison care,^^ new routes
             have been created over time for plaintiffs to demonstrate recklessly in
             adequate care, including by showing a lack of individualized care. 66
             Palakovic builds on this trend — and potentially unlocks segregation
             challenges as a route for future plaintiffs with serious mental illness —
             by suggesting that segregation is fundamentally incompatible with the
             treatment needs of a person suffering from serious mental illness. More
             over, a defendant’s only safe harbor — arguing lack of knowledge of a
             person’s serious mental illness — is increasingly impeded by the growing
             judicial view that adequate mental health care requires adequate screen
             ing for mental illness.*' As such, though it noted other issues with
              Brandon’s care,*^ the Third Circuit’s emphasis on segregation as the
              linchpin of a recklessness finding forms a powerful second theory of per
              se liability under the inadequate mental health care claim.
                  A third and more direct avenue to per se liability, to which language
              in Palakovic lends support, is the theory that segregating people with
             serious mental illness is unconstitutionalbecause it contravenes “evolv
             ing standards of decency that mark the progress of a maturing society. ”69
             In determining these standards, the Supreme Court has emphasized
             state legislative action, while also looking to factors like professional
             consensus, history, and international norms.Starting with state policy,
             several states have banned or severely restricted the practice of segre
             gating people with serious mental illness.'^ Palakovic touched on the
             professional consensus and history factors, as it detailed the growing
             consensus — with roots going back a century” — that segregation can


                      See id. at 227-28.
                ** See, e.g., Roe v. Elyea, 631 F.3d 843, 862-63 (7th Cir. 2011) (considering as recklessly inade
             quate care “a failure to exercise medical — as opposed to administrative —judgment,” id. at 863);
             Monmouth Cty. Corn Inst. Inmates v. Lanzaro, 834 F.zd 326, 346-49 (3d Cir. 1987) (considering as
             recklessly inadequate care the intentional refusal to provide individualized care).
                    See, e.g., Woodward v. Corn Med. Servs., 368 F.3d 917, 927 (7th Cir. 2004); Gibson v. County
             of Washoe, 290 F.3d 1175,1189 (9th Cir. 2002).
                    See Palakovic, 854 F.3d at 228-29, In practice, many of these issues, like poor diagnostic
             procedures, generally exist when any person with serious mental illness is segregated, both because
             segregation’s use is frequently an effect of inadequate resources and because its tight security “often
             precludels] meaningful and appropriate therapeutic contact.” Haney, supra note 8, at 143.
                    Trop V. Dulles, 356 U.S. 86, 101 (1958) (plurality opinion).
                    See Atkins v. Virginia, 536 U.S. 304, 312-17, 316 n.2i, 321 (2002) (referencing state statutes
             supported by medical experdse, religious views, and intemadonal norms in striking down capital
             punishment of individuals with mental disability); Thompson v. Oklahoma, 487 U.S. 815, 830-31,
             838 (1988) (plurality opinion) (citing the views of “respected professional organizadons,” id. at 830,
             and other naUons in striking down capital punishment of people younger than sixteen years old at
             the dme of offense); Gregg v, Georgia, 428 U.S. 153, 176-77 (1976) (plurality opinion) (nodng the
             historic acceptance of capital punishment for murder as “strongly supporting]," id. at 176, the prac-
             dce's consdtudonality).
                '' Coleman v. Brown, 28 F. Supp, 3d 1068, 1106 n.jo (E.D. Cal. 2014) (nodng seven states that
             had eliminated or severely restricted the pracdce, or had begun doing so, by 2014).




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            cause severe harm.^^ And looking internationally, there is considerable
            agreement that segregation can be a form of torture,
                                                                                       73
                                                                                            Adding context
            is the recent momentum in chipping away at the legal underpinnings of
            segregation generally, especially as it relates to youth'"* and long-term
            isolation of the general inmate population.'^ Ultimately, language in
            Palakovic — combined with these factors and the fact that the “evolving
            standards of decency” concept has spurred recent expansions of Eighth
            Amendment rights, including for people with mental disability'^ — sup
            ports a final route to per se unconstitutionality: segregation of people
            with serious mental illness, and perhaps segregation in general, violates
            the Eighth Amendment’s central proscription of cruel and unusual pun
            ishment, independent of the deliberate indifference doctrine.
                After filing their claims in 2014, Brandon’s parents wrote about their
            aspirations;
                Brandon is finally at peace and can no longer be drugged, locked up and
               ignored, but we know there are others that are still enduring similar night-
               mares,   We hope and pray that somehow, someway Brandon’s death can
                bring attention to these serious issues within Pennsylvania State Correc
                tional Institutions and save other prisoners and their families from this same
                pain."
            Perhaps the Palakovics’ prayer is being answered. The Third Circuit
            listened carefully to Brandon’s story, and its opinion may catalyze a
            long-elusive change to prison conditions in America. It advances legal
            theories which may compel a holding that solitary confinement of seri
            ously mentally ill individuals is a per se Eighth Amendment violation.
            And the panel’s powerful characterization of segregation’s harmful ef
            fect on all people may even act as a stepping stone to a broader holding
            that solitary confinement is facially unconstitutional. Though the un
            derlying failures to treat mental illness in prisons would persist, these
            holdings would uplift some of our society’s most neglected individuals
            while honoring the Eighth Amendment’s foundational value: human
            dignity.'^ And if it is true that the barometer of a civilization is how it
            treats its most vulnerable members,'^ these changes would be a heart
            ening mark of progress in American society.


                   Palakovic, 854 F.3d at 225 (citing Williams v. Sec’y of Pa. Dep’t of Corn, 848 F.3d 549, 566-
            67 (3d Cir. 2017)).
               “3 See, e.g., Juan E. Mendez (Special Rapporteur of the Human Rights Council), Interim Rep.
            on Torture and Other Cruel, Inhuman or Degrading Treatment or Punishment, ^ 74, U.N. Doc
            A/66/268 (Aug. 5, 2011) (stating tliat segregation can violate the Convention Against Torture and
            the International Covenant on Civil and Political Rights).
               74 See, e.g., V.W. ex rel. Williams v. Conway, 236 F, Supp. 3d 554. 582-85 (N.D.N.Y. 2017).
               75 See, e.g., Ruiz v. Te.xas, 137 S. Ct. 1246, 1247 (2017) (Breyer, J., dissenting); Davis v. Ayala,
            135 S. Cl 2187, 2209-10 (2015) (Kennedy, J-, concurring).
               76 See, e.g., Atkins v. Virginia, 536 U.S. 304, 321 (2002).
               7*
                  Statement from the Palakovic Family, supra note 15.
               78 Trop V. Dulles, 356 U.S. 86, too (1958) (plurality opinion).
               79 Pearl S. Buck, My Several Worlds 337 (1954)-




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    Involuntary Civil Commitment: Fourteenth
    Amendment Due Process Protections

    May 24, 2023




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CRS REPORT
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Committees of Congress ~
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                    Congressional Research Service                                                             SUMMARY
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                                                                                                           R47571

Involuntary Civil Commitment: Fourteenth                                                                   May 24, 2023
Amendment Due Process Protections                                                                          Hannah-Alise Rogers

Involuntary civil commitment refers to the forced hospitalizatio n of persons witli serious mental         Legislative Attorney

illness (SMI). While this process is generally governed by state law, it also implicates
constitutional concerns and constraints under the Fourteenth Amendment Due Process Clause of
tlie U.S. Constitution, specifically witli regard to the liberty interests of the confined patients.

The law concerning involuntary commitment for persons with SMI has evolved over time. Certain federal statutes address
civil commitment, such as laws concerning federal prisoners with SMI and requirements for certam health care facilities that
treat   patients with SMI. In addition, the District of Columbia Hospitalization of the Mentally 111 Act governs mpatient
hospitalization in the District.

The Fourteenth Amendment’s Due Process Clause is interpreted by courts to provide both procedural and substantive due
process protections for persons who are subject to involuntary civil commitment. Courts have recognized and applied due
process rights when such persons face deprivations of liberty and property due to their mental healtli status, particularly m the
context of involuntary hospitalization.

As to procedural due process rights for the civilly committed, tliere are well-established, constitutionally protected rights of
notice of the confinement and a hearing. The Supreme Court has also established a minimum burden of proof for purposes ot
involuntary civil commitment, although some states have higher standards. Whether and to what extent an indigent person
facing civil commitment has a right to counsel, a right to an independent expert to testify on his or her behalf, or a nght to a
jury trial are all unsettled areas of law. Wliile many states protect these rights, the Supreme Court has never ruled that the
Fourteenth Amendment guarantees any of these protections.

With respect to substantive due process protections, there are two types of constitutionally protected substantive due process
rights that have been recognized for persons subject to involuntary hospitalization. The first is the liberty interest of al
persons to be free from confinement; the second is related to the rights of confined persons to safe conditions. Other
substantive due process rights of individuals with SMI include requisite standards of dangerousness before a state rn^
involuntarily commit a person, as well as a committed person’s rights to safe conditions, freedom of movement, and basic
training. Legal issues related to a committed individual’s right to receive or to refuse medical treatment durmg confinement
also appear tliroughout tlie relevant case law.




        Exhibit F

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                                 Involuntary Civil Commitment: Fourteenth Amendment Due Process Protections




    Introduction
    Involuntary civil commitment, or the forced hospitalization of persons with serious mental illness
    (SMI),‘ is a type of mental health treatment that presents tension between an individual’s liberty
    interests and the state’s interests in protecting citizens from danger. According to the Substance
    Abuse and Mental Health Services Administration (SAMHSA),^ a division of the U.S.
    Department of Health and Human Services (HHS), civil commitment is a legal intervention
    wherein a judge or jury may order a person with a mental illness who meets certain criteria to be
    confined to a psychiatric hospital, or to receive supervised outpatient treatment.
    While civil commitment is generally a matter of state law/ federal constitutional concerns and
    constraints can arise, especially with regard to the confined patient s liberty interests. These
    constitutional constraints limit state civil commitment laws in at least three ways. First,
    constitutional constraints affect how states may initially detain an individual suspected of
    experiencing SMI and transport that individual to a treatment facility.^ Second, constitutional
    constraints affect how states may seek to commit such individuals to mental health facilities on a
    longer-term basis.^ Third, tliey affect how states must treat civilly confined individuals and
    protect their rights during confinement.^ Over the last 50 years, the U.S. Supreme Court has
    addressed tliese tliree areas in various civil commitment cases.

    In recent years, involuntary civil commitment has garnered attention from stakeholders, as many
    states grapple with the use of involuntary civil commitment for vulnerable populations, including
    children and unhoused individuals.® With respect to the latter, changes in mental hygiene laws in
    stateswith large populations of unhoused persons, including New York, California, and Havyaii,
    have sparked debates about tlie rights of unhoused individuals with SMI and the most effective
    ways to assist them.^ For example, in November 2022, New York City announced a new policy

    ‘ SAMHSA defines adults with SMI as "persons age 18 and over, who currently or at any time during the past year,
    have had a diagnosable mental, behavioral, or emotional disorder of sufficient duration to meet diagnostic criteria...
    that has resulted in functional impairment which sub.stantially interferes with or limits one or more major life
    activities.” 58 Fed. Reg. 29422 (May 20, 1993).
    2 For more information on SAMHSA, see CRS Report R46426, Substance Abuse and Mental Health Services
    Administration (SAMHSA): Overview of the Agency and Major Programs, by Johnathan H. Duff.
    3 Substance Abuse & Mental Health Admin., Off. of the Chief Medical Officer, Civil Commitment and the
    Mental Health Care Continuum; Historical Trends and Principles for Law and Practice 1 (2019) [hereinafter
    Civil Commitment Report], https://www.samhsa.gov/sites/default/files/civil-commitment-continuum-of-care.pdf.
    As explained in a recent report from the Treatment and Advocacy Center, there are different types of involunta^
    treatment for the mentally ill, including emergency psychiatric evaluation, inpatient civil commitment, and assisted

    outpatient treatment. States have different laws and procedures for each of the three types of treatment. For more
    information, see Treatment Advoc. Ctr., Grading the States: An Analysis of U.S. Psychiatric Treatment
    Laws (2020), https://www.treatmentadvocacycenter.org/storage/doc uments/grading-the-states.pdf. For purposes of this
    report, '‘involuntaiy civil commitment” generally refers to long term, in-patient commitment, unless otherwise stated.
      Civil Commitment Report, supra note 3, at 1.
     ^ See, e.g.. Ex parte Bashinsky, 319 So. 3d 1240 (Ala. 2020).
     ^See, e.g., O’Connor v. Donaldson, 422 U.S. 563 (1975); Vitek v. Jones, 445 U.S. 480(1980).
     ’ See. e.g. Mills v. Rogers, 457 U.S. 291 (1982), Youngberg v. Romeo, 457 U.S. 307 (1982).
     * See. e.g., Donna St. George, In Florida. Showing Mental Health Struggles Could Get a Child Detained, Wash. POST.,
     Mar. 16, 2023, https://www.washingtonpost.com/education/2023/03/ l6/florida-law-child-mental-health/7utm_
     campaign=ext_rweb&utm_medium=refcrral&utm_source=extension.
     ® See Teresa Wiitz, 'Gravely Disabled' Homeless Forced into Mental Health Care in More States, PEW TRUSTS, Sept.
     11, 2019, https://www.pewtrusts.Org/en/research-and-analysis/blo gs/stateline/2019/09/11/gravely-disabled-homeless-
     forced-into-mental-health-care-in-more-states; Brittany Lyte, Homeless Advocates Test HoH-aii'sHew Forced-
     (continued...)



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      under Section 9.39 of its Mental Hygiene Law*® that allows state authorities, including
      firefighters and police officers, to involuntarily commit unlioused individuals who are suspected
      of being a harm to themselves. The policy sparked controversy from stakeholder and advocacy
      groups over concerns that it could deprive unhoused persons of their liberty and further deter
                                                                    11
      individuals with SMI from seeking mental health treatment.
      This report addresses how the Constitution’s Due Process Clause of the Fourteenth Amendment
      protects the interests of persons with SMI who are subject to involuntary civil commitment.
      Where relevant, this report references otlier constitutional provisions implicated by involuntary
      civil commitment, such as the Seventh Amendment right to jury trial.*" First, the report considers
      the history of involuntary commitment for persons with mental illness and discusses how the law
     has evolved around this issue over time. Next, the report highlights select federal laws and
     regulations related to civil commitment. Third, the report covers both procedural and substantive
     due process protections under the Fourteenth Amendment’s Due Process Clause for persons who
                                                  13
     are subject to involuntary civil commitment.
     While the report does not cover every possible procedural due process protection available to
     persons with SMI, it discusses the procedural protections of notice, hearing, burden of proof, right
     to counsel, right to an expert witness, and the right to a jury trial. With respect to substantive due
     process protections, it addresses the requisite standard of dangerousness that a state must prove to
     involuntarily commit a person, as well as the committed patient’s rights to safe conditions,
     freedom of movement, and basic training. The report concludes with a discussion of tlie rights of
     civilly committed patients both to receive and reject medical treatment during their confinement.




     Treatment Law, HONOLULU CiviL Beat, Sept. 4, 2019, https://www.civilbeal.org/2019/09/homcless-advocates-test-
     hawaiis-new-forced-treatment-law/.
     10
       N.Y. Ment. Hyg. Law § 9.39 (2022) (governing emergency involuntary hospitalization admissions of mentally ill
     patients for observation, examination, care, and treatment).
     ' ‘ NYCLV on Mayor Adams' Expansion ofForcible Detentions and Hospitalizations for Mental Illness, NYCLU, Nov.
     29, 2022, https://www.nyclu.org/en/press-releases/nyclu-mayor-ad amss-expansion-forcible-detentions-and-
     hospitalizations-mental-illness; Talal Ansari, New York City Plan to Involuntarily Hospitalize Some Mentally 111
     Homeless Faces Legal Challenge, Wall Street Journal, (Dec. 8, 2022). https://www.wsj.com/articles/new-york-city-
     plan-to-involuntarily-hospitalize-some-mentally-ill-homeless-faces-legal-challenge.
     12
       This report focuses on the constitutional protections stemming from the Fourteenth Amendment for involuntarily
     committed patients with SMI. Involuntary civil commitment and the processes leading up to it (e.g., detention by an
     officer) potentially implicate other constitutional protections. For example, the Second Circuit has suggested that the
     Fourth Amendment’s prohibition on unreasonable searches and seizures was implicated when officers arrested a
     suspected individual with SMI pursuant to the New York Mental Hygiene law. See Kerman v. City of New York, 261
     F.3d229, 237 (2d Cir. 2001).
        This report focuses on Fourteenth Amendment protections for individuals with SMI who face any type of involuntary'
     civil commitment; no distinction is drawn between an initial civil commitment and a long-term civil commitment.
     Moreover, the differences in state laws, which reflect varying ways of committing individuals, concerning these two
     types of civil commitment are generally omitted. Differences in the law include whether the proposed commitment is
     an emergency commitment or long-term commitment, who is authorized to initiate tlie commitment proceedings, how
     the need must be demonstrated, when the proposed patient can request a hearing, and what the standard is for tlie
     commitment itself. As an example, compare Ariz. Rev. Stat. § 36-520A (stating that “any responsible individual may
     apply for a court-ordered evaluation of a person ... alleged to be, as a result of a mental disorder, a danger to self or to
     others”), with CONN. Gen. Stat. § I7a-498, which does not speeify who can file a commitment application.



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    History of U.S. Laws Regarding Involuntary Civil
     Commitment
    English laws concerning mental illness began as early as the 13th century, and in tlie United                       14

    States, fomialized care in mental hospitals appeared in the late 18th and early 19th centuries.
    There are two generally accepted legal bases under which a state may justify involuntary
    confinement of persons with SMI: parens patriae and state police power.’^ Under the parens
    patriae theory, the state is obligated to care for citizens who are unable to care for themselves;
    this tlieory assumes that such persons are unable to make informed decisions about their need for
    treatment, justifying state intervention.’^ The parens patriae power was primarily used to justify
    civil confinement until the mid-1970s, after which police power became more commonly used.'^
    Under the police power theory, the state has a responsibility to maintain public order and safety
    and thus may confine people on the basis that they pose a threat to themselves or others.
    Until reforms began in the mid-1800s, Americans could be involuntarily confined to mental
    hospitals under questionable circumstances, and these hospitalizations were not necessarily for
    tlie benefit of the person suffering from mental illness. For example, in 1860, Ms. Elizabeth
     Parsons Ware Packard was committed to a state mental hospital under an Illinois law that allowed
     married women to be civilly committed at the behest of their husbands, without actual evidence
     of a mental health issue.'^ After her release, Ms. Packard led a refonn movement to create judicial
     procedures that would prevent wrongful involuntary hospitalization, successfully changing state
     laws in Illinois, Iowa, Maine, and Massachusetts.^” Ms. Packard also fought for patient’s irghts,
                                                                                         21
     including the right to untampered mail and better living conditions, During this time, many
     states developed “semi-formal” procedures for the emergency detention and observation of
     patients with SMI, generally at the request of a family member, doctor, or the police.^^
     The late 1960s saw the beginnings of the “Patient Rights Movement,” which brought changes in
     admission procedures and generally aimed to prevent unnecessary, rather than simply unjust,
     involuntary civil commitments.^^ The movement came about as the result of both lawyers and
     mental health clinicians calling attention to problematic aspects of involuntary confinement,
     including overcrowded hospitals, patient neglect and mistreatment, lack of available treatment in
     both inpatient and community-based settings, and unnecessary commitments.^'’

        Civil Commitment Report, supra note 3, at 2. For a brief history of institutional care in the United States, see CRS
     In Focus IF 10870, Psychiatric Institutionalization and Deinstitutionalization, by Johnathan H. Duff.
          Karl Menninger, Wrongful Confinement to a Mental Health or Developmental Disabilities Facility, 44 Am. Jur.
     Proof OF Facts 3d 217, 230 (1997).


     '"'Id.
          Id.

       Id. at 225. For more information about Elizabeth Packard and the specific reforms that she championed, see Mariana
     Brandman,ElizabethPackard, National Women'sHistoryMuseum, https;//www.womenshistoiy'.org/education-
     resources/biographies/elizabeth-packard (last accessed Feb. 27, 2023).
     20
          Menninger, supra note 15, at 225.
          Brandman, supra note 19.
     22
          Menninger, supra note 15, at 225.
          Id. For more comprehensive information on civil commitment reforms, see Paul Appelbaum, Almost A
     Revolution: Mental Health Law and the Limits of Change (1994).
     24
          Menninger, supra note 15, at 225. The lack of community-based (i.e., non-inpatient) facilities offering mental health
     (continued...)



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      In 1975, the U.S. Supreme Court recognized the constitutionally protected liberty interests of the
      involuntarily hospitalized, barring states from committing mentally ill patients who were not a
      danger to themselves or others.^^ Under the changing legal landscape during this time, many
      states shifted from a parens patriae justification for civil confinement to a police power view,
      which more closely aligns witli the idea that dangerous persons with SMI can appropriately be
      involuntarily confined.'^ A few years later, in 1979, the Court established that the threshold
      burden of proof for civil commitment hearings was more than a mere civil preponderance
      standard, holding that tlie state must demonstrate its case for involuntary hospitalization with
      clear and convincing evidence?^ During this time, actions from both Congress'® and the Supreme
      Court led to many states updating and revising their civil commitment laws. 29


      Select Federal Laws Related to Involuntary Civil
      Commitment
     Standards under which individuals can be civilly committed are not widely defined by federal law
     or regulation and have generally been left to states, with each state having different procedures
     and processes.^^ There are some federal statutes that address involuntary commitment, a sampling
     of which are discussed in this section, including laws governing federal prisoners and patients’
     rights, and tlie D.C. Code.^'
     Many of the federal statutes that directly address civil commitment focus on commitment
     proceedings for federal prisoners.®" In the 1980s, Congress began discussing prison reform, and

     treatment was also an issue being discussed in the 1960s. See. e.g.. Lake v. Cameron, 267 F.Supp. 155 (Dist. Ct. D.C.
     1967), wherein tlie D.C. District Court addressed tlie necessity of civil confinement in Saint Elizabeths Hospital for an
     unhoused patient. When assessing whether there were alternatives to inpatient care, the court noted tliat the patient
     required constant supervision for her safety. The court found that the hospital was the only facility that could provide
     the patient with the type of care she required, because there were insufficient public funds to place her in a nursing
     home, and no other community-based facilities were available. Id. at 158.
     25
          O’Connor v. Donaldson, 422 U.S. 563 (1975).
     26
          Menninger, supra note 15, at 230.
     27
          Addington v. Texas, 441 U.S. 418 (1979).
     28
          See discussion of the District of Columbia Hospitalization of the Mentally 111 Act, infra "Select Federal Laws Related
     to Involuntary Civil Commitment."
     29
          Megan Testa & Sara West, Civil Commitment in the United States, 7 Psychiatry 30, 33 (2010).
     JO
          See also supra “History of U.S. Laws Regarding Involuntary Civil Commitment”
     31
        The D.C. Code is included in this section, because Congress, in conjunction with the D.C. Council, controls D.C.
     law. Congress’s control of D.C. stems from the U.S. Constitution, which grants Congress the power to “exercise
     exclusive legislation” over a federal district not to exceed 10 square miles, to "become the Seat of the Government in
     the United States.” U.S. CONST., art. I, § 8, cl. 17. While civil commitment also arises in the context of agency
     regulations governing federal health care programs, the focus of this section is limited to federal statutes. It should be
     noted that other federal laws address the circumstances under which certain costs related to civil commitment may be
     covered by federal health programs. The Social Security Act, which authorizes the Medicare and Medicaid programs,
     excludes inpatient mental health care for patients under age 65 (commonly referred to as the “institutions for mental
     disease” or "IMD” exclusion).^* 42 U.S.C. § 1396d(a)(B). See also CRS In Focus IF 10222, Medicaid’s Institutions for
     Mental Disease (IMD) Exclusion, by Alison Mitchell. States currently have a few options when seeking to use
     Medicaid funds to cover IMD services, including Section 1115 waivers. For more information about Section 1115
     waivers and how they are used in the Medicaid IMD context, see MaryBeth Musumeci et al., State Options for
     Medicaid Coverage of Inpatient Behavioral Health Services, KaiSER Family FOUND., Nov. 9, 2019,
     https://www.kff org/medicaid/report/state-options-for-medicaid-c overage-of-inpatient-behavioral-health-services/.
     32
        In addition to those mentioned here, other federal statutes concern civil commitment of prisoners. See. e.g., 34 U.S.C.
     (continued...)



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   as    part of the FY1985 appropriations bill, Congress passed the Insanity Defense Reform Act ofwas
   1984 to provide the affirmative defense of insanity in federal criminal proceedings. The Act"
   codified in 18 U.S.C. §§ 4241-4247 and outlines requirements related to the treatment of federal
   prisoners with         Other places in the criminal code also prohibit persons who have “been
   adjudicated as mental[Iy]
                       35
                             defective or who [have] been committed to a mental institution” from
    possessing firearms.
    Federal law also addresses standards and other requirements related to the civil commitment in
    regulations governing certain health care and other community-based settings. In 2000, Congress
    passed the Children’s Health Act (CHA), which broadly limits the use of restraints and seclusion
    in hospitals, nursing facilities, and other health care and non-health care settings for individuals
    with SMI.^^ The CHA authorized SAMHSA to create and enforce federal protections for
    individuals subject to civil commitment, including ensuring that civilly committed patients are
    free from harsh conditions, physical and chemical restraints, abuse, seclusion, and other
    punishments.^’ The CHA fiiither authorized SAMHSA to create and enforce similar protections
    for children and youth who are held in community-based, nonmedical facilities.^® Other
    provisions of the CHA required SAMHSA to promulgate regulations to ensure that inpatient
    health care facilities^® as well as community-based settings offering services for children witli
    SMI''® that receive federal funding follow data-reporting requirements and have treating staff who
    are appropriately trained in the use of restraints, both physical and chemical. The CHA states that
    facilities that do not follow these requirements will be ineligible to receive federal funding.




    § 20971 (authorizing the Attorney General to make grants to states to support civil commitment programs for sexually
    dangerou.s persons); 18 U.S.C. § 4248 (outlining procedures for the civil commitment of a sexually devious prisoner).
    Additionally, Title 20 prohibits a Federal Pell Grant from being awarded to anyone subject to an involuntary civil
    commitment upon the completion of incarceration for a sexual offense. 20 U.S.C. § 1070a(b)(6).
      Joint Resolution making Continuing Appropriations for the Fiscal Year 1985, ch. IV, Pub. L. No. 98-473, 98 Stat.
    1837, 2057 (1984) (codified as amended at 18 U.S.C. § 4241). Around the time of the Supreme Court’s decision in
    Vitekv. Jones, which is discussed infra and deals with a prisoner who was subject to an involuntary transfer to a mental
    health facility, Congress began discussing prison reform. See infra '’Right to Counsel.”
      See generally 42 U.S.C. §§ 4243—4246. Notably, § 4243 discusses the involuntary hospitalization of persons found
    not guilty by reason of insanity, and § 4244 and § 4245 discuss the conditions under which prisoners can be subject to
    involuntary civil commitment. Section 4245 gives federal inmates who are subject to involuntary civil confinement the
    right to a hearing on their present mental condition and allows the court to order psychiatric and psychological
    examinations of prisoners. Section 4246 outlines the process to which a prisoner due for release is entitled prior to
    being subject to involuntary hospitalization upon release.
    35 18 U.S.C. § 922(g)(4).
       Children’s Health Act of 2000, Pub. L. No. 106-310; 114 Stat. 1101 (codified at 42 U.S.C. § 290ii). In addition to
    this discussion of the Children’s Health Act of 2000, see also Protection and Advocacy for Individuals with Mental
    Illness Act of 1986, Pub. L. No. 99-319, 100 Stat. 478 (codified at 42 U.S.C. §§ 10801-10851).
    37
         See generally 42 U.S.C. § 290ii (requirements for residents of inpatient facilities).
         See generally id § 290jj (requirements for nonresidential, community-based facilities for children and youth).
     ^Ud §§ 290ii-l,-2(a)-{b).
         Id. §§ 290jj-l, -2(a)-(b). SAMHSA refers to children with SMI as children with "serious emotional disturbance”
    (SED).        58 F.R. 29422 (May 20, 1993).
       Id §§ 290ii-2(c), 290jj-2(c). See also 42 C.F.R, §§ 483.35(M83.376, 66 Fed. Reg. 7161 (2001). HHS creates
     Conditions of Panicipation (often called CoPs) that health care providers must meet to receive funding from federal
     health programs like Medicare and Medicaid. For more information about CoPs, see Conditions for Coverage &
     Conditions ofParticipation, Ctrs. FOR Medicare & MEDICAID Servs., Dec. 1, 2021, https://v.ww.cms.gov/
     Regulaiions-and-Guidance/Legislation/CFCsAndCoPs.


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     Congress also chose to directly regulate involuntary hospitalizations in D.C. through the District
     of Columbia Hospitalization of the Mentally III Act,'*" also known as tlie Ervin Act. In the context
     of involuntary confinement, the law requires proof of a mental illness as well as a showing that
     the proposed patient was at risk of harm to self or others, and it gave confined patients the rights
     to “medical and psychiatric care and treatment.”'*^ After its passage, the Ervin Act served as a
     model for other states to reform their civil commitment laws.**"* A statement by Senator Samuel J.
     Ervin, one of the primary drafters and proponents of the bill, suggested that he intended for the
     bill to resolve “a problem of serious national scope.’^^ He stated: “Our concern has been to assure
     that when an individual is deprived of his liberty because he is mentally ill, he will receive
     appropriate attention and the treatment necessary to restore him to his place in society.”**^ D.C.
     courts subsequently interpreting the bill and its provisions recognized the legislation’s overall
     purpose as fiirtliering civil and constitutionally protected rights to persons subject to involuntary
                       47
     confinement.



     The Fourteenth Amendment's Due Process Clause:

     Protections for People with Serious Mental Illness
     The Fourteenth Amendment’s Due Process Clause'*^ provides certain protections against laws that
    restrict an individual’s life, liberty, or property.While states can legislate as to the circumstances
    under which an individual with SMI may be deprived of life, liberty, or property, Due Process
    concerns often arise in these contexts, as patients’ liberty is at stake when they are forcibly
    hospitalized. The deprivation of rights for patients with SMI can generally occur in a variety of
    ways, including involuntary civil commitment, forced outpatient mental health treatment, and in
                                                     50
    judicial proceedings challenging competency.
     The Fourteenth Amendment has been interpreted to extend to both procedural and substantive due
     process protections to individuals with SMI in a variety of ways, including how states may

     42
        Congress later passed the District of Columbia Home Rule Act of 1973, which created the D.C. Council and gave
     D.C. residents more control over local government affairs. Prior to the passage of the Home Rule Act, Congress
     directly legislated for D.C. and enacted statutes, such as the Hospitalization of the Mentally 111 Act, which governed
     local affairs. For more information about the Home Rule Act and the D.C. govenunenU see D.C. Home Rule. Council
     oftheDist. OF Columbia, https://dccouncil.gov/dc-home-rule/ (last accessed Mar. 20, 2023).
     43
        Hospitalization of the Mentally 111 Act, Pub. L. No. 88-597, 78 Stat. 944 (1964) (codified as amended in scattered
     sections of D.C. Code §§ 21-, 32-).
     44
       John L. Bohman, Procedural Safeguards for the Involuntary Commitment of the Mentally III in the District of
     Columbia, 28 Cath. U. L. Rev. 855, 859 (1979).
     45
          110 Cong. Rec. 21346 (1964).
     *Ud.
     47
          See, e.g.. In re Ballay, 482 F.2d 648, 660 (D.C. Cir. 1973).
     48
       For more information on the Fourteenth Amendment’s Due Process Clause, see Cong. Rsch. Serv., Overview of Due
     Process in Civil Cases. CONSTITUTION ANNOTATED, https://constitution.congress.gov/browse/essay/amdtl4-S 1-5-4-
     1/ALDE_00013750/ (last accessed Mar. 7, 2023).
     49
       Cong. Rsch. Serv., Liberty Deprivations and Due Process, CONSTITUTION ANNOTATED,
     hnps://constitution.congress.gov/browse/essay/amdtl4-Sl-5-l/ALDE_00013747/ (last accessed Mar. 3, 2023).
     50
       A patient who is involuntarily civilly committed is not necessarily deemed to be incompetent and in need of a
     guardian. The reforms of inpatient hospitalization in the 1960s emphasized patient autonomy in consenting to medical
     treatment, and some stales require a judicial declaration of incompetence and the appointment of a guardian prior to
     forced treatment A few states, such as Alabama, require incompetency for civil commitment, meaning persons who are
     able to make informed medical choices do not qualify for civil commitment. For more information, see Qvil
     Commitment Report, supra note 3, at 15.



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    initially detain a person suspected of experiencing SMI; how such a person may be civilly
   committed; and how the state must treat committed patients and patient rights during
    confinement.

    The Due Process Clause provides that no state may “deprive any person of life, liberty, or
    property, without due process of law.”^' The concept of due process prevents states from making
    laws that unfairly deprive citizens of life, liberty, or property, and it allows a person to contest the
    basis upon which the state is seeking to curtail individual rights.As tlie Supreme Court has
    explained: “Procedural due process rules are meant to protect persons not from tlie deprivation,
    but from the mistaken or unjustified deprivation of life, liberty, or property.”
    When questions concerning the specific procedures needed to satisfy due process arise, the
    answer depends on the underlying facts and circumstances of each case. The Supreme Court
    prescribed a three-factor balancing test in Mathews v, Eldridge to evaluate the sufficiency of the
    government’s procedures for purposes of compliance witli due process in the context of civil
    cases   The first factor looks at the private interest affected by the government’s proposed action;
    the second weighs the likelihood that a deprivation of life, liberty, or property will occur if tJie
    government’s procedure is used and the probable value of additional procedural safeguards. The
    third factor evaluates the government’s interest, including any fiscal or administrative burden in
    providing additional procedural safeguards.Courts have applied these factors in a wide range of
    civil cases to balance the interests of the government against those of individuals. The Mathews v.
    Eldridge factors have also been used to evaluate the sufficiency of procedural due process
    protections in the context of individuals with SMI who are challenging an involuntary civil
                    57
    confinement.


    Procedural Due Process Requirements for Civil Commitment
    This section discusses the procedural due process rights of individuals with SMI and how courts
    have applied those rights when such persons face deprivations of liberty and property due to their
    mental health status, mainly in the context of involuntary hospitalization. The discussion first
    covers the well-established constitutional rights of notice of confinement and a hearing,
    highlighting how courts have recognized the right to these procedural protections for persons
    subject to involuntary commitment as well as incompetency proceedings. The state’s requisite
    burden of proof for purposes of involuntary civil commitment is covered next, followed by a
    discussion of when and to what extent an indigent person facing civil commitment has a right to
    counsel and an independent expert to testify on his or her behalf. Finally, the section concludes
    with a discussion of whether the Due Process Clause affords an individual subject to involuntary
    confinement the right to a jury trial.

    Notice and Hearing
    The hallmark protections afforded by the Due Process Clause are (1) an individual’s right to
    notice of any action on the government’s part to restrict his or her right to life, liberty, or property.

       U.S. Const, amend. XIV, § 1.
       Fuentes v. Shevin, 407 U.S. 67, 81 (1972).
       Carey v. Piphus, 435 U.S. 247, 259 (1978).
     5M24 U.S. 319,335 (1976).



       See, e.g., Addington v.Texas,441 U.S. 418 (1979).


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     and (2) the right to a hearing. The Supreme Court has explained that notice is “[a]n elementary
     and fundamental requirement of due process in any proceeding which is to be accorded finality,
                                                                                                                            5?




     and tliat notice must be “reasonably calculated, under all the circumstances, to apprise interested
                                                                                                     «5S
     parties of the pendency of action and afford them an opportunity to present their objections.
     Much of how notice and hearing requirements are generally understood today was elaborated by
     the Supreme Court in the 1960s and 1970s. The Court has recognized that in order to comport
     witli the Due Process Clause’s requirements, notice must be structured in such a way that the
     person to whom it is directed receives it,^^ and it must clearly identify to the recipient what action
                                                                  60
     is being proposed and what he or she may do to prevent it.
     In the context of involuntary confinement and incompetency proceedings, the Supreme Court first
     recognized the importance of notice and hearing requirements, as well as their limitations, in 61
                                                                                                    the
     1901 case Simon v. Craft, where tlie Court found that due process required only actual notice.
     The case concerned a “lunacy petition” for Ms. Simon, a widow.^” Although a sheriff served a
     notice to Ms. Simon alerting her of the petition, her physician detennined that her presence in the
     courtroom would be detrimental to her health, and she did not appear in court.^^ A jury found Ms.
                                                                                                   64
     Simon of unsound mind, and the probate court appointed a guardian, who later sold her home.
     Ms. Simon later challenged this action, arguing that tlie probate court’s proceedings deprived her
     of liberty and property without due process of law.^^ The Court recognized the principle that
      [t]he essential elements of due process of law are notice and opportunity to defend.”^^ The Court
     held, however, that due process was satisfied because Ms. Simon was served with actual notice
     and “if she had chosen to do so, she was at liberty to make such defense as she deemed
                        ??67
     advisable.

     In 1980, the Supreme Court again took up the issue of the Due Process Clause’s requirements of
     notice and hearing for persons facing involuntary civil commitment, applying those protections
     not only to situations involving ordinary citizens but also to prisoners.^* In iVtek v. Jones, the
     Court confronted the question of whether the Fourteenth Amendment’s Due Process Clause
     afforded any protection to a prisoner with SMI before he was involuntarily transferred to a mental
     hospital without his notice or consent.^^ The petitioner challenged the constitutionality of the
     transfer, arguing tlie prison violated his due process rights by declining to afford him notice and a
     hearing prior to his civil commitment.The Court agreed with the prisoner that the state statute

     58
          Mullane v. Cent. Hanover Bank & Tr. Co., 339 U.S. 306, 314 (1950).
     59
          Armstrong v. Manzo, 380 U.S. 545, 550 (1965).
     60
       Goldberg v. Kelly, 397 U.S. 254, 267 (1970), superseded by statute, Personal Responsibility and Work Opportunity
     Reconciliation Act 42 U.S.C. § 601 (1996), as recognized in Hudson v. Bowling, 752 S.E.2d 313 (W. Va. 2013).
     61
        182 U.S. 427 (1901). This case does not discuss involuntary confinement specifically, but rather concerns the due
     process requirements of adequate notice and hearing in the context of “lunacy petitions,” which could sometimes lead
     to involuntary civil commitment As was the case with Ms. Simon, when a court found a person to be of “unsound
     mind,” state law allowed the appointment of a guardian over the subject and his/her personal property.
     62
          Id.
     63
          Id. at 429.
     64
          Id. at 430.
     65
          Id. at 437.
     66
          Id. at 434.
     67
          Id. at 436.
     68
          Vitek v. Jones, 445 U.S. 480 (1980).
       Id. at 480. Under a state statute, prisoners who suffered from mental diseases for which they could not be treated
     while incarcerated could be transferred to a state mental hospital for treatment.
     70
          Id. at 487.




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    created a libeity interest that entitled him to due process protections, and tliat even though the
    prisoner was already confined in prison, he was still “entitled to the benefit of procedures
    appropriate in the
                    «7I
                        circumstances before he is found to have a mental disease and transferred to a
    mental hospital.
    The Vitek Court observed that because a liberty interest existed under the Due Process Clause, the
    state was required to provide the inmate with “effective and timely” written notice of his transfer,
    as well as afford him an opportunity for an adversarial hearing, where the state could present its
    evidence in favor of civil commitment and the prisoner could cross-examine the state’s witnesses
    and call witnesses of his own."'^ The Court reasoned that the notice requirement was “essential to
    afford the prisoner an opportunity to«73challenge the contemplated action and to understanding the
    nature of what is happening to him.
    In tlie years following the Court’s decision in Vitek, Congress also considered the procedural
    rights of involuntarily hospitalized federal inmates as part of a greater conversation about prison
    reform.’** A 1983 Senate Judiciary Committee report about the Comprehensive Crime Control Act
    discusses the need for reform after the Court’s holding in Vitek, clarifying that federal inmates
    were entitled to court hearings before being transferred to mental hospitals.’^ The Committee

    notes that tlie protective procedures outlined in what would eventually become 18 U.S.C. § 4245
    were created “to insure that Federal prisoners continue to receive fair and just treatment.” In
    expressing its approval for such a measure, the Committee noted that involuntary hospitalization
    of federal inmates required more than mere administrative process and that judicial proceedings
    would better77 safeguard a prisoner’s rights in a situation in which the prisoner did not wish to be
    transferred.

    Since Vitek was decided, other federal courts have elaborated on the sufficiency of the notice
    requirement in the context of civil commitment cases for ordinary citizens with SMI who are not
    federal prisoners. For example, in Clark v. Cohen, the Third Circuit held that the resident of a
    mental hospital was deprived of her liberty without due process when she was never given a
    hearing to challenge her commitment and was not released into a community living arrangement,
    as    recommended by her health providers.’* The court observed the petitioner had protested her
    detention for more than 28 years but was never given a hearing, despite her many requests for


    ” Id. at 488, 493. The state attempted to argue that the transfer of a prisoner to a mental hospital was within the scope
    of his prison sentence, but the Court disagreed. The Court stated: "None of our decisions hold[l that conviction for a
    crime entitles a State note only to confine the convicted person but also to determine that he has a mental illness and to
    subject him involuntarily to institutional care in a mental hospital. Such consequences accessed on the prisoner are
    qualitatively different from the punishment characteristically suffered by a person convicted of a crime.” Id. at 493. The
    Court also observed that if the case had involved an “ordinary citizen,” rather than a convicted felon serving a prison
    sentence, "it is undeniable that proteeted liberty interests would be unconstitutionally infringed absent compliance with
    the procedures required by the Due Process Clause.” Id. at 492.
          Id. at 495. The district court also found that due process entitled a prisoner facing an involuntary civil commitment to
    legal representation, but the Supreme Court’s holding did not extend this far. Id. at 496. Further discussion of the right
    to counsel in civil commitment hearings is provided, infra “Right to Counsel.”
       Vitek, 445 U.S. at 496 (citing Wolff v. McDonnell, 418 U.S. 539 (1974)).
    74
       See generally JOHN CoNYERS, Jr., Insanity Defense and Related Criminal Procedure Matters (to accompany
    H.R. 3336). H.R. Rep. No. 98-577; CoMM. ON the Judiciary, Comprehensive Crime Control Act of 1983, S. Rep.
     No. 98-225 (1983).
     ” Comm, on the Judiciary, Comprehensive Crime Control Act of 1983, S. Rep. No. 98-225 at 40 (1983).
     76
          Id.

     '’’’Id.
     78
          Clark V. Cohen, 794 F.2d 79 (3d Cir. 1986).



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                79
     one.            Moreover, the state never reviewed her case, even after the commitment law under which
     she was originally confined was found to be unconstitutionally vague.The court held tliat the
     petitioner was entitled to periodic review of her commitment and that her due process rights had
     been violated because for ‘'more than twenty-eight years she was never afforded a hearing before
     any decisionmaker with authority to resolve her dispute with those who were confining her.

     Burden of Proof

     In addition to the due process protections of notice and hearing, the Supreme Court has found that
     the Fourteenth Amendment also requires the state to show a higher burden of proof prior to the
     long-term civil commitment of a patient witli SMI.^' Generally, the greater the individual liberty
     that is being challenged in court, the higher the burden of proof In most civil litigation, a litigant
     must prove his or her case by preponderant evidence, meaning that he or she must prove a fact is
     more likely than not true. In criminal cases, the state must present evidence proving the
                                                    83
     defendant’s guilt beyond a reasonable doubt.
     In general, state legislatures have the authority to determine the applicable burden of proof in
     civil litigation.*'^ However, the Supreme Court found in Addington v. Texas tliat to meet due
     process demands in a proceeding for involuntary civil commitment, the state must prove its case
     for commitment by clear and convincing evidence.*^ The Court reasoned: “The function of a
     standard of proof, as that concept is embodied in the Due Process Clause and the realm of fact
     finding, is to instruct the factfinder concerning the degree of confidence our society thinks he
     should have in the correctness of factual conclusions for a particular type of adjudication.”*^ In
     other words, a higher burden of proof is warranted for civil commitment proceedings to ensure
     that the confinement is justified.
     At the time Addington was decided, Texas was tlie only state in which a court had found tliat a
     preponderance of the evidence standard was sufficient to meet constitutional due process
     obligations.*^ Twenty other states already used a “clear and convincing evidence” standard, two
     used a “clear, cogent, and convincing evidence” standard, and two required “clear, unequivocal
     and convincing evidence.”** The Court found that “unequivocal” evidence is not constitutionally
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     required prior to a civil commitment, but that a state could require it if it so desired.
     In its reasoning for a heightened standard for involuntary civil commitment, the Court cited its
     prior holding in Mathews v. Eldridge, noting the state’s interest in treating individuals with SMI,
     the individual’s liberty interest, and the need to minimize unnecessary confinement.^^ The Court
     assessed the preponderance standard, finding that because it “creates the risk of increasing the
     number of individuals erroneously committed,” the state’s interests would not necessarily be

     79
          Id.
     80
          Id. (citing Goldy v. Beal. 429 F. Supp. 640 (M.D. Pa. 1976)).
     81
          Id. at 86 (emphasis in original).
     82
          Addington v. Texas, 441 U.S. 418 (1979).
     83
          For a discussion of the various burdens of proof used in civil and criminal litigation, see id. at 423-24.
     84
          See Hawkins v. Bleakly, 243 U.S. 210, 214 (1917).
     85
          Addington, 44\ U.S. at418.
     86
          Id. at 423.
     87
          Id. at 426.
     83
          Id. at 431-32.
     89
          Id. at 432.
     90
          Id. at 425.




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    flirtliered through its use in commitment proceedings.^* Distinguishing involuntary civil
    commitment from prison, the Court disagreed with petitioner’s assertion that evidence beyond a
    reasonable doubt was required for civil commitment.The Court noted that the many layers of
    review of a patient’s condition, as well as the care of friends and family, “provide continuous
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    opportunities for an erroneous commitment to be corrected, Moreover, the Court was
    concerned that, given the evolving understanding of mental illness, the state would be unable to
    ever prove a patient mentally ill beyond a reasonable doubt.^'*

    Right to Counsel
    The Supreme Court has never directly addressed whether the Due Process Clause guarantees a
    noncriminal, civilly committed patient the right to counsel when challenging an involuntary civil
    commitment, but the Court has elaborated in other types of civil cases the circumstances under
    which the Due Process Clause guarantees a right to counsel. While representation by counsel is
    not an absolute irght in all civil proceedings,'*^ the Supreme Court established a presumption that
    the Due Process Clause gives an indigent litigant the right to appointed counsel when his or her
    physical liberty is being threatened.However, in Turner v. Rogers, the Court clarified: [T]he
    Due Process Clause does not alM’oys require the provision of counsel in civil proceedings where
                                        >?97
     incarceration is threatened.

    The Supreme Court came close to recognizing an indigent, civilly committed person’s irght to
    counsel in iVtek v. Jones, which concerned a criminal defendant challenging his transfer from a
     state prison to a mental hospital.^^ Under state law, if a prison facility could not adequately treat a
    mentally ill prisoner, tlie state could transfer the prisoner to a mental hospital.^^ The prisoner
    challenged the state law under the Fourteenth Amendment’s Due Process Clause, arguing his
    transfer was unconstitutional because he was not given notice, a hearing, or the opportunity to be
    represented by counsel, On the subject of the Due Process Clause’s requirement of counsel, the
                              100


    plurality noted it had not previously found an absolute right to counsel for an indigent prisoner
    facing “other deprivations of liberty,” but that illiterate or uneducated prisoners “have a greater
     need for assistance in exercising their rights.”'**' Four Justices observed that under those
     circumstances, “it is appropriate that counsel be provided to indigent prisoners whom the State

     9i
          Id. at 426.
              at 427.
     93
          Id. at 429.
     94
       Id. The Supreme Court did not specify whether the clear-and-conv incing standard, as set forth in Addington, was to
     be applied retroactively. In 1987, almost 10 years   Addington was decided, the D.C. District Court observed tliat
     many patients civilly committed under the lower ‘'preponderance' ’ standard were not given a hearing to determine
     whether their confinement was justified by “clear and convincing evidence.” Streicher v. Prescott, 663 F. Supp. 335
     (D.D.C. 1987). The court held that the patients were constitutionally “entitled to a review of their commitment
     according to constitutional standards.” Id. at 342—43. The court reasoned that that although many of the patients in die
     class action had been confined in St. Elizabeths Hospital in D.C. for more than 20 years, they still had a
     constitutionally recognized liberty interest. Id. at 339. Many other lower courts have reached the same conclusion. See,
     e.g, Clark v. Cohen, 613 F. Supp. 684 (E.D. Pa. 1985), ajfd, 794 F.2d 79 (3d Cir. 1986).
        Goldberg v. Kelly, 397 U.S. 254 (1970), superseded by statute. Personal Responsibility and Work Opportunity
     95


     Reconciliation Act, 42 U.S.C. § 601 (1996), as recognized in}A\i(\%on v. Bowling, 752S.E.2d313 (W. Va. 2013).
        Lassiter v. Dep’t of Soc. Servs., 452 U.S. 18, 25 (1981).
     96



     52 Turner v. Rogers, 564 U.S. 431 (2011) (emphasis added).
     9g
           Vitek V. Jones, 445 U.S. 480 (1980).
     55 Id. at 480.
           Id. at 485.
     101
           Id. at 496 (citing Gagnon v. Scarpelli, 411 U.S. 778 (1973)).


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     seeks to treat as mentally ill,” but Justice Lewis Powell expressly disagreed, arguing that the
                                                                                          102
     prisoner was entitled only to “competent help” at tlie hearing, rather than counsel.
     Thirty years after the Court decided Vitek, the Justices were again confronted with the question of
     the circumstances under which an indigent individual is entitled to counsel in a civil hearing
     where a deprivation of liberty is at stake. In Turner, a parent who failed to pay child support was
     held in willful civil contempt and sentenced to 12 months in prison under state law.**^^ In the
     proceeding which resulted in the defendant’s eventual incarceration, neitlier parent was
     represented by counsel.The defendant appealed the incarceration, arguing that he was entitled
     to representation by counsel under the Due Process Clause because the proceeding resulted in the
     deprivation of his liberty.*®^ Applying the Mathews v. Eldridge balancing test, tlie Court found
     that even though the defendant was subject to incarceration, the Due Process Clause did not
     entitle him to counsel at the child support hearing."’^ In reaching this conclusion, the Court found
     it significant that neitlier party in the proceeding was represented by counsel, reasoning that if all
     defendants held in contempt for failure to pay child support were entitled to counsel, this could
     create “asymmetry of representation” if the opposing parent seeking the support were not also
     represented.The Court also pointed out that “substitute procedural safeguards” could be put in
     place to “reduce the risk of an erroneous deprivation of liberty ... without incurring some of the
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     drawbacks inherent in recognizing an automatic right to counsel.
     Lower federal courts have also considered the circumstances under which civilly committed
     patients are entitled to representation by counsel. For example, the Tentli Circuit held in Heiyford
     V. Parker that the Due Process Clause extends the right to counsel to a person challenging an
     involuntary civil commitment.’®^ The case concerned a petitioner who was civilly committed as a
     child under Wyoming state law.”® After being reconfined as an adult, the patient’s family brought
     a habeas petition, alleging the patient had been denied his rights to counsel and confrontation at
     his initial commitment hearing.’” Persuaded by the Supreme Court’s reasoning in In re Gault,
     which concerned delinquency proceedings resulting in civil commitment, the Eighth Circuit
     found that the Due Process Clause entitled the petitioner to representation by counsel.”" The
     court stated: “It matters not whether the proceedings be labeled ‘civil’ or ‘criminal’ or whether the
     subject matter be instability or juvenile delinquency. It is the likelihood of involuntary
     incarceration . .. [which] commands observance of the constitutional safeguards of due



     102
           Id. at 497 (Powell, J., dissenting).
     103
           Turner v. Rogers, 564 U.S. 431, 437 (2011).
     104
           Id.

     “’5 Id. at 438.
     106
           Id. at 446. But see infra note 108 (noting that the Court reversed on other grounds).
     107
           Id. at 447.
     103
        Id. Although the Supreme Court found the Due Process Clause did not guarantee the right to counsel, it did overturn
     the state supreme court’s ruling on the basis that die state did not satisfy due process requirements because it failed to
     provide the defendant with “alternative procedures,” such as notice signaling the significance of the situation and “fair
     opportunity to present, and to dispute, relevant information, and court findings.” Id. at 448-49. Four Justices dissented,
     arguing that the beginning and end of the case rested on the premise that “the Due Process Clause of the Fourteenth
     Amendment does not provide a right to appointed counsel for indigent defendants facing incarceration in civil contempt
     proceedings.” Id. at 450 (Thomas, J., dissenting).
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           396F.2d393 (lOthCir. 1968).
     no
           Id. at 394.
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           Id. at 395.
     112
           Id. at 395-97 (discussing 387 U.S. 1 (1967)).



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                                                                              , patriae power
                        The court found that when the state exercises its parens          -i ● toi deprive
                 «113
    process.                                                                                        j   u
    someone of their liberty, it is obligated to ensure due process, which “necessarily includes the
    duty to see that a subject of an involuntary commitment proceeding[] is afforded the opportunity
    to the guiding hand of legal counsel at every step of the proceedings, unless effectively waived by
    one authorized to act in his behalf.”'*'*
    Many state courts have also considered whether patients challenging civil commitment are
    entitled to representation by counsel, and many have found that counsel is generally needed to
    ensure due process."^ For example, the Alabama Supreme Court recently set aside a probate
    court’s order appointing a temporary guardian for an allegedly incompetent widow with dementia
    because of a fundamental lack of due process."^ The petitioner s business associates filed an
    emergency petition seeking a guardian and conservator for her estate. During the initial
    hearing, the judge dismissed the petitioner’s attorneys after finding they had a conflict of interest
    in the case and denied petitioner’s motion for a continuance."^ The court appointed a guardian
    without allowing
                   119
                       petitioner an opportunity to question the testifying witnesses or call any of her
    own witnesses.


    Petitioner appealed to the Alabama Supreme Court, arguing that the probate court deprived her of
    procedural due process by dismissing her counsel and proceeding with the hearing without
    allowing her time to find new representation.'"*^ The Alabama Supreme Court agreed, holding that
    procedural due process under the Fourteenth Amendment “contemplates tlie rudimentary
    requirements of fair play,” and that petitioner’s procedural due process rights were violated when
    her counsel was dismissed and she was not granted a continuance to find new counsel. The
    Alabama Supreme Court called the probate court’s denial of a continuance unfathomable,
    noting that the five-month delay between the hearings for the emergency and permanent petitions
    suggested that a true emergency did not exist.'^^
    Other state courts have held that patients witli mental illnesses are not constitutionally entitled to
    counsel. For example, the Minnesota Court of Appeals held that the Due Process Clause does not
    confer a right to counsel for an individual challenging a civil commitment proceeding in Beaulieu
    V. Minnesota Department ofHuman Services. The case concerned a civilly committed prisoner
    claiming ineffective assistance of counsel after his attorney did not timely appeal his commitment
    order.
               124
                     The court of appeals stated: “We naturally are disinclined to recognize a federal

           W. at 396.

     "‘'W.

     “5 See generally Ex pane Bashinsky, 319 So. 3d 1240 (Ala. 2020); Jenkins v. Dir. of the Va. Ctr. for Behav. Rehab.,
     624 S.E.2d 453 (Va. 2006); In re Hop, 171 Cal. Rptr. 721, 623 P.2d 282 (1981); In re Fisher. 313 N.E.2d 851 (Ohio
     1974)- In re Beverly, 342 So. 2d. 481 (Fla. 1977). superseded by statute, Ra. Stat. § 394.467(l)(a)2.b (1999) , as
    recognized in Craig v. State, 804 So. 2d 532, 534 (Fla. Dist. Ct. App. 2002). But see Beaulieu v. Dep't of Hum. Servs.,
     798 N.W.2d 542 (Minn. Ct. App. 2011) (declining to apply Heryford, 396 F.2d 393, to recognize a federal
     constitutional right to counsel under the Fourteenth Amendment Due Process Clause for a person challenging an
     involuntary civil commitment).
     116
           Bashinsky, 319 So. 3d 1240.
     117
           Id. at 1247.

              atl251.



     ‘20 W. at 1254.
     121
           Id. at 1263 (quoting Ex parte Weeks, 611 So. 2d 259, 261 (Ala. 1992).
     122
         Bashinsky, 319 So. 3d at 1261.
     '23 798 N.W.2d 542 (Minn, Cl. App. 2011).
     '2“ Id. at 545.



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     constitutional right that has never been recognized by the United States Supreme Court, has not
     been recognized in 10 of the 11 regional federal circuits, and has not been adopted by the
                                                      iil25
     supreme courts of 48 of the 50 states.

     Right to an Expert Witness at Trial
     Because states require proof of mental illness and evidence that the patient is dangerous to
     himself or others prior to involuntary civil commitment,expert testimony from a mental health
     provider is often introduced at trial. The Supreme Court has found that a state must provide
     indigent criminal defendants with a psychiatrist when the state challenges the defendant’s sanity
     at the time of the offense in question, but the Court has never directly addressed the issue of
                                                                                                        127
     whether an indigent individual subject to civil confinement has the right to a psychiatric expert.
     Other federal courts have considered this issue, finding that due process concerns could arise
     under certain circumstances.

     In Goetz v. Crosson, the Second Circuit addressed the requisite psychiatric expert assistance that a
     state must provide to an indigent patient subject to involuntary confinement.In the case, an
     involuntarily confined patient brought a class action challenging confinement, in part on the basis
     that the state violated the committed patients’ due process rights by failing to guarantee them a
     psychiatrist.'"^ Under New York law, a patient subject to involuntary confinement had the right to
     counsel in all proceedings related to confinement; the court could also appoint two independent
     psychiatrists to assess the patient, but was not required to do so.'^® The petitioner argued that due
     process guaranteed indigent patients a right to both a consulting and independent psychiatrist, and
                                        131
     the court addressed each in turn.

     The court first noted the difference in “consulting” and “independent” psychiatrists, namely that a
     consulting psychiatrist would assist a patient’s counsel in preparation for and during a
     commitment hearing and could testify, while an independent psychiatrist, unassociated with the
     state, would offer testimony to ensure accuracy.'^^ In finding that due process did not require
     appointment of a consulting psychiatrist in every situation, ±e court reasoned that the purpose of
     the psychiatrist would be to provide testimony favorable to noncommitment of the patient and to
     assist the patient’s counsel in preparing the case.'^^ However, the court observed that the
     functions of a consulting psychiatrist “are not of sufficient import to implicate due process in
     every proceeding.”'^'' The Second Circuit further distinguished civil and criminal confinement,
     citing the Supreme Court’s comment in Addington that “a civil commitment proceeding can in no
     sense be equated to a criminal prosecution.”''’^ The court concluded that due process was not

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        Id. at 549. The court of appeals recognized the 10th Circuit’s ruling in Heryfordv. Parker, 396 F.2d 393 (10th Cir.
     1968), as well as the Supreme Court’s plurality opinion in Vitek v. Jones, 445 U.S. 480 (1980). Beaulieu, 798 N.W.2d
     at 549.
     126
        See discussion of O’Connor v. Donaldson, 422 U.S. 563 (1975), /n/ra “Showing of Requisite Conduct—
     “Dangerousness”
           Ake V, Oklahoma, 470 U.S. 68, 83 (1985).
     12S
           Goetz V. Crosson, 967 F.2d 29 (2d Cir. 1992).
     129
           Mat 30-31.
     130
           Id. at 32 (citing N.Y. Jud. Law §§ 35(l)(a), 35(4)).
     131
           Goetz, 967 F.2d at 33.
     132
           M. at 31,36.
     133
           Id.
     134
           Id. at 34.

           Id. at 33 (quoting Addington v. Texas, 441 U.S. 418, 428 (1979)),



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    focused on decreasing the number of civil confinements in general, which could happen were
    every patient guai'anteed an expert psychiatrist, but only erroneous civil confinements. The
    court also observed that there was no basis for the assumption tliat a psychiatrist testifying on
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    behalf of the state would be biased toward confinement.

    On the question of whether the Due Process Clause required the appointment of an independent
    psychiatrist for an indigent patient, the Second Circuit found that if a judge were to find that the
    testimony of an independent psychiatrist was needed, a due process concern could arise were
    such a psychiatrist not appointed. The Second Circuit noted that in cases where Judges request
     independent expert testimony, “the individual’s interests in both freedom and self-protection are
    directly affected, and the failure to provide such testimony may implicate due process
    concerns.
              »I39
                   The court fliither observed that “when the presiding judge determines that such
    testimony is necessary to a reliable assessment of a patient, an indigent individual should have the
     right to obtain the testimony of an independent psychiatrist.”^'*'^
     Many state courts have recognized the right of indigent patients with SMI to obtain a court-
     appointed expert witness when challenging their civil commitment. For example, a New Jersey
     state court found the Fourteenth Amendment guarantees the right to an “independent psychiatric
     examination” for indigent patients.
                                                141
                                                      Pennsylvania has recognized a similar right.*'*" Although
     many states allow indigent patients with SMI the right to a court-appointed expert, they do not
     entitle the patient to “shop around” for the most favorable expert.*"*^

     Right to a Jury Trial
     Although states may create the right to a jury trial for individuals facing civil commitment,
     neither the Sixth,*'*'* Seventh,*'*^ or Fourteenth Amendments have been interpreted to guarantee

           Id. at 34.

           Id.

           Id. at 36.

           Id.

         Id. at 37. The Second Circuit remanded the case to the district court to determine whether New York’s procedures
     may not provide access to independent psychiatrist testimony in some instances when a trial judge requests it. On
     remand, however, the parties agreed there was never a case in which a judge appointed an independent psychiatrist and
     the court was unable to provide one. Goetz v. Crosson, 838 F.Supp. 136, 140(S.D.N.Y. 1993).
         In re Gannon, 301 A.2d 493 (N.J. Cnty. Cl 1973). In Gannon, the court reasoned, ‘The presence of a lawyer at the
     commitment hearing is not a sufficient safeguard for tlie patient’s rights. No matter how brilliant the lawyer may be, he
     is no position to effectively contest the commitment proceedings because he has no way to rebut the testimony of the
     psychiatrist from tlie institution who has already certified to the patient’s insanity.” Id. at 494.
         Accord Dixon v. Ati’y Gen. of Pa., 325 F. Supp. 966 (M.D. Pa. 1971).
        See, e.g., Naples v. United States, 307 F.2d 618 (D.C. Cir. 1962). In ruling on a motion for the government to pay
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     the cost of a psychiatrist appointed by an indigent, mentally ill criminal defendant, the court stated it would not permit
     any defendant, at Government expense, to employ a psychiatrist of his own choosing, which means that a defendant
     can shop around for a favorable expert witness, and then have the Government pay for it. I don’t consider that good

     administration of justice.” Id. at 623. Accord PtocIot v. Harris, 413 F.2d 383 (D.C. Cir. 1969).
         The Sixth Amendment guarantees a federal criminal defendant the right to a jury trial, and both state and federal
     144


     courts have made clear that it applies only to criminal prosecutions, declining to extend it to civil commitment cases.
     U.S. Const, amend. VI. See, e.g.. White v. White, 196 S.W. 508 (Tex. 1917); United States v. Salihar, 917 F.2d 1197,
     1205-07 (9th Cir. 1990); accord/Hemandez-Carrera v. Carlson, 547 F.3d 1237 (10th Cir. 2008).
     145
         The Seventh Amendment guarantees the right to a jury trial in federal civil cases "at common law” seeking
     monetary' damages in excess of $20. U.S. Const, amend. VII. For more information about the Seventh Amendment
     right to ajuiy trial, see CRS Legal Sidebar LSB10883, The Right to a Jury’ Trial in Civil Cases Part I: Introduction
     and Historical Background, by Wen W. Shen. The Supreme Court has never ruled on whether the Seventh Amendment
     (continued...)



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     such a right. The Supreme Court has never explicitly held that the Fourteenth Amendment’s Due
     Process Clause extends the right to a jury trial to a person facing an involuntary civil
     commitment. The Court has historically interpreted the Fourteenth Amendment to provide states
     with significant discretion to decide whether to provide for juiy trials in civil cases.For
     example, in Simon v. Craft, the Court held that the Due Process Clause does not require a state
     court to provide a specific type of proceeding to an individual challenging a competency
     proceeding, as long as the state gives the affected person notice and the right to defend.''*^ In
    McKeiver v. Pennsylvania, the Court declined to extend the Fourteenth Amendment’s Due
                                                                        148
    Process Clause protections to jury trials for delinquent juveniles.
     If an individual challenged involuntary civil commitment on the basis that the patient was not
     provided a jury trial, the reasoning of McKiever could be applied to decline the recognition of
     such a right. Indeed, the Supreme Court has observed that the question of whetlier a person is
     mentally ill and poses a threat of hann to themselves or others can be a complex question of fact
                                                      149
     and generally rests on the testimony of experts.



    guarantees the right to a jury trial for involuntary commitment proceedings, but federal circuit courts considering the
    question have not recognized such a right. See, e.g., Poole v. Goodno, 335 F.3d 705, 710-11 (8th Cir. 2003), accord
    United States v. Carta, 592 F.3d 34 (1st Cir. 2010); Aruanno v. Hayman, 384 Fed. App’x 144 (3d Cir. 2010).
    The Supreme Court has held that the Seventh Amendment preserves the right to a jury trial when the right existed
    under English common law at the time of the Amendment’s adoption. Balt. & Carolina Line, Inc. v. Redman, 295 U.S.
    654, 657 (1935). However, many courts have held that the Seventh Amendment does not apply in incompetency
    proceedings because there is no "value” in controversy at issue. Ward v. Booth, 197 F.2d 963 (9th Cir. 1952). For
    example, the Nintli Circuit reasoned in an incompetency proceeding: “The matter in controversy is the question of tlie
    competence [or] incompetence of the person named, and while the result of such a determination may affect extensive
    property holdings, it cannot be said that the issue to be tried is one where there is any value in controversy.” Id. at 967
    (internal quotations omitted). The Ninth Circuit’s reasoning can also be applied to civil commitment cases, such that
    there is no "value in controversy” at issue, and therefore no right to a jury trial under the Seventh Amendment.
     H6
       See, e.g., N.Y. Central R.R. Co. v. White, 243 U.S. 188, 207-08 (1916); McKeiver v. Pennsylvania, 403 U.S. 528,
    547 (1971), superseded by statute. Revised Kansas Juvenile Justice Code, Kan. St at. Ann. §§ 38-2301-38-23100
    (2006), as recognized in In re L.M., 186 P.3d 164 (Kan. 2008). For a general discussion of the states’ powers to
    regulate procedures in the Fourteenth Amendment context, see Cong. Rsch. Serv., Power of States to Regulate
    Procedures, CONSTITUTION ANNOTATED, https://constitution.congres s.gOv/browse/essay/amdtl4-Sl-5-4-7/ALDE_
    00013756/ (last accessed Apr. 10, 2023).
     147
         182 U.S. 427,437 (1901). In a case where a widowed plaintiff challenged a state probate court’s order declaring her
    incompetent on Due Process Clause grounds, the Supreme Court held: “[T]he Due Process Clause of the Fourteenth
    Amendment does not necessitate that the proceedings in a state court should be by a particular mode, but only that there
    shall be a regular course of proceedings in which notice is given of the claim asserted, and an opportunity afforded to
    defend against it.” Id. (quoting Louisville & N. R. Co. v. Schmidt, 177 U.S. 230, 236 (1900)).
     148
         McKeiver, 403 U.S. at 528. Although McKeiver did not concern an involuntary civil commitment, juvenile
    delinquency proceedings are a type of civil proceeding wherein the finding of delinquency may result in involuntary
    confinement in a juvenile detention center. Id. In McKeiver. a group of juveniles facing delinquency charges challenged
    the proceedings on Fourteenth Amendment Due Process Clause grounds, arguing they should be entitled to a trial by
    jury. Id. The Court first noted that juvenile court proceedings have both civil and criminal elements, which can make
    them difficult to distinguish. Id. at 541. In other cases concerning juvenile proceedings before the Court, the applicable
    due process standards concerned fundamental fairness, which emphasized factfinding. Id. at 543. For other cases in
    which the Court considers due process requirements for juvenile proceedings, see In re Gault, 387 U.S. I (1967); In re
    Winship, 397 U.S. 358 (1970). The Court observed, however: “[Ojne cannot say that in our legal system the jury is a
    necessary component of accurate factfinding,” and thus that the Fourteenth Amendment did not give juveniles faced
    with delinquency adjudications the right to a jury trial. McKeiver, 403 U.S, at 543. The Court also recognized the
    potential for abuse that juvenile delinquency proceedings carry, but they declined to hold that any of the system’s
     abuses had a “constitutional dimension.” Id at 547-48.
     149
        See. e.g., Addington v. Texas, 441 U.S. 418 (1979). The Court noted: “Whether the individual is mentally ill and
     dangerous to either himself or others and is in need of confined tlierapy turns on the meaning of the facts which must be
     interpreted by expert psychiatrists and psychologists.” Id. at 429.



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    Even if the Fourteenth Amendment does not guarantee the right to a jury trial before an
    involuntary civil confinement, at least 17 states offer jury trials to individuals facing long-term
    civil confinement, although the right can be waived or otherwise limited to specific
                              For example, New York state law allows for patients challenging an involuntaiy
                        150
    circumstances.
    civil commitment to a jury trial when requested, but patients can waive this right if they do not
                                        151
    raise it in a timely manner.

    Substantive Due Process Protections for Individuals Subject to
    Involuntary Civil Confinement
    This section discusses two types of constitutionally protected substantive due process rights that
    courts have recognized. The first is the liberty interest of all persons to be free from confinement,
    the second is related to the rights of confined persons to safe conditions. As discussed above, the
    Fourteenth Amendment protects individuals from the encroacliment of state laws that restrict their
    “life, liberty, or property, without due process of law.”’^^ Traditionally, “liberty” means freedom
    from physical restraint or confinement, but the Supreme Court has also interpreted the Due                              153
    Process Clause’s liberty interests to include tlie rights of a person to enjoy life and live freely.
    The Court has also recognized that the Due Process Clause protects certain fundamental
    constitutional rights (e.g., the rights to marry and use contraceptives) from state interference, even
    when the state provides sufficient procedures, although some Supreme Court Justices have
    expressed disagreement with this interpretation.’^"* Nevertheless, the Court has recognized that the

    '50 E.g.. Alaska Stat. Ann. § 47.30.735(e); Cal. Welf. & Inst. Code § 5302; Colo. Rev. Stat. § 27-65-113(1); D.C.
    Code § 21-544; 405 III. Comp. Stat. § 5/3-802; Kan. Stat. Ann. § 59-2960(a)(l); Ky. Rev. Stat. Ann.
    § 202a.076(2); Mich. Comp. Laws Ann. § 330.1453(2); Mo. Rev. Stat. § 632.350( 1), (3); Moot. Code Ann. § 53-21-
    125: N.M. Stat. Ann. § 43-1-13(0); N.Y. Ment. Hyg. Law § 9.35; Okla. Stat. tit. 43a, § 5-411(3); Tex. Health &
    Safety Code §§ 574.032(a)-(b), (d); Va. Code Ann. § 37.2-821(F); Wash. Rev. Code § 71.05.300(2); Wis. Stat.
    Ann. §§ 51.20(2)(B), (11); Wyo. Stat. Ann. § 25-10-110(g). These examples were identified from a review of the
    current state statutes (as retrieved from Westlaw’s state statute databases) cited in Margaret J. Lederer, Not So Civil
    Commitment: A Proposal for Statuto>y Reform Grounded in Procedural Justice, 72 DUKE L.J. 903, 921 n.l34 (2022)
    (“While many states leave the fact-finding to the presiding judge or officer, at least fourteen states allow respondents to
    elect a jury trial.") and Vicki Gordon Kaufman. The Conifnement of Mabel Jones: Is There a Right to Jury Trial
                                                                                                                        in


    Civil Commitment Proceedings, 6 Fla. St. Univ. L. Rev. 103 (1978).
     15!
        N.Y. Ment. Hyg. Law § 9.35 (2022).
     -- U.S. Const, amend XIV, § I. Cong. Rsch. Serv., Overview of Substantive Due Process, CONSTITUTION ANNOTATED,
     152


    https://constitution.congress.gOv/browse/essay/amdtl4-Sl-6-l/ALD E_00013814/(last accessed Feb. 15, 2023).
    153
        Cong. Rsch. Serv., Liberty Deprivations and Due Process, CONSTITUTION ANNOTATED,
    https://constitution.congress.gOv/browse/essay/amdtl4-Sl-5-2/ALD E_00013748/ (last accessed Mar. 3, 2023) (citing
    Allgeyer v. Louisiana, 165 U.S. 578, 589 (1897) (‘The liberty mentioned in [the Fourteenth] amendment means, not
    only the right of the citizen to be free from the mere physical restraint of his person, as by incarceration, but the term is
     deemed to embrace the right of the citizen to be free in the enjoyment of all his faculties; to be free to use them in all
     lawful ways; to live and work where he will; to earn his livelihood by any lawful calling; [and] to pursue any livelihood
     or avocation ....”)).
    154
        Cong. Rsch. Serv., Overview ofSubstantive Due Process, CONSTITUTION ANNOTATED,
    https://constitution.congress.gov/browse/essay/amdtI4-Sl-6-l/ALD E_00013814/ (last accessed Feb. 15, 2023). For
     more information on the Supreme Court’s inteipretation of the Fourteenth Amendment Due Process Clause in the
     context of substantive due process in general, see Cong. Rsch. Serv., Overview ofNoneconomic Substantive Due
     Process. CONSTITUTION ANNOTATED, https://constitution.congress.g ov/browse/essay/amdtl4-S I-6-3-l/ALDE_
     00013815/ (last accessed Apr. 10, 2023). See also Griswold v. Connecticut, 381 U.S. 479 (1965) (holding that the
     Fourteenth Amendment Due Process Clause included constitutional protections for the rights to marriage, family, and
     procreation); Obcrgcfell v. Hodges, 576 U.S. 644, 721 (2015) (holding that the Due Process Clause required states to
     recognize marriages between same sex couples) (Thomas, J. and Scalia, J., dissenting, calling the majority s   ^
     interpretation of the Fourteenth Amendment as protective of substantive due process rights a "dangerous fiction that
     “distorts tlie constitutional text" (internal citations omitted))).


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     Due Process Clause protects the liberty interests of patients with SMI who are subject to
     involuntary confinement,^^^ and it has made clear that even when a person is subject to
     involuntary confinement, this does not strip him or her of all constitutionally protected liberty
                   156
     interests.

     This section discusses a few of the constitutional, substantive due process protections, including
     the dangerousness standard and a patient’s right to safety and freedom from restraint. The section
     concludes with a discussion of the rights of involuntarily hospitalized patients to both receive and
     refuse medical treatment.


     Showing of Requisite Conduct—"Dangerousness
                                                                                //




     In 1964, Congress passed the Ervin Act, which governs the District’s civil commitment process
     today.*^’ The law provides threshold requirements for civil commitment, including proof of a
     mental illness and a showing of conduct that is likely to be injurious to self or others.In other
     words, proof of a mental illness alone is insufficient to justify an involuntary civil commitment
     under the Act; one must also prove that the patient poses a threat to his or others’ safety.At the
     time of its enactment, the Ervin Act served as an example for other states that needed to update
     and modernize their civil commitment procedures, as it guaranteed certain civil rights for
     committed patients and established protective processes to prevent unnecessary or wrongful
                      160
     hospitalization.
     In O 'Connor v. Donaldson, the Supreme Court directly acknowledged the liberty interest of
     individuals facing involuntary confinement and adopted a similar “dangerousness” requirement
     for an individual to be subject to civil commitment. The case involved a Florida citizen,
     involuntarily confined in a mental institution for nearly 15 years, who brought an action for
     damages under 42 U.S.C. § 1983 against the institution alleging a violation of his liberty under
     the Due Process Clause.The patient argued that he was not mentally ill and his confinement
     resulted in an “intentional[] and malicious[]” deprivation of liberty.*^" At trial, the evidence
     showed that although the patient had been diagnosed with paranoid schizophrenia, he had never
     been a danger to others at any point in his life, he was not suicidal, and he had successfully held a
     job prior to his institutionalization.The evidence further demonstrated that while confined, the
     patient received only “custodial care,” rather than treatment for a mental illness.'^ The case
     presented the “relatively simple, but nonetheless important question,” of whether the confinement
                                              165
     violated the patient’s liberty interest.

     155
           O’Connor v. Donaldson, 422 U.S. 563 (1975); Vitek v. Jones, 445 U.S. 480 (1980).
     156
           Youngbcrg v. Romeo, 457 U.S. 307 (1982).
     !57
        Hospitalisation of the Mentally 111 Act, Pub. L. No. 88-597, 78 Stat. 944, 947 (1964) (codified as amended in
     scattered sections of D.C, Code §§ 21-, 32-). See also D.C. Code. Ann. §§ 21-501-21-592 (2002).
     158
           Hospitalization of the Mentally 111 Act, 78 Stat. at 947.
           Id. See also Testa & West, supra note 29.
     160
           Boliman, supra note44, at 856.
     161
           O’Connor V. Donaldson, 422 U.S. 563 (1975).
     162
           Id. at 564-65.
     165
           Id. at 568.

           Id. at 569.
     165
        Id. at 573. The Supreme Court granted certiorari in the case after the U.S. Court of Appeals for the Fifth Circuit
     issued a decision focused largely on whether the Fourteenth Amendment guarantees a right to medical treatment for
     persons who are involuntarily confined. The Court declined to decide whether persons subject to involuntary
     confinement have a right to treatment Id.



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    The Supreme Court observed that even if mentally ill persons could be reasonably and accuiately
    identified, which was a challenge under the currently evolving science, tliis alone was not a
    justification for institutionalization.*^^ Neither is it acceptable for states to ‘‘fence in the harmless
    mentally ill. .. to avoid public unease,” because the Court found that “[m]ere public intolerance
    — animosity cannot constitutionally justify the deprivation of a person’s physical liberty.
    or                                                                                             The
    Court stated: “A finding of‘mental illness’ alone cannot justify a State’s locking a person up
    against his will and keeping him indefinitely in simple custodial confinement. ... [TJhere is [ ] no
    constitutional basis for confining such persons involuntarily if they are dangerous to no one and
    can live safely in freedom.”'^® As discussed below, however, the Court did not address the degree
    of dangerousness that must be proven
                                    169
                                         to justify an involuntary commitment; as a result, the issue
    has been largely left up to states.
    In 1992, the Supreme Court decided Foucha v. Louisiana, addressing the question of whether
    dangerousness alone, without evidence of170mental illness, was sufficient to hold a person in civil
    confinement, and finding that it was not. "" After being found not guilty
                                                                            171
                                                                                for burglary by reason of
    insanity, the petitioner in Foucha was committed to a mental hospital, Several years later, a
    court-appointed doctor found he had recovered from his mental illness, and the hospital
    superintendent recommended his release.’’^ At a lower court hearing regarding his release, the
    same doctor testified that petitioner was not mentally ill, but had an “antisocial personality,”
    which was untreatable, and the doctor would not ‘Teel comfortable in certifying that [petitioner]
                                                                        «173
    would not be a danger to himself or to 174
                                            other people,                      The trial court thus found that petitioner
    was dangerous and denied his release.
    Citing its earlier decision in Addington v, Texas, the Supreme Court stated that involuntary civil
    commitment required the state to prove, by clear and convincing evidence, “that the person
     sought to be committed is mentally ill and that he requires hospitalization for his own welfare and
     protection of others.”'"'^ The Court also pointed to an earlier ruling in Jones v. United States for
     the assertion that to comply with due process, the “nature of commitment [must] bear some
     reasonable relation to the purpose for which the individual is committed.”*^^ The Foucha Court
     was unconvinced by the state’s argument that the patient should remain committed on the basis of
     his antisocial personality, finding if the patient was no longer an “insanity acquittee, then he was
     entitled to constitutionally adequate procedures, including a hearing, as to his current mental


           Mat 575.

           Id.
     I6S
        Id. Chief Justice Warren Burger wrote a separate, concurring opinion to clarify that there is' no basis for equating an
     involuntarily committed mental patient’s unquestioned unconstitutional right not to be confined without due process of
     law with a constitutional right to treatment.” Id. at 587-88 (Burger, J., concurring).
     169
        See, e.g., Evelyn Burton, Treatment Before Tragedy; Reform Maryland Involuntary Commitment Law, THE Balt.
     Sun, Dec. 13, 2021, https://w’ww.baItimorcsun.com/opinion/op-ed/ bs-ed-op-1214-involuntary-treatment-criteria-
     20211213-zxuknjmrszh^nckkgt5esghwwa-story.html.
           Foucha V. Louisiana, 504 U.S. 71 (1992).
     '’’'Id. at 73-74.
     ”2 Id. at 74-75.
     173
           Id. at 75.

           Id.
     I7S
           Id. (emphasis added) (quoting Addington v. Texas, 441 U.S. 418 (1979)).
           Id. at 79 (referencing Jones v. United States, 463 U.S. 354 (1990) (holding that the Constitution permits the federal
     government to confine a person found not guilty by reason of insanity to a mental institution '‘until such time as he has
     regained his sanity or is no longer a danger to himself or society,” and that indefinite commitment of an inmate
     acquitted based only on proof of insanity by a preponderance of the evidence does not violate due process)).


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     state.*’’ The Court further noted: “[T]he Due Process Clause contains a substantive component
     diat bars certain arbitrary, wrongful government actions regai-dlcss of the fairness of the
     procedures used to implement them.”*’* Citing its decision in O 'Connor, the Court held that the
     state could not constitutionally continue petitioner’s hospitalization because he was no longer
                   179
     mentally ill.
     Given the Supreme Court’s guidance that patients must be both mentally ill and a danger to
     themselves or others to justify involuntary hospitalization, states have leeway to craft their own
     civil commitment laws and procedures. According to a 2020 Treatment and Advocacy Center
     report, while most state laws recognize that a patient with SMI’s inability to meet basic needs for
     food, shelter, and clothing make him a danger to himself for purposes of involuntary
     hospitalization, a wide variety of state standards on dangerousness exist.**® For example, like
     almost all states, North Carolina’s involuntary commitment law requires patients to be mentally
     ill and dangerous to self or others. *** But, unlike some other states, the law specifically delineates
     ways in which an individual can be “dangerous to self,” including being unable to “conduct. . .
     daily responsibilities and social relations, or to satisfy [tlie] need for nourishment, personal or
     medical care, shelter, or self-protection and safety.”**' North Carolina law also requires “a
     reasonable probability” that the person would suffer “serious physical debilitation within the near
     future unless adequate treatment is given.”**^ By contrast, Maryland’s civil commitment laws
     provide no specific criteria for dangerousness, stating only that a patient must present “a danger
     to the life or safety of the individual or of others” as a criteria for confinement.**'* The
     dangerousness standard for admission is not discussed or defined elsewhere in the statute or state
     regulations.
     Both state and lower federal courts have also grappled with the requisite threshold of
     dangerousness for purposes of involuntary commitment. For example, in 2020, the Florida Court
     of Appeals reversed the civil commitment of a patient who failed to take his medication and who
     had “issues managing his hygiene,” finding this was insufficient to present a threat of substantial
     harm to the patient for purposes of the dangerousness standard.**^ As discussed above, New York
     City has also wrestled with the appropriate interpretation of “dangerousness” for purposes of
     involuntarily hospitalizing unhoused individuals with SMI. In 1987, New York City Mayor Ed
     Koch instituted a controversial policy to civilly commit unhoused people who appeared incapable
     of self-care, which gained a great deal of media attention after the involuntary hospitalization of
     an unhoused woman named Joyce Brown, also known as Billie Boggs.**^ A similar policy to
     involuntarily hospitalize unhoused people with SMI was carried out by New York City Mayor

     177
           Id.
     178
           Id. at 80 (internal citations omitted).
     179
           Id. at 78.
     180
           See discussion of the concept of dangerousness in Lisa Dailey et al., Treatment Advoc. Ctr., Grading the
     States: An Analysis of U.S. Psychiatric Treatment Laws 13 (2020), https://www.treatmentadvocacycenter.org/
     storage/docuraents/grading-the-states.pdf.
     181
         N.C. Gen. Stat. § 122C-268(j) (2021).
     182
           N.C.Gen. Stat. § I22C-3.1 l(a)(l)(I) (2021).
     183
           N.C. Gen. Stat. § 122C-3.11(a)(1)(H) (2021).
     184
        Md. Health Gen. § 10-617(a)(3) (2016). The Code of Maryland Regulations does not further delineate the
     dangerousness standard or provide a definition of what qualifies as dangerousness to self or others. See Md. Code
     Regs. 10.21.01 (2022).
     185
           J.B. V. Florida, 307 So. 3d 986, 988 (Fla. Disi. Ct. App. 2020)
     186
       See Luis R. Marcos, Taking the Mentally 111 Off the Streets: The Case ofJoyce Brown, 20 Int’l J. OF MENTAL
     Health 7 (1991). See also Boggs v. N.Y.C. Health & Hosps. Corp., 132 A.D.2d 340, 361—62 (App. Div. 1987).



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                                                              In a case challenging the de Blasio policy, the New
                                                        187
    Bill de Blasio during his administration.
    York State Supreme Court ordered the release of an involuntarily hospitalized patient, finding his
    due process rights were violated because the hospital failed to establish he had a mental health
    disorder or was in need of further treatment.*^^ New York City Mayor Eric Adams’s recent policy
    pushing for189the forced hospitalization of unhoused persons with mental illness has faced similar
    challenges.

    The Rights to Safety and Freedom from Confinement
    The Supreme Court addressed other constitutionally protected liberty interests to which civilly
    committed patients are entitled under the Fourteenth Amendment’s Due Process Clause in
    Youngberg v. Romeo}^^ The Yoimgberg case is different from many of the others discussed in this
    report, because rather than a challenge to the confinement itself, the case discusses the substantive
    due process rights of individuals once they are confined. The Court held that involuntarily
    committed patients have the rights to reasonably safe conditions, freedom from restraint, and
    minimally adequate training, and that when determining whether the state has adequately
    protected these liberty interests, the proper standard is whether professional judgment was
    exercised by a qualified professional.*^'
    The petitioner in Youngberg, the resident of a mental health facility, suffered numerous injuries
    while involuntarily committed.'^^ While receiving medical treatment at a hospital, he was
    physically restrained for parts of the day.'^^ The patient’s mother sued the health providers,
    arguing they failed to keep him safe from violence, both his own and that of other patients against
    him; that tliey unlawfully physically restrained him; and that they failed to provide him with
    “appropriate treatment or programs” for his condition.'^'* The jury returned a verdict for the
    patient, finding the providers violated his Eighth Amendment rights.An en banc Third Circuit
    reversed, holding that the Fourteenth
                                  196
                                          Amendment, rather than the Eighth, provided the proper
    constitutional basis for relief.




       Mark S. Kaufman, Crazy Until Proven Innocent? Civil Commitment ofthe Mentally III Homeless, 19 COLUM. Hum.
    Rts. L. Rev. 333 (1988); Press Release, Office of the Mayor, Mayor de Blasio Announces "NYC Safe,” An Evidence-
    Driven Public Safety And Public Health Program That Will Help Prevent Violence (Aug. 6, 2015),
    https://www.nyc.gov/office-of-the-mayor/news/540-15/mayor-de-bla sio-nyc-safe-evidence-driven-public-safety-
    public-health-program.
           MP V. Ramesar, 25 N.Y.S.3d 577 (Sup. Ct. 2016).
           See, e.g., Baerga v. City of New York, No. 2I-CV-05762 (PAC), 2023 WL 1107633 (S.D.N.Y. Jan. 30, 2023). As
     discussed in the court’s opinion, the case began prior to the creation ot Mayor Adams’s policy to involuntarily
    hospitalize unhoused people in New York City. The plaintiffs filed an emergency temporary restraining order
    challenging the policy shortly after it was announced, but the court found the plaintiffs lacked standing to challenge it.
    As of the date of this writing, the policy stands. Id. at *2. It is likely that other cases challenging the policy will be filed
     in the future.

     '^457 U.S. 307(1982).
           Id

     '^^Id at 310.
           Id

     *5''W. at 311,
     195
           The Eighth Amendment prohibits cruel and unusual punishment as well as excessive bail and fines. U.S, Const.
     amend. VIII. The Third Circuit found that the Eighth Amendment was the improper constitutional basis for a civilly
     committed individual’s rights, as the Eighth Amendment applies only to individuals who have committed a crime.
     Youngberg, 457 U.S. at 312.
                at312.




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    On review, the Supreme Couit first observed that "[t]he mere fact that [petitioner] has been
    committed under proper procedures does not deprive him of all substantive liberty interests under
    the Fourteenth Amendment.”*^’ With respect to the right to confinement under safe conditions,
    the Court emphasized that individuals who are lawfully confined still have a right to personal
    safety, reasoning that “[i]f it is cruel and unusual punishment to hold convicted criminals in
    unsafe conditions, it must be unconstitutional to confine the involuntarily committed—^who may
    not be punished at all—in unsafe conditions.”'^* The Court used similar reasoning to recognize
    the patient’s right to freedom from bodily restraint, noting that even the criminally incarcerated
    have such a right.'^^ With respect to the patient’s third claim of the right to habilitation, the Court
    found he was entitled to “minimally adequate or reasonable training,” so as to prevent violence
    and the need to use physical restraints in the future.'®'^ The Court also highlighted the need to
    balance tlie liberty interests of patients against states’ interests in “organized society,” and
    instructed courts to do so by evaluating whether providers used professional judgment when
    making care decisions.Finally, the Court acknowledged that care decisions made by an
                                                              202
     appropriate professional” are presumptively correct.
     u




     The Rights to Receive or Refuse Treatment
     As discussed, many states justify the involuntary hospitalization of their citizens through the well-
     established concept of parens patriae, or the idea that the state serves as a protector of citizens
     who are unable to care for themselves."^^ States also rely upon the police power rationale to
     protect citizens from dangerous persons.^®'* Using these rationales of providing care and treatment
     to justify civil commitment, however, creates questions about the rights of confined individuals to
     receive treatment,"''^ what kinds of treatment tlie state is obligated to provide, and whether a
     person can refuse treatment. For example, some advocates have used the parens patriae theory to
     argue that a right to treatment is recognized in tlie U.S. Constitution, arguing that to civilly
     commit a person who is dangerous and unable to care for his or her mental health needs
     necessarily requires the state to provide treatment.'°^ Similarly, advocates have argued that when
     the state deprives a person of his or her liberty through involuntary confinement, due process

     197
           Id. at 315.

              at 315-16.
              at 316.
     200
       Id. at 319. Justices Blackmun, Brennan, and O’Connor concurred with the majority opinion but wrote separately to
    express that “minimally adequate training" should include “such training as is reasonable necessary to prevent a
    person’s pre-existing self-care skills from deteriorating because of his commitment.” Id. at 327. (Blackmun, J.,
    concurring) (emphasis in original). The concurrence noted: "For many mentally retarded people, the difference between
    the capacity to do things for themselves within an institution and total dependence on the institution for all of their
    needs is as much liberty as they will ever know.” Id. On the other hand, Justice Burger, concurring only in the
    judgment, wrote separately to emphasize his view that “respondent has no constitutional right to training, or
    'habilitation,’ per se." Id. at 329 (Burger, J., concurring in the judgment). While Justice Burger agreed that some
    amount of self-care instruction could be necessary, “the Constitution does not otherwise place an affirmative duty on
    the State to provide any particularly kind of training or habilitation—even such as might be encompassed under the
     essentially standardless rubric ... to which the Court refers.” Id. at 330. See also discussion of habilitation at note 219.
     201
           Id. at 320-21 (internal citations omitted).
     202
           Id. at 324.
     203
           See supra '‘History of U.S. Laws Regarding Involuntary Civil Commitment'
     '-^Id.
     205
           For purpo.ses of this report, the term '‘treatment” is used to comtote both medical treatment and training or other
     rehabilitative treatment
     206
        See, e.g.. Hearings before the Subcoinm. on Const. Rls. of the S. Comm, on the Judiciary on a Bill to Protect the
     Constitutional Rights of the Mentally III, 88th Cong. 12 (1963) (statement of Sen, Sam Ervin).



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   requires that the person be entitled to treatment.
                                                               207
                                                                     This section summarizes tlie various actions of
   Congress, the Supreme Court, and other federal courts on the rights of civilly committed patients
   to receive and refuse treatment.

   It should be noted that inpatient treatment in a mental health facility is but one type of mental
   health treatment that can encompass not only tlie administration of antipsychotic medications, but
   can also include other types of behavioral therapies, which may help patients cope with tlieir
   illnesses, live more independently, and help them deal with the stresses of daily life." For
   purposes of this report, “mental health treatment” is used generally to refer to all types of care and
   treatment that patients receive while hospitalized.

   The Right to Treatment
   Congress, via the Ervin Act, intended for involuntarily committed patients in D.C. to have access
   to medical and psychiatric care. Section 9{b) of the original Act stated: ‘ Any person hospitalized
    in a public hospital for a mental illness shall, during his hospitalization, be entitled to medical and
    psychiatric care and treatment.”'® The Act also stated its purpose was “to protect the
    constitutional rights of certain individuals who are mentally ill, [and] to provide for their care,
    treatment and hospitalization.”'**’ At a Senate hearing in 1963, Senator Ervin emphasized that the
    right to treatment for the civilly committed was “most critical,” stating that ‘ [sjeveral experts
    advanced the opinion that to deprive a person of liberty on the basis that he is in need of                       «211

    treatment, without supplying the needed treatment, is tantamount to a denial of due process.
    In O ’Connor v. Donaldson, the Supreme Court chose not to address whether the Constitution
    affords involuntarily hospitalized patients the right to mental health treatment.                    In that case, the
    petitioner suffered from paranoid schizophrenia and was involuntarily hospitalized for a number
    of years before bringing a lawsuit to challenge his confinement.'*^ During his confmement,
    petitioner did not receive any medical treatment for his condition, and his requests for
    occupational training were denied.'*'* The appellate court observed “that when . . . the rationale
    for confmement is that the patient is in need of treatment, the Constitution requires that minimally
    adequate treatment in fact be provided,” holding that the Fourteenth Amendment guarantees a
    patient’s right to treatment, The Supreme Court declined to address the issue of the patient’s
                                       215



    right to treatment, stating that “there is no reason now to decide whether mentally ill persons
                                                                                                  «216

    dangerous to themselves or others have a right to treatment upon compulsory confmement.


    20’ See, e.g., Wyatt v. Aderholt, 503 F.2d 1305 (5th Cir. 1974) (holding the Constitution guarantees a right to treatment
    for the involuntarily hospitalized).
    208
          H7j£2/ is Mental Illness, AM. PSYCHIATRIC Ass'N, Nov. 2022, https://w\vw.psychiatry.org/paiients-families/what-is-
    mental-illness. For more information on mental health treatments, see Mental Health Treatments, MENTAL Health
    Am., https://mhanational.org/mental-health-treatmcnts (last accessed Mar. 7, 2023).
    209
       Hospitalization of the Mentally III Act, Pub. L. No, 88-597, 78 Stat. 944, 951 (1964) (codified as amended in
     scattered sections of D.C. Code §§ 21-, 32-).
     2'° Id. at 944.
                                                                                              Bill to Protect the Const. Rts. of
     2" Hearings before the Subcomm. on Const. Rts. ofthe S. Comm, on the Judiciary on
     the Mentally III, 88lh Cong. 12 (1963) (statement of Sen. Sam Ervin).
     2'M22 U.S. 563 (1975).
     212 Id. at 565.
     21“ Id. at 569.
     215/£/, at 572.
     216 W. at 573.



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     Instead, the Court found that because petitioner was not a danger to himself or otliers, the state
                                                                                                             217
     could not confine him solely on the basis that he suffered from a mental illness.
     Before O 'Connor v. Donaldson was heard by the Supreme Court, the Fiftli Circuit found, after
     consideration as a matter of first impression, that the Fourteenth Amendment guaranteed the
                                                                                                       218
     civilly committed a right to treatment when the justification for the commitment was treatment.
     The Fifth Circuit again reaffirmed this finding in Wyatt v. Aderholdt, where it rejected a parens
              justification for commitment when the state argued that the “primary function of civil
     commitment«219
                    is to relieve the burden imposed upon the families and friends of the mentally
     disabled,      However, after O’Connor and Wyatt were decided, other Fifth Circuit judges
     expressed doubt as to whether the U.S. Constitution guarantees a right to treatment for
     involuntarily hospitalized patients. For example, in Morales v. Turman, the Fifth Circuit argued:
     “The civil commitment of the mentally ill without treatment is not necessarily an impennissible
     exercise of govenunental power,” and that arguments in favor of recognition of the Constitution’s
                                                  220
     right to treatment “raise serious problems.
     Other federal courts have considered and recognized the rights of involuntarily committed
     patients to medical treatment under state and federal statutes, rather than in the U.S. Constitution.
     For example, in Rouse v. Cameron, the D.C. Circuit interpreted the Ervin Act to address whether
     a criminal defendant subject to involuntary civil commitment by reason of insanity has a right to
     medical treatment.^"^ In recognizing the patient’s right to treatment, the court reasoned that “[t]he
     purpose of involuntary hospitalization is treatment, not punishment,” and thus when the rationale
     for confinement rests upon the necessity of treatment, the petitioner is essentially being jailed
     without it."^‘ In making this holding, however, the court did not interpret the Constitution as
     providing such a right, but rather noted that Congress sidestepped the constitutional question by
                                         223
     prescribing tlie right via the Act.

     The Right to Training or Other Rehabilitative Services
     In addition to medical treatment, involuntarily hospitalized patients have also argued they have a
     right to basic rehabilitation services to enable them to better undertake self-care, develop needed
     skills, and reduce unwanted behaviors, like violence or aggression.^""^ The Supreme Court

            Id. at 575.
     218
            Donaldson v. O’Connor, 493 F.2d 507, 510 (5th Cir. 1974), vacated by Gumanis v. Donaldson, 422 U.S. 1052
     (1975).
     219
        Wyatt V. Aderhoit, 503 F.2d 1305, 1312-13 (5tli Cir. 1974) ("[W]e find it impossible to accept the Governor’s
     underlying premise that the ‘need to care’ for tlie mentally ill—and to relieve their families, friends, or guardians of the
     burdens of doing so—can supply a constitutional justification for civil commitment.... Against tlie sweeping personal
     interests involved. Governor Wallace would have us weigh the state’s interest, and the interests of the friends and
     families of the mentally handicapped in having private parties relieved of the ‘burden’ of caring for the mentally ill.
     The state interest thus asserted may be, strictly speaking, a ‘rational’ state interest. But we find it so trivial beside the
     major personal interests against which it is to be weighed that we cannot possibly accept it as a justification for the
     deprivations of liberty involved.”)
     220
        562 F.2d 993, 998 (5th Cir. 1977). See also Morales v. Thurman, 383 F. Supp. 53 (E.D. Tex. 1974) (recognizing the
     right to treatment under the U.S. Constitution for patients subject to involuntary hospitalization), rev'd, 535 F.2d 864
     (5th Cir. 1976).
     221
            Rouse V. Cameron, 373 F.2d 451 (D.C. Cir. 1966).
     222
           Id. at 452-53.
     223
           Id.
     224
        See, e.g., Youngberg v. Romeo, 457 U.S. 307 (1982); Brief of tlie Am. Psychiatric Ass’n as Amicus Curiae,
     Youngberg, 457 U.S. at 307, No. 80-1429, 1981 WL 389867. As explained in the brief, the terms ■’treatment” and
     (continued...)



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    discussed mentally ill patients’ rights to such services in Youngberg v. Romeo, but the Justices
    reached different conclusions as to whether the Constitution protects such rights.^^^ As discussed,
    the Youngberg Court found that an involuntarily committed patient had a constitutionally
    protected libeity interest under the Fourteenth Amendment that guaranteed him the right to                                     «226

    '‘minimally adequate or reasonable training to ensure safety and freedom from undue restraint.
    In other words, the Court recognized the patient’s right to '‘minimally adequate” training only
    insofar as such training is reasonably necessary    to protect the patient’s other rights to safety in
    confinement and freedom from restraint. As part of its analysis, the Court recognized that while
                                                227


    the state has a certain duty of care to institutionalized persons,
                                                                «228
                                                                        it has “considerable discretion in
    determining the nature and scope of its responsibilities,      The Court’s decision attempts to
    balance the slate’s interests against those of the involuntarily committed, stating that in
    determining what
                  229
                       training is “reasonable,” courts should defer to the judgment of qualified
    professionals.
    Justices Harry Blackmun, William Brennan, and Sandra Day O’Connor wrote a concurring
    opinion in Youngberg, arguing that the Court did not resolve tlie issue of whetlier a state could
    involuntarily confine a person for “care and treatment” under state law, but then ‘‘constitutionally
    refuse to provide him any treatment.”^^° The concurrence cited the Court’s earlier, unanimous
    holding in Jackson v. Indiana, finding that “due process requires tlial the nature and duration of
     commitment bear some reasonable relation to the purpose for which the individual is
     committed.”^^* The Justices then reasoned, similar to Senator Ervin’s argument discussed above,
     that if the state involuntarily committed a person for care and treatment, the commitment would
     not be reasonably related to the purpose of confinement if the state did not provide treatment.
     The three concurring Justices also argued that the majority’s requirement of "minimally adequate
     training” should include training that is necessary to prevent a deterioration of skills as the result
     of a confinement.^^^ For example, if a committed patient is able to feed or dress himself prior to
     confinement, he should be provided training, if needed, during his confinement to ensure he
                               The concurrence observed that for patients with mental illness, “the
                           234
     retains those skills,
     difference between the capacity to do things for themselves within an institution and total «235
     dependence on the institution for all of their needs is as much liberty as they will ever know.
     In a concurrence with the judgment, Chief Justice Warren Burger disagreed with Justices
     Blackmun, Brennan, and O’Connor, arguing he “would hold flatly tliat respondent has no
                                                   «236
     constitutional right to training . .. per se.      The Chief Justice noted that the patient’s family

     ‘■habilitation” can boili be used to refer to programs to assist patients with mental illness, but "habilitation ’ is often
     focused on training and skill development.
           457 U.S. at 307.

                 at 319.

                 at318, 322.
           Id. at 317 (internal citations omitted). In the Youngberg case, the state conceded it had duties to provide adequate
     228


     shelter, food, clothing, and medical care to residents of the mental instimtion; the Court obsen-ed these were “the
     essentials of tiie care that the state must provide.” Id. at 324.
           Id. at 322.
     230
           Id. at 325 (Blackmun, Brennan & O’Connor, JJ., concurring).
     231
           Id. (citing Jackson v. Indiana, 406 U.S. 715 (1972)).
                 at 326.
     233
           Id. at 327.

     2” Id.
     235
           Id.

           Id. at 329 (Burger. J., concurring in the judgment).


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    requested his institutionalization ”to meet a serious need,” and felt the state was satisfying its
    responsibilities to the patient by providing food, shelter, safe conditions, and medical care, thus
    justifying the patient’s hospitalization."^^ In his view, “the Constitution does not otherwise  place
                                                                                                 «238
    an affirmative duty on the State to provide any particular kind of training or habilitation.

    The Right to Refuse Medical Treatment
    In addition to outlining the constitutional parameters protecting the right of the civilly committed
    to receive medical treatment or rehabilitative services, courts have also considered the protected
    rights of these patients to refuse medical treatment. In 1982, the Supreme Court decided Mills v.
    Rogers, in which it considered whether a class of involuntarily committed patients had a
    constitutionally protected right to refuse antipsychotic medication.^^^ The district court held in the
                                                                                                       240
    patients’ favor on the basis that tlie Constitution protected their privacy and liberty interests.
    The district court noted that although subject to involuntary confinement, the patients had not
    been found incompetent under state law, thus they could refuse psychiatric medication.The
    First Circuit agreed tliat involuntarily hospitalized patients had a right to refuse drug treatment,
    but it disagreed witli the district court with regard to the circumstances under which the state’s
                                                                                242
    interest in forced drug treatment would outweigh the patients’ interests.
    In deciding Mills, the Supreme Court discussed both substantive and procedural aspects of the
    rights of patients who are forced to take psychiatric medication, noting that both were
    “intertwined with questions of state law.”^'^^ The Court explained that the U.S. Constitution
    defines the minimum protections for substantive rights, which can be supplemented by states, and
    that liberty interests created by state law receive protection from the Fourteenth Amendment's
    Due Process Clause.In this way, questions of a patient’s right to refuse medical treatment could
    be tied to both state and federal law."**^ To illustrate this point, the Court cited a recent


          Id.
    238
          Id.
    239
          Mills V. Rogers, 457 U.S. 291 (1982).
    240
          See Cong. Rsch. Serv., supra note 49.
    241
       Mills, 457 U.S. at 294-95. The district court did not identify a particular provision of the U.S. Constitution as
    protective of the patients' rights to privacy and liberty. The district court’s ruling distinguished involuntary
    confinement from an order of incompetency, finding that when a patient was involuntarily confined for mental health
    treatment, this did not infer incompetency under Massachusetts law. The court concluded that “until a judicial finding
    of incompetency has bene made ... the wishes of the patients generally must be respected.” Rogers v. Okin, 478 F.
    Supp. 1352, 1361-62, 1365-68 (D. Mass 1979), affd in pari, rev’d in part, 634 F.2d 650 (1st Cir. 1980), vacated.
    Mills, ASl U.S. at 291.
    242
       Mills, 457 U.S. at 295-96 (citing Rogers, 634 F.2d at 650). The First Circuit found that the state police power to
    maintain order and provide safety and the parens patriae power to provide effective treatment were strong state
    interests which outweighed the possibility of harm to the patients if forcibly medicated. Id. at 296.
    243
        Id. at 298-99. For purposes of its decision, the Court assumed the Constitution protects the right of mentally ill
    patients to refuse antipsychotic drug treatment. Id. at 299. The procedural question at issue concerned what procedures
    were constitutionally required before the state could forcibly medicate a patient. Id. The substantive questions were
    what aspect(s) of the Constitution protected the patients’ liberty interest, and when tlie stale’s interests would outweigh
    the patients’. Id. Only the Court’s findings with respect to the substantive legal issues are discussed here.
    244
        Id. at 300. See, e.g., Vitek v. Jones, 445 U.S. 480, 488 (1980).
    245
       Mills, 457 U.S. at 300 ("Because state-created liberty interests are entitled to the protection of the federal Due
    Process Clause, the full scope of a patient’s due process rights may depend in part on the substantive liberty interests
    created by state as well as federal law. Moreover, a State may confer procedural protections of liberty interests that
    extend beyond those minimally required by the Constitution of the United States. If a State does so. the minimal
    requirements of the Federal Constitution would not be controlling, and would not need to be identified in order to
    determine the legal rights and duties of persons within that State.").



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    Massachusetts state court decision, In re Guardianship ofRoe, which recognized the rights of
    incompetent patients to refuse antipsychotic drugs, which the state court said could be overridden
    “only by an overwhelming state interest.”“'^^ Applying the logic of Roe, the Supreme Court
    observed: "[lit is distinctly possible that Massachusetts recognizes liberty interests of persons
    adjudged incompetent that are broader than those protected directly by the Constitution of the
    United States.In remanding to the First Circuit, the Court stated: “[ujntil certain questions
    have been answered, we think it would be inappropriate for us to attempt to weigh or even
    identify relevant liberty interests tliat might be derived directly from the Constitution,
    independently of state law.”^"*^ The Court reasoned that in light of Roe, it was unclear whether the       249

    delineation of the patients’ Fourteenth Amendment interests would resolve the case.
    The First Circuit’s decision on remand was limited to the rights afforded to mentally ill patients
                                                                             250
    under the Fourteenth Amendment’s Due Process Clause.                           The court acknowledged that
                                                          rights that extend above the floor set by
    “Massachusetts recognizes substantive and procedural1^251
    the due process clause of the Fourteenth Amendment,       and that under state law, a patient could
    be forcibly medicated only “if [he] poses an imminent threat of hann to himself or others, and
    only if there is no less intrusive alternative to antipsychotic drugs.””^^ The First Circuit then
    decided that although it could delineate the minimum constitutional standards afforded to
                                    not do so because Massachusetts law offered more protection than
    mentally ill patients, it need 253
    the Fourteenth Amendment.

    Since Mills v. Rogers was decided, the Supreme Court has not directly addressed the issue of
    whether and under what conditions a state could force a noncriminal, involuntarily hospitalized
    patient to take antipsychotic drugs. It appears from the Court’s decision in Mills that a patient s
    constitutionally protected libeity interest is implicated by forced medication.^^'* It remains unclear,
    however, how that interest is defined and the extent to which it could be outweighed by a
    competing state interest.
    The Supreme Court has also discussed the rights of individuals to refuse medical treatment in
    other contexts. For example, the Court recognized in Cruzan v. Director that “a competent person



       Id. at 300-01 (citing 421 N.E.2d40, 51 (Mass. 1981)). In          the Massachusetts court rested its recognition of the
    right to refuse treatment in both the U.S. Constitution as well as the state common law. Id. at 42.
           Mills, 457 U.S. at 303.
           Id. at 305.

           Id. at 306. The Court instructed the court of appeals to “determine ... whether Roe requires revision of its holdings
    or  whether it may call for the certification of potentially dispositive state-law questions to the Supreme Judicial Court
    of Massachusetts. The Court of Appeals also may consider whether this is a case in which abstention is now
    appropriate.” Id. (internal citations omitted).
    250
         Rogers v. Okin, 738 F.2d 1, 3 (1st Cir. 1984). The First Circuit’s holding was limited to this question due to the
    Supreme Court’s ruling in Pennhurst State Sch. & Hosp. Halderman, 465 U.S. 89 (1984), in which tlie Court held
    the Eleventh Amendment barred federal courts from awarding injunctive relief ordering state officials to comply with
     state law.
     251
           Rogers, 738 F.2d at 3.
     2^2 Id at 3, 6 (internal citations omitted). The First Circuit noted that with respect to the substantive and procedural
     rights afforded to the patients by Massachusetts state law, under the Supreme Court’s decision in Pennhurst, those
     rights “are no longer directly enforceable by federal courts in injunctive actions against state officials.” Id. at 3-4.
     253 Id. at 9.
     25“ The Mills Court observed; “The parties agree that tlie Constitution recognizes a liberty interest in avoiding the
     unw ●anted administration of antipsychotic drugs. Assuming that they are correct in this respect, the substantive issue
     involves a definition of that protected constitutional interest, as well as the identification of the conditions under w'hich
     competing state interests might outweigh it.” 457 U.S. at 299.


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      has a liberty interest under the Due Process Clause in refusing unwanted medical treatment. j?255
      And die Court held in Washington v. Harper that a federal prisoner with SMI had a “significant
      liberty interest” under the Fourteenth Amendment’s Due Process Clause when the state attempted
      to forcibly medicate him.^^^ Although neither of these cases addresses the specific issue of the
      right of an involuntarily hospitalized patient to refuse medical treatment, each offers insight into
      the limitations that the Due Process Clause places on a state’s ability to force a person with SMI
      to take antipsychotic medication and when the state’s interests override those of the patient.
      Other federal circuit courts have considered the circumstances under which a state may forcibly
      medicate an involuntarily hospitalized patient. For example, in Rennie v. Klein, the Supreme
     Court directed the Third Circuit to consider the issue in light of its holding in Yonngberg v.
     RomeoP^ The Third Circuit recognized that the mentally ill patient at issue had a constitutionally
     protected liberty interest in refusing mental health treatment.-^^ Under New Jersey law, the state
     could compel an institutionalized patient to take medication only if the person, “in the exercise of
     professional judgment,” “constitute[d] a danger to himself or to others,
                                                                                 «259
                                                                                      The court then found
     that the state placed sufficient procedural safeguards to protect patients’ rights."^® In a
     concurrence, one judge expressed his disagreement with the majority’s holding, arguing that the
     issue before the court was whetlier the appropriate “professional judgment” from Youngberg was
     followed. The concurring judge argued that states justify involuntary commitment on the basis
     that the patient is a danger to self or others, so the state using the same precondition for
     involuntary hospitalization and forced medication “would not appear to confonn to the
                                                        »261
     constitutional professional judgment standard.


     Considerations for Congress
     There is ongoing scholarly debate over the use of forced institutionalization for patients with
     SMI, with some advocates claiming that such hospitalizations are helpful for vulnerable
     populations, such as unhoused people, and others arguing they actually cause more hann than
     255
         497 U.S. 261, 262 (1990). In Cruzan, llie Court considered the rights of an incompetent patient and her surrogate to
     terminate her nutrition and hydration supplements after a car accident left her in a “persistent vegetative state.” Id. at
     266. The case concerned a state law that required clear and convincing evidence of a patient’s wishes to decline
     lifesaving treatment. Id. at 261. The Court recognized tlte Fourteenth Amendment’s Due Process Clause protects the
     interests of competent individuals not to be forced to undergo unwanted medical treatment, but held that the Due
     Process Clause did not prevent the state from establishing a procedural requirement of clear and convincing evidence of
     a patient’s wishes prior to declining treatment Id. at 278-80. After recognizing the individual’s liberty interest in
     refusing unwanted treatment, the Court stated that the individual interest must be balanced against the state’s interest in
     protecting life, finding tlie state interest more compelling. Id. at 281.
     256
         494 U.S. 210, 221-22 (1990). The Court decided the case in the same term as Cruzan. In Harper, a federal inmate
     challenged a state correctional facility’s attempt to forcibly treat his mental illness with antipsychotic medication,
     arguing that it violated his rights under the Due Process Clause. Id at 221. Under a state policy, a prisoner could be
     forcibly medicated if he had a mental disorder and was gravely disabled or posed a serious threat of harm to himself,
     others, or property. Id. at 215. The Court recognized tliat the prisoner had a significant liberty interest in refusing
     medication, but it applied an earlier, deferential standard for considering a state’s interest in prison safety, finding that
     “the proper standard for deiennining the validity of a prison regulation that infringes on an inmate’s liberty is to ask if
     the regulation is ‘reasonably related to legitimate penological interest.’” Id. at 223. Under tills standard, the Court
     reasoned that the prison had the duty to ensure the safety of its staff and other prisoners, and that forcibly medicating
     dangerous inmates was a rational means of furthering the state’s interest in maintaining safety. Id. at 225.
     257
         Rennie v. Klein, 720 F.2d 266 (3d Cir. 1983).
     258
         Id. at 268 (citing Rennie v. Klein, 653 F.2d 836 (3d Cir. 1981) (en banc), vacated, 458 U.S. 1119 (1982)).
     259
           Rennie, 720 F.2d at 269.
     260
           Id. at 270.
     261
           Id. at 272 (Adams & Becker, JJ., concurring in the judgment).



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   good and deter individuals with SMI from seeking care.^"' Stakeholders continue to advocate for
   tlie rights of those involuntarily committed, arguing that states require additional resouices to
   treat patients with SMI and provide tliem with better care.^^^ Others have suggested that the
   United States should instead curb Medicaid and other federal health care spending, arguing that it
                                          264
   is increasing federal government debt.
   More recently, patient advocates, several Members of Congress, and the White House have
    stressed the need for increased outpatient mental health services to be available for^^oth children
    and adults, many of whom are unable to access those services posthospitalization.-                   Odiers have
    called attention to the national shortage of mental and behavioral health professionals."
    While Congress does not directly control the processes and procedures governing involuntary
    civil commitment, as this is traditionally an area left to state law, Congress could influence state
    standards indirectly in a variety of ways. Congress could expand existing federal statutes that
    provide irghts to institutionalized patients who are housed in facilities that receive federal
    funding. For example, Congress could create additional rights for children and youth facility
    residents, as outlined in the CHA, which currently recognizes “the right to be free from physical
    or     mental abuse, corporal punishment, and any restraints or involuntaiy seclusions imposed for
    purposes of discipline or convenience.”-^^ Congress could also expand SAMHSAs authority in
    the Act to promulgate regulations ensuring that facilities have adequate, professional staff who
    are properly trained and/or could give SAMHSA more enforcement authority to police mental

    health facilities.

    Congress could also indirectly influence the civil commitment process by increasing federal
    protections for individuals with SMI through legislation providing greater, more accessible care
    for institutionalized patients. For example, patients’ rights advocates have urged Congress to do

       Compare Maya Kaufman, Democratic Mayors Lead Course Correction Psychiatric Commitments, POLITICO,
                                                                               on


    Mar. 1, 2023, https://www.politico.eom/news/2023/03/01/democrati c-mayors-lead-course-correction-on-psychiatric-
    commitments-00084387, with Andy Newman, Advocates/or Mentally III New Yorkers Ask Court to Halt Removal
    Plan. N.Y. Times, Dec. 9, 2022, https://www.nylimes.eom/2022/12/ 08/nyregion/nyc-mental-health-restraining-
    order.html. See also Betsy Reed, I was Hospitalized Against My Will. I Know Firsthand the Harm it can Cause, The
    Guardian. Dec. 23, 2022, https://www.theguardian.com/society/202 2/dec/23/involuntary-hospitalization-policy-
                                                                                                                  new-


    york-city-eric-adams: Morgan C. Shields, et at. Expanding Civil Commitment Laws is Bad Mental Health Policy,
    Health Affairs, Apr. 6, 2018, https;//wwvk’.healthaffairs.org/co ntent/forefront/expanding-civiI-commitment-laws-bad-
    mental-health-policy.
           E.g., Advocacy, TREATMENT Advoc. Ctr., https;//www.treaimentadvo cacycenter.org/fixing-the-system (last
    accessed Mar. 24, 2023).
    2^ Maya MacGuineas, How Medicare, Medicaid, and Social Security are Driving the National Debt- and How We
    Can Fix It, George W. Bush Institute (2020), https://www.bushcen tcr.org/catalyst/federal-debt/macguineas-
    medicaid-medicare-social-security-national-debt.
    265
        Dan Frosch, More Money for Mental Health Programs Gets Bipartisan Support in Many Stales, Wall St^t
     Journal, (Feb. 5, 2023), https;//www.wsj.com/articles/more-money -for-menlal-health-programs-gets-bipartisan-
     support-in-many-states-11675614344; Press Release, Office of Sen. Tina Smith, U.S. Senators Smith, Murkowski,
     Hassan Reintroduce Bipartisan Bill to Expand Mental Health Care Workforce (Feb. 23, 2023),
     https://www.smilh.senate.gov/u-s-senators-smith-murkowski-hassan -reintroduce-bipartisan-bill-to-expand-mental-
     health-care-workforce/. The bill was introduced in the 117th Congress as the Mental Healtli Professionals Workforce
     Shortage Loan Repayment Act of 2021, S. 1578, 117th Cong. (2021) and H.R. 3150, 117th Cong. (2021), and then
     reintroduced as S.462, 118th Cong. (2023). Government Accountability Office, Behavioral Health: Available
     Workforce Information and Federal Actions to Help Recruit and Retain Providers (Oct. 27, 2022),
     https://www.gao.gOv/products/gao-23-105250; The White House, Reducing the Economic Burden of Unmet Mental
     Health Needs, Issue Brief (May 31, 2022), https://www.whitehouse .gov/cea/written-materials/2022/0o/31/rcducing-tlie-
     economic-burden-of-unmet-mcntal-health-needs/.
           See. e.g., St. George, supra note 8.
     266


           42 U.S.C. §§ 290ii(a), 290jj(a)(I).


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     away with the current ‘‘institutions for mental disease” or “TMD” exclusion so that Medicaid
     funds may be more easily used to provide institutionalized care for nongeriatric adults.^^® Other
     advocacy groups have resisted a repeal of the IMD exclusion, saying that it “would do more harm
     than good” and would divert state resources to institutionalizat ion and away from services that
                                                  269
     keep patients with SMI in their communities.


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        See. e.g.. Treatment Advoc. Ctr., The Medicaid IMD Exclusion and Mental Illness Discrimination (2016),
     https://www.trcatmentadvocacycenter.org/evidence-and-researcli/l eam-more-about/3952.
        See. e.g., Hannah Katch, House Bill Partially Repealing “IMD Exclusion” Would Do More Harm Than Good,
     Center on Budget and Policy Priorities, (Jun. 20,2018), https://www,cbpp.org/blog/house-bill-partially-repealing-
     imd-exclusion-would-do-more-harm-than-good.; Center for Public Representation, Institutions for Mental
     Diseases Exclusion, available at https://medicaid.publicrep.org/ feature/instituiions-for-mental-diseases-exclusion/ (last
     accessed May 22. 2023).



     Congressional Research Service                  R47571 ● VERSION 2 ● NEW                                                30
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